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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                         CASE NO. _______________

 SHARONE SARA GERSTENHABER, an
 individual

         Plaintiff,

 vs.

 SHERIFF SCOTT ISRAEL, as Sheriff of the Broward
 Sheriff’s Office, BERNADETTE BRINKLEY, in her
 individual capacity, DAWNA AUSTIN-GAINES, in her
 individual capacity, CAMEO WILLIAMS, in her
 individual capacity, NEDRA GABRIEL,in her individual
 capacity, LUIS GALINDEZ, in his individual capacity, and
 DAPHNYS JEAN-BAPTISTE, in his individual capacity,
 PATRICK FECU, in his individual capacity, and
 TIFFANY BEALE, in her individual capacity

        Defendants.
 __________________________________________/

                  COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

         Plaintiff, SHARONE SARA GERSTENHABER, by and through her undersigned counsel, sues the
 Defendants SHERIFF SCOTT ISRAEL, in his official capacity as Sheriff of the Broward Sheriff’s Office,
 (hereinafter, SHERIFF SCOTT ISRAEL is referred to as “BSO”), BERNADETTE BRINKLEY, in her
 individual capacity, DAWNA AUSTIN-GAINES, in her individual capacity, CAMEO WILLIAMS, in her
 individual capacity, NEDRA GABRIEL, in her individual capacity, LUIS GALINDEZ, in his individual
 capacity, DAPHNYS JEAN-BAPTISTE, in his individual capacity, PATRICK FECU, in his individual
 capacity, and TIFFANY BEALE, in her individual capacity, and as grounds therefor would show unto the
 Court as follows:
                                              NATURE OF LAWSUIT
         1.        This is an action for damages sustained by a citizen of Broward County, Florida and the
 United States against BSO and BSO employee law enforcement officers BERNADETTE BRINKLEY,
 DAWNA AUSTIN-GAINES, CAMEO WILLIAMS, NEDRA GABRIEL, LUIS GALINDEZ, DAPHNYS
 JEAN-BAPTISTE, PATRICK FECU and TIFFANY BEALE all employees of the Broward Sheriff’s Office
 to address the denial of certain constitutional rights by the Defendants and against the Plaintiff. Specifically,
 Officers BRINKLEY, AUSTIN-GAINES, WILLIAMS, GABRIEL, and GALINDEZ unlawfully strip
 searched, assaulted, battered and severely injured SHARONE GERSTENHABER when they strip searched,

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 physically assaulted, battered, and peppered sprayed her in close quarters as punishment for refusing to
 relinquish her grandfather’s wedding band, a family heirloom, which was forcibly seized and never returned,
 in violation of her rights under the Fourth and Fourteenth Amendments to the United States Constitution.
 BSO employee detention officers mentioned above and DAPHNYS JEAN-BAPTISTE, despite being
 witnesses with the actions of each other, failed to intervene to prevent the violation of Plaintiff’s rights under
 the Fourth Amendment to the United States Constitution. Defendants FECU and BEALE were also
 responsible for Gerstenhaber’s personal property including her grandfather’s wedding band, which was
 seized and never returned to Gerstenhaber. This action is also brought, in part, for assault, battery, intentional
 infliction of emotional distress, and conversion against the individual defendants and common law
 negligence, battery, assault, and conversion against BSO pursuant to Florida Statutes 768.28.
                                          JURISDICTION AND VENUE
         2.        This action is brought, in part, pursuant to 42 U.S.C. § 1983, et seq. and involves violations
 of the Fourth and Fourteenth Amendments to the United States Constitution, the laws of the State of Florida
 and in part common law negligence, assault and battery pursuant to Florida Statute 768.28 as well as
 intentional infliction of emotional distress, conversion, and unjust enrichment.
         3.        The jurisdiction of this Court is predicated on 28 U.S.C. §§ 1331 and 1342(a)(3) and the
 supplemental jurisdiction of this Court under 28 U.S.C. § 1367(a).
         4.        Venue is appropriate in the Southern District of Florida because all of the events giving rise
 to this suit have occurred within the jurisdiction of the United States District Court Southern District of
 Florida. In connection with the acts, practices, and violations alleged herein, each Defendants, directly or
 indirectly, violated the constitutional rights of the Plaintiff, SHARONE SARA GERSTENHABER.
         5.        Plaintiff SHARONE SARA GERSTENHABER has complied with all conditions precedent
 to bringing this action, including giving notice to BSO, which is named herein, and the Florida Department
 of Financial Responsibility pursuant to all applicable statutes, ordinances, or other laws including but not
 limited to, Florida Statute § 768.28(6)(a).
         6.        Pursuant to Florida Statute § 768.28 and in accordance with section 13, Article 10 of the
 Florida Constitution, Defendant BSO, hereby waives sovereign immunity for the negligent and/or wrongful
 acts or omissions, as alleged herein, of certain employees, agents, and/or servants of Defendant BSO
 including Defendants BRINKLEY, AUSTIN-GAINES, WILLIAMS, GABRIEL, GALINDEZ, JEAN-
 BAPTISTE, FECU, and BEALE.




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           7.         The Plaintiff seeks an award of compensatory and punitive damages as stated herein below
 for deprivations of her constitutional rights, permanent physical, mental and emotional injuries, medical
 expenses, loss of enjoyment of life, court costs, and attorneys’ fees.
                                                           PARTIES

           8.         Plaintiff SHARONE SARA GERSTENHABER at all times material hereto, was a resident
 of Broward County, Florida and is otherwise sui juris (hereinafter referred to as “GERSTENHABER”).
           9.         Defendant SHERIFF SCOTT ISRAEL (hereinafter referred to as “ BSO”) is the Sheriff of
 the Broward Sheriff’s Office located in Broward County, Florida and is otherwise sui juris as Sheriff of the
 Broward Sheriff’s County.
           10.        Defendant BSO, by and through its officers, agents, and employees, specifically Sheriff Scott
 Israel, as ultimate policy maker for the Broward Sheriff’s Office, possessed the powers and duties, to among
 other things, conduct investigations of the Broward Sheriff’s Office and its law enforcement officers affairs
 and perform acts which are in the common interest of the people and visitors in Broward County, Florida.
           11.        Defendant, BSO, by and through its officers, agents, and employees, specifically to include
 Sheriff Scott Israel, as ultimate policy maker for the Broward Sheriff’s Office, is responsible for staffing,
 supervising, managing, controlling, disciplining, and/or setting forth polices and procedures, for the Broward
 Sheriff’s Office to ensure that the BSO’s law enforcement officers are performing all of it's duties and
 responsibilities with the highest level of proficiency, professionalism, and accountability, and within the
 confines of the United States Constitution and the laws of the State of Florida.
           12.        Defendant, BSO, at all times material hereto, acted by and through its officers, agents, and
 employees, including Defendants BERNADETTE BRINKLEY, DAWNA AUSTIN-GAINES, CAMEO
 WILLIAMS, NEDRA GABRIEL, LUIS GALINDEZ, DAPHNYS JEAN-BAPTISTE, FECU, and BEALE.
           13.        Defendant, BSO, at all times material hereto, is vicariously responsible for the conduct of
 the law enforcement officers in the employ of the Broward Sheriff’s Office and ensuring that BSO’s law
 enforcement officers, employees, servants, and agents obey the laws of the State of Florida and the United
 States.
           14.        Defendant, BERNADETTE BRINKLEY, (hereinafter referred to as “BRINKLEY”), at all
 times material hereto, was and is a law enforcement officer for Defendant BSO and is being sued in her
 individual capacity.




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         15.        Defendant, BRINKLEY, at all times material hereto and in all actions described herein, was
 acting within the course and scope of her employment for Defendant BSO.
         16.        Defendant, BRINKLEY, at all times material hereto and in all actions described herein, was
 acting under color of law and color of her authority as a law enforcement officer, and in such capacity, as
 the agent, servant, and employee of Defendant BSO.
         17.        At all times material hereto, Defendant BRINKLEY, on information and belief, was a
 resident of Broward County, Florida and otherwise sui juris.
         18.        Defendant, DAWNA AUSTIN-GAINES, (hereinafter referred to as “AUSTIN-GAINES”),
 at all times material hereto, was and is a law enforcement officer for Defendant BSO and is being sued in
 her individual capacity.
         19.         Defendant, AUSTIN-GAINES, at all times material hereto and in all actions described
 herein, was acting within the course and scope of her employment for Defendant BSO.
         20.        Defendant, AUSTIN-GAINES, at all times material hereto and in all actions described
 herein, was acting under color of law and color of her authority as a law enforcement officer, and in such
 capacity, as the agent, servant, and employee of Defendant BSO.
         21.        At all times material hereto, Defendant AUSTIN-GAINES, on information and belief, was
 a resident of Broward County, Florida and otherwise sui juris.
         22.        Defendant, CAMEO WILLIAMS, (hereinafter referred to as “WILLIAMS”), at all times
 material hereto, was and is a law enforcement officer for Defendant BSO and is being sued in her individual
 capacity.
         23.        Defendant, WILLIAMS, at all times material hereto and in all actions described herein, was
 acting within the course and scope of her employment for Defendant BSO.
         24.        Defendant, WILLIAMS, at all times material hereto and in all actions described herein, was
 acting under color of law and color of her authority as a law enforcement officer, and in such capacity, as
 the agent, servant, and employee of Defendant BSO.
         25.        At all times material hereto, Defendant WILLIAMS was, on information and belief, a
 resident of Broward County, Florida and otherwise sui juris.
         26.        Defendant, NEDRA GABRIEL, (hereinafter referred to as “GABRIEL”), at all times
 material hereto, was and is a law enforcement officer for Defendant BSO and is being sued in her individual
 capacity.




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         27.        Defendant, GABRIEL, at all times material hereto and in all actions described herein, was
 acting within the course and scope of her employment for Defendant BSO.
         28.        Defendant, GABRIEL, at all times material hereto and in all actions described herein, was
 acting under color of law and color of her authority as a law enforcement officer, and in such capacity, as
 the agent, servant, and employee of Defendant BSO.
         29.        At all times material hereto, Defendant GABRIEL, on information and belief, was a resident
 of Broward County, Florida and otherwise sui juris.
         30.        Defendant, LUIS GALINDEZ, (hereinafter referred to as “GALINDEZ”), at all times
 material hereto, was and is a law enforcement officer for Defendant BSO and is being sued in his individual
 capacity.
         31.        Defendant, GALINDEZ, at all times material hereto and in all actions described herein, was
 acting within the course and scope of his employment for Defendant BSO.
         32.        Defendant, GALINDEZ, at all times material hereto and in all actions described herein, was
 acting under color of law and color of her authority as a law enforcement officer, and in such capacity, as
 the agent, servant, and employee of Defendant BSO.
         33.        At all times material hereto, Defendant GALINDEZ, on information and belief, was a
 resident of Broward County, Florida and otherwise sui juris.
         34.        Defendant, DAPHNYS JEAN-BAPTISTE, (hereinafter referred to as “JEAN-BAPTISTE”),
 at all times material hereto, was and is a law enforcement officer for Defendant BSO and is being sued in
 his individual capacity.
         35.         Defendant, JEAN-BAPTISTE, at all times material hereto and in all actions described
 herein, was acting within the course and scope of his employment for Defendant BSO.
         36.        Defendant, JEAN-BAPTISTE, at all times material hereto and in all actions described herein,
 was acting under color of law and color of her authority as a law enforcement officer, and in such capacity,
 as the agent, servant, and employee of Defendant BSO.
         37.        At all times material hereto, Defendant JEAN-BAPTISTE, on information and belief, was
 a resident of Broward County, Florida and otherwise sui juris.
         38.        Defendant, PATRICK FECU, (hereinafter referred to as “FECU”), at all times material
 hereto, was and is a law enforcement officer for Defendant BSO and is being sued in his individual capacity.
         39.        Defendant, FECU, at all times material hereto and in all actions described herein, was acting
 within the course and scope of his employment for Defendant BSO.


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         40.        Defendant, FECU, at all times material hereto and in all actions described herein, was acting
 under color of law and color of her authority as a law enforcement officer, and in such capacity, as the agent,
 servant, and employee of Defendant BSO.
         41.        At all times material hereto, Defendant FECU, on information and belief, was a resident of
 Broward County, Florida and otherwise sui juris.
         42.        Defendant, TIFFANY BEALE, (hereinafter referred to as “BEALE”), at all times material
 hereto, was and is a law enforcement officer for Defendant BSO and is being sued in his individual capacity.
         43.         Defendant, BEALE, at all times material hereto and in all actions described herein, was
 acting within the course and scope of his employment for Defendant BSO.
         44.        Defendant, BEALE, at all times material hereto and in all actions described herein, was
 acting under color of law and color of her authority as a law enforcement officer, and in such capacity, as
 the agent, servant, and employee of Defendant BSO.
         45.        At all times material hereto, Defendant BEALE, on information and belief, was a resident
 of Broward County, Florida and otherwise sui juris.
                                             FACTUAL ALLEGATIONS
 A.      Factual Allegations Regarding Plaintiff Sharone Gerstenhaber
         46.        On July 11, 2014, sometime before 2:00 a.m., Plaintiff Sharone Gerstenhaber, was
 transported by taxi cab to her residence at 408 Northeast 6th Street, Fort Lauderdale, Florida 33304.
         47.        After arriving at her residence, a dispute arose between Plaintiff and Inadel Forestal, the taxi
 cab driver, regarding the cab fare. As a result, Forestal attacked Plaintiff resulting in Plaintiff having to
 defend herself.
         48.        Officer K. Phillips of the Fort Lauderdale Police Department, responded to the incident and
 arrested Plaintiff for simple battery, vandalism, and petit theft.
         49.        Officer K. Phillips, in the course of arresting Gerstenhaber, searched Gestenhaber and her
 belongings and discovered a glass smoking device and less than 1 gram of a green leafy substance which
 Officer K. Phillips noted was marijuana.
         50.        Officer K. Phillips also charged Gerstenhaber with (i) possession of marijuana less than 20
 grams and (ii) possession of drug paraphernalia, both first degree misdemeanors; at no time was
 Gerstenhaber charged by K. Phillips with any felony.




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           51.        Despite being charged with the above misdemeanors, they were all dropped or nolle prossed
 by the Broward County State Attorney’s Office.
           52.        At the time of her arrest by Officer K. Phillips, Gerstenhaber had no visible injuries to her
 face or body with the exception of a small cut to her left thumb.
           53.        Following Gerstenhaber’s arrest, Gerstenhaber was transported by Officer K. Phillips to the
 sallyport area at the Broward County Jail for booking.
           54.        At approximately, 2:30 a.m., Gerstenhaber was turned over to the custody of BSO deputies.
           55.        At the time of her transfer to the custody of BSO at the Broward County Jail, Gerstenhaber
 had no visible injuries to her face or body with the exception of a small cut to her left thumb.
           56.        Upon arriving at the sallyport area at the Broward County Jail, Gerstenhaber relinquished
 to Defendant BEALE and/or another deputy in the sallyport area all of her personal property, with the
 exception of her clothing and her deceased grandfather’s gold wedding band, a family heirloom with
 significant sentimental value (hereinafter referred to as the “Ring”); the Ring had been passed down to
 Gerstenhaber from her grandfather, a gift to him by her deceased grandmother at the time of their marriage
 in Israel in 1943 and had been engraved with the date of her grandparents’ marriage and her grandmother’s
 words in Hebrew, “Rachael loves Leslie.”
           57.        After arriving at the sallyport area at the Broward County Jail, Gerstenhaber was escorted
 by BSO deputies including Defendants BRINKLEY, GABRIEL, AUSTIN-GAINES, and WILLIAMS into
 the booking area and escorted immediately into Booking Search Cell No. 2.
           58.        At the time of entry into the Booking Search Cell No.2, Plaintiff was barefooted, clothed in
 a tan shirt, bra, underwear, and jean shorts and was still wearing the Ring on her middle finger which was
 not turned over to any BSO deputy in the sallyport area.
           59.        At no time did Gerstenhaber during her escort into booking and/or the search cell threaten
 any BSO deputy or make any movement or gesture towards any BSO deputy which would create the fear of
 any imminent physical harm or contact to any BSO Deputy or other inmate.
           60.        Defendant BSO, by and through its agents, servants, and/or employees, in the process of
 booking Gerstenhaber, charged Gerstenhaber with possession of cannabis over 20 grams, a third degree
 felony.
           61.        Once inside the booking search cell Defendants BRINKLEY, GABRIEL, AUSTIN-GAINES,
 and/or WILLIAMS requested Gerstenhaber to remove her clothes and jewelry including the Ring to strip
 search Gerstenhaber.


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         62.        No authorization was provided to strip search Gerstenhaber by any supervisor of the BSO.
         63.        Gerstenhaber was hesitant on removing her grandfather’s wedding band due to the fact it
 was a family heirloom with significant sentimental value.
         64.        Again at no time did Gerstenhaber after being placed in Booking Search Cell No. 2 threaten
 any BSO deputy or make any movement or gesture towards any BSO deputy, including the Defendants
 BRINKLEY, GABRIEL, AUSTIN-GAINES, and WILLIAMS, which would create the fear of any imminent
 physical harm or contact to any BSO Deputy or other inmate.
         65.        Also, at no time did Gerstenhaber after being placed in Booking Search Cell No. 2 threaten
 or make any movement or gesture towards any BSO deputy or any property which would create the fear of
 any imminent physical harm or contact to any property.
         66.        Also, at no time did Gerstenhaber after being placed in Booking Search Cell No. 2 threaten
 or make any movement that would be indicative of an attempt to escape the booking area or search cell.
         67.        In response to Gerstenhaber’s hesitancy and refusal to remove the Ring based on its
 substantial sentimental value and her fear of it being lost or stolen, Defendants BRINKLEY, GABRIEL,
 AUSTIN-GAINES, and WILLIAMS unreasonably and without provocation, without any imminent threat
 of danger or any emergent situation, and without any supervisory authority engaged in the excessive use of
 force to exact punishment on Gerstenhaber for her refusal to remove her Ring when requested.
         68.        Defendant BRINKLEY without supervisory authority, told Gerstenhaber if she doesn’t
 remove the Ring she will be pepper sprayed; when Gerstenhaber did not immediately comply, Defendants
 AUSTIN-GAINES and WILLIAMS unreasonably and without provocation pepper sprayed Gerstenhaber in
 her face and body, without any supervisor authority.
         69.        When Gerstenhaber was reeling from the effects of the pepper spray, Defendant
 BRINKLEY, unreasonably and without provocation, pushed Gerstenhaber into the corner of the cell, and
 then Defendant BRINKLEY, GABRIEL, AUSTIN-GAINES, and WILLIAMS handcuffed Gerstenhaber and
 left the search cell for a short period of time.
         70.        Thereafter, Defendants BRINKLEY, GABRIEL, AUSTIN-GAINES, and WILLIAMS
 returned with Defendant GALINDEZ and, unreasonably and without provocation, without any imminent
 threat of danger or any emergent situation, continued to engage in the excessive use of force to exact
 punishment on Gerstenhaber for her refusal to remove her Ring when requested.
         71.        Defendant WILLIAMS unreasonably and without provocation again pepper sprayed
 Gerstenhaber while she remained handcuffed in order to punish Gerstenhaber for refusing to remove the


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 Ring.
         72.        Immediately thereafter, Defendants BRINKLEY, GABRIEL, AUSTIN-GAINES,
 WILLIAMS, and GALINDEZ, unreasonably and without provocation, without any imminent threat of danger
 or any emergent situation, forcibly took Gerstenhaber to the ground while she was handcuffed, held her
 down, and battered her by beating, hitting, pummeling, and kicking her all over her face and body until
 Gerstenhaber urinated on herself.
         73.        After the beating, Defendants BRINKLEY, GABRIEL, AUSTIN-GAINES, WILLIAMS,
 and GALINDEZ forcibly removed the Ring from Gerstenhaber’s middle finger and Defendants BRINKLEY,
 GABRIEL, AUSTIN-GAINES, WILLIAMS, and GALINDEZ, also forcibly removed all of her clothing
 including her bra and underwear, completely exposing her breasts, genitalia, and buttocks to perform a strip
 search of Gerstenhaber’s body.
         74.        Despite applicable statutory Florida law and BSO policies and procedures prohibiting
 Defendant GALINDEZ from being in the search cell during a strip search of a female he stayed in the search
 cell with Gerstenhaber while she was undressed and naked with her breasts, genitalia, and buttocks
 completely exposed; there were two other female BSO deputies, K’Neege Needom and Cleopatra Johnnie
 available to assist Defendants BRINKLEY, AUSTIN-GAINES, WILLIAMS, and GABRIEL, but they were
 not called to assist.
         75.        During the time Gerstenhaber was being attacked inside Booking Search Cell No. 2,
 Defendant JEAN BAPTISTE, was present at the open door of said cell and outside said cell knowing the
 Defendants BRINKLEY, GABRIEL, AUSTIN-GAINES, WILLIAMS, and GALINDEZ were utilizing
 excessive force including pepper spray to punish Gerstenhaber and strip search Gerstenhaber including
 removing all of her clothing while in GALINDEZ’s presence.
         76.        Defendant JEAN BAPTISTE observed Gerstenhaber while being physically attacked and
 strip searched by Defendants BRINKLEY, GABRIEL, AUSTIN-GAINES, WILLIAMS, and GALINDEZ
 but took no action to intervene or otherwise stop the strip search and/or physical assault on Gerstenhaber.
         77.        Again at no time did Gerstenhaber after being placed in Booking Search Cell No. 2 threaten
 any BSO deputy, including but not limited to Defendants BRINKLEY, GABRIEL, AUSTIN-GAINES,
 WILLIAMS, and GALINDEZ, or make any movement or gesture towards any BSO deputy which would
 create the fear of any imminent physical harm or contact to any BSO Deputy or other inmate.
         78.        Also, at no time did Gerstenhaber after being placed in Booking Search Cell No. 2 threaten
 or make any movement or gesture towards any BSO deputy or property which would create the fear of any


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  imminent physical harm or contact to any property.
          79.        Also, at no time did Gerstenhaber after being placed in Booking Search Cell No. 2 threaten
  or make any movement that would be indicative of an attempt to escape the booking area or search cell.
          80.        At no time, during this exchange, did Defendants BRINKLEY, GABRIEL, AUSTIN-
  GAINES, WILLIAMS, or GALINDEZ need to engage in the use of force for purpose of self-defense or to
  protect staff, others, or property, from Gerstenhaber or to prevent escape by Gerstenhaber.
          81.        Rather, Defendants BRINKLEY, GABRIEL, AUSTIN-GAINES, WILLIAMS, and
  GALINDEZ engaged in the use of force for corporal punishment, personal abuse, embarrassment,
  humiliation, and harassment for questioning a directive by one or more of the Defendants to remove her
  Ring; these Defendants were responsible for securing Gerstenhaber’s Ring after its seizure.
          82.        After the physical attack by Defendants BRINKLEY, GABRIEL, AUSTIN-GAINES,
  WILLIAMS, and/or GALINDEZ, Gerstenhaber was transferred to CIB Holding Cell No. 3, another holding
  cell where she was examined by Broward Sheriff’s Office EMT Colon who noted redness to face as well as
  visible swelling, bruising, and laceration to the right eye.
          83.        As a result of Defendants‘ excessive use of force, Gerstenhaber sustained severe and
  permanent injuries to her face and body including (i) contusions to the face, right eye, and inside of lower
  and outside of lower lip, (ii) contusions to the right side of her head, right and left rear shoulder, right and
  left wrists, right arm, outer left thigh, inner left leg above the ankle, and left biceps, (iii) lacerations to her
  right eye and upper lip, and (iv) bruising and abrasions about her face and body.
          84.        As a further result of Defendants’ actions, including Defendant GALINDEZ’s violation of
  BSO policies and procedures and Florida Statutory Law, Gerstenhaber sustained physical and emotional
  abuse and harm, intimidation, humiliation, and embarrassment.
          85.        In addition to Defendants BRINKLEY, AUSTIN-GAINES, WILLIAMS, GABRIEL,
  GALINDEZ, JEAN BAPTISTE, Defendants FECU and BEALE were also responsible for securing
  Gerstenhaber’s personal property, including the Ring after its seizure.
          86.        Defendants BRINKLEY, AUSTIN-GAINES, WILLIAMS, GABRIEL, GALINDEZ, JEAN
  BAPTISTE, FECU and BEALE failed to appropriately secure the Ring for Gerstenhaber.
          87.        As a further result of Defendants’ actions and/or omissions, the Ring could never be located
  nor was ever returned to Gerstenhaber by the Defendants during her release nor any time thereafter, thereby
  violating BSO policies and procedures and the rights of Gerstenhaber causing her damages including but not
  limited to the loss of market and sentimental value of the Ring.


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          88.        In the course of Defendant BRINKLEY’s actions in pepper spraying Gerstenhaber and
  physically beating her while she remained handcuffed, Defendant, BRINKLEY, physically assaulted and
  accosted Gerstenhaber subjecting said Plaintiff to acts of physical and emotional abuse and thereby
  wrongfully committed acts of battery.
          89.        In the course of Defendant BRINKLEY’S actions in participating and exacting a strip search
  on Gerstenhaber together with a male BSO deputy, Defendant, BRINKLEY, violated Florida statutory law
  and BSO policies and procedures by performing said unconstitutional, unreasonable, and illegal strip search
  together with a male BSO deputy in the strip search of a female individual subjecting said Plaintiff to a
  violation of her privacy as well as physical and emotional abuse, intimidation, embarrassment, humiliation,
  and harassment.
          90.        In the course of Defendant BRINKLEY’s actions and/or omissions in failing to secure
  Gerstenhaber’s Ring, Defendant BRINKLEY violated Florida statutory law and BSO policies and procedures
  which prevent an unreasonable and unconstitutional seizure of Gerstenhaber’s personal property thereby
  depriving said Plaintiff of the Ring.
          91.        Defendant, BRINKLEY committed the aforedescribed acts in her official capacity as a
  deputy of the Defendant BSO while acting in the course and scope of her employment with the Defendant
  BSO.
          92.        Defendant BSO is vicariously liable for the wrongful conduct and negligence of its agents,
  servants and/or employees, including BRINKLEY.
          93.        At the aforesaid time and place, Defendant BRINKLEY wrongfully exerted excessive force,
  physically assaulted and battered Gerstenhaber and unreasonably subjected Plaintiff to acts of physical and
  emotional harm as punishment for refusing to remove the Ring.
          94.        Defendant BRINKLEY wrongfully subjected Gerstenhaber to an unreasonable and illegal
  strip search and invasion of her privacy in violation of the Fourth Amendment and Florida Statute § 901.211
  and unreasonably subjected Plaintiff to physical and emotional abuse, intimidation, embarrassment,
  humiliation, and harassment.
          95.        At the aforesaid time and place, Defendant BRINKLEY wrongfully subjected Gerstenhaber
  to an unreasonable seizure by taking and failing to return the Ring in violation of the Fourth Amendment
  and Florida law thereby unreasonably depriving Plaintiff of the value of the Ring.
          96.        In the course of Defendant AUSTIN-GAINES’ actions in pepper spraying Gerstenhaber and
  physically beating her while she remained handcuffed, Defendant, AUSTIN-GAINES, physically assaulted


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  and accosted Gerstenhaber subjecting said Plaintiff to acts of physical and emotional abuse and thereby
  wrongfully committed acts of battery.
          97.        In the course of Defendant AUSTIN-GAINES’ actions in participating and exacting a strip
  search on Gerstenhaber together with a male BSO deputy, Defendant, AUSTIN-GAINES, violated Florida
  statutory law and BSO policies and procedures by performing said unconstitutional, unreasonable, and
  illegal strip search together with a male BSO deputy in the strip search of a female individual subjecting said
  Plaintiff to a violation of her privacy as well as physical and emotional abuse, intimidation, embarrassment,
  humiliation, and harassment.
          98.        In the course of Defendant AUSTIN-GAINES’ actions and/or omissions in failing to secure
  Gerstenhaber’s Ring, Defendant, AUSTIN-GAINES violated Florida statutory law and BSO policies and
  procedures which prevent an unreasonable and unconstitutional seizure of Gerstenhaber’s personal property
  thereby depriving said Plaintiff of the Ring.
          99.        Defendant AUSTIN-GAINES committed the aforedescribed acts in her official capacity as
  a deputy of the Defendant BSO while acting in the course and scope of her employment with the Defendant
  BSO.
          100.       Defendant BSO is vicariously liable for the wrongful conduct and negligence of its agents,
  servants and/or employees, including AUSTIN-GAINES.
          101.       At the aforesaid time and place, Defendant AUSTIN-GAINES wrongfully exerted excessive
  force, physically assaulted and battered Gerstenhaber and unreasonably subjected Plaintiff to acts of physical
  and emotional harm as punishment for refusing to remove the Ring.
          102.       Defendant AUSTIN-GAINES wrongfully subjected Gerstenhaber to an unreasonable and
  illegal strip search and invasion of her privacy in violation of the Fourth Amendment and Florida Statute §
  901.211 and unreasonably subjected Plaintiff to physical and emotional abuse, intimidation, embarrassment,
  humiliation, and harassment.
          103.       At the aforesaid time and place, Defendant AUSTIN GAINES wrongfully subjected
  Gerstenhaber to an unreasonable seizure by taking and failing to return the Ring in violation of the Fourth
  Amendment and Florida law and unreasonably deprived Plaintiff of the value of the Ring.
          104.       In the course of Defendant WILLIAMS’ actions in pepper spraying Gerstenhaber and
  physically beating her while she remained handcuffed, Defendant, WILLIAMS, physically assaulted and
  accosted Gerstenhaber subjecting said Plaintiff to acts of physical and emotional abuse and thereby
  wrongfully committed acts of battery.


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          105.      In the course of Defendant WILLIAMS’ actions in participating and exacting a strip search
  on Gerstenhaber together with a male BSO deputy, Defendant, WILLIAMS, violated Florida statutory law
  and BSO policies and procedures by performing said unconstitutional, unreasonable, and illegal strip search
  together with a male BSO deputy in the strip search of a female individual subjecting said Plaintiff to a
  violation of her privacy as well as physical and emotional abuse, intimidation, embarrassment, humiliation,
  and harassment.
          106.      In the course of Defendant WILLIAMS’ actions and/or omissions in failing to secure
  Gerstenhaber’s Ring, Defendant, WILLIAMS violated Florida statutory law and BSO policies and
  procedures which prevent an unreasonable and unconstitutional seizure of Gerstenhaber’s personal property
  thereby depriving said Plaintiff of the Ring.
          107.      Defendant WILLIAMS committed the aforedescribed acts in her official capacity as a deputy
  of the Defendant BSO while acting in the course and scope of her employment with the Defendant BSO.
          108.      Defendant BSO is vicariously liable for the wrongful conduct and negligence of its agents,
  servants and/or employees, including WILLIAMS.
          109.      At the aforesaid time and place, Defendant WILLIAMS wrongfully exerted excessive force,
  physically assaulted and battered Gerstenhaber and unreasonably subjected Plaintiff to acts of physical and
  emotional harm as punishment for refusing to remove the Ring.
          110.      Defendant WILLIAMS wrongfully subjected Gerstenhaber to an unreasonable and illegal
  strip search and invasion of her privacy in violation of the Fourth Amendment and Florida Statute § 901.211
  and unreasonably subjected Plaintiff to physical and emotional abuse, intimidation, embarrassment,
  humiliation, and harassment.
          111.      At the aforesaid time and place, Defendant WILLIAMS wrongfully subjected Gerstenhaber
  to an unreasonable seizure by taking and failing to return the Ring in violation of the Fourth Amendment and
  Florida law and unreasonably deprived Plaintiff of the value of the Ring.
          112.      In the course of Defendant GABRIEL’s actions in pepper spraying Gerstenhaber and
  physically beating her while she remained handcuffed, Defendant, GABRIEL, physically assaulted and
  accosted Gerstenhaber subjecting said Plaintiff to acts of physical and emotional abuse and thereby
  wrongfully committed acts of battery.
          113.      In the course of Defendant GABRIEL’S actions in participating and exacting a strip search
  on Gerstenhaber together with a male BSO deputy, Defendant, GABRIEL, violated Florida statutory law and
  BSO policies and procedures by performing said unconstitutional, unreasonable, and illegal strip search


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  together with a male BSO deputy in the strip search of a female individual subjecting said Plaintiff to a
  violation of her privacy as well as physical and emotional abuse, intimidation, embarrassment, humiliation,
  and harassment.
          114.      In the course of Defendant GABRIEL’s actions and/or omissions in failing to secure
  Gerstenhaber’s Ring, Defendant, GABRIEL violated Florida statutory law and BSO policies and procedures
  which prevent an unreasonable and unconstitutional seizure of Gerstenhaber’s personal property thereby
  intentionally and unnecessarily depriving said Plaintiff of the Ring.
          115.      Defendant GABRIEL committed the aforedescribed acts in her official capacity as a deputy
  of the Defendant BSO while acting in the course and scope of her employment with the Defendant BSO.
          116.      Defendant BSO is vicariously liable for the wrongful conduct and negligence of its agents,
  servants and/or employees, including GABRIEL.
          117.      At the aforesaid time and place, Defendant GABRIEL wrongfully exerted excessive force,
  physically assaulted and battered Gerstenhaber and unreasonably subjected Plaintiff to acts of physical and
  emotional harm as punishment for refusing to remove the Ring.
          118.      Defendant GABRIEL wrongfully subjected Gerstenhaber to an unreasonable and illegal strip
  search and invasion of her privacy in violation of the Fourth Amendment and Florida Statute § 901.211 and
  unreasonably subjected Plaintiff to physical and emotional abuse, intimidation, embarrassment, humiliation,
  and harassment.
          119.      At the aforesaid time and place, Defendant GABRIEL wrongfully subjected Gerstenhaber
  to an unreasonable seizure in violation of the Fourth Amendment and Florida law and unreasonably deprived
  Plaintiff of the value of the Ring.
          120.      In the course of Defendant GALINDEZ’s actions in pepper spraying Gerstenhaber and
  physically beating her while she remained handcuffed, Defendant, GALINDEZ, physically assaulted and
  accosted Gerstenhaber subjecting said Plaintiff to acts of physical and emotional abuse and thereby
  wrongfully committed acts of battery.
          121.      In the course of Defendant GALINDEZ’s actions in participating and exacting a strip search
  on Gerstenhaber, Defendant, GALINDEZ, violated Florida statutory law and BSO policies and procedures
  which prevent his participation as a male BSO deputy in the strip search of a female individual thereby
  subjecting said Plaintiff to a violation of her privacy as well as physical and emotional abuse, intimidation,
  embarrassment, humiliation, and harassment.
          122.      In the course of Defendant GALINDEZ’s actions and/or omissions in failing to secure


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  Gerstenhaber’s Ring, Defendant, GALINDEZ violated Florida statutory law and BSO policies and
  procedures which prevent an unreasonable and unconstitutional seizure of Gerstenhaber’s personal property
  thereby depriving said Plaintiff of the Ring.
          123.     Defendant GALINDEZ committed the aforedescribed acts in his official capacity as a deputy
  of the Defendant BSO while acting in the course and scope of his employment with the Defendant BSO.
          124.     Defendant BSO is vicariously liable for the wrongful conduct and negligence of its agents,
  servants and/or employees, including GALINDEZ.
          125.     At the aforesaid time and place, Defendant GALINDEZ wrongfully exerted excessive force,
  physically assaulted and battered Gerstenhaber and unreasonably subjected Plaintiff to acts of physical and
  emotional harm as punishment for refusing to remove the Ring.
          126.     Defendant GALINDEZ wrongfully subjected Gerstenhaber to an unreasonable and illegal
  strip search and invasion of her privacy in violation of the Fourth Amendment and Florida Statute § 901.211
  and unreasonably subjected Plaintiff to physical and emotional abuse, intimidation, embarrassment,
  humiliation, and harassment.
          127.     At the aforesaid time and place, Defendant GALINDEZ wrongfully subjected Gerstenhaber
  to an unreasonable seizure by taking and failing to return the Ring in violation of the Fourth Amendment
  and Florida law and unreasonably deprived Plaintiff of the value of the Ring.
          128.     Defendants BRINKLEY, GABRIEL, AUSTIN-GAINES, WILLIAMS, and GALINDEZ
  were present during the unreasonable and unprovoked attack and strip search and took no action to intervene
  or otherwise stop the unreasonable and illegal strip search and physical assault on Gerstenhaber.
          129.     During the aforedescribed time and place, Defendant JEAN BAPTISTE, was present during
  the unreasonable and unprovoked attack and strip search and took no action to intervene or otherwise stop
  the unreasonable strip search and physical assault on Gerstenhaber.
          130.     In the course of Defendant JEAN BAPTISTE’S actions and/or omissions in failing to secure
  Gerstenhaber’s Ring, Defendant, JEAN BAPTISTE, violated Florida statutory law and BSO policies and
  procedures which prevent an unreasonable and unconstitutional seizure of Gerstenhaber’s personal property
  thereby depriving said Plaintiff of the Ring.
          131.     Defendant JEAN BAPTISTE committed the aforedescribed acts or failed to act as required
  while in his official capacity as a deputy of the Defendant BSO and while acting in the course and scope of
  his employment with the Defendant BSO.
          132.     Defendant BSO is vicariously liable for the wrongful conduct and negligence of its agents,


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  servants and/or employees, including JEAN BAPTISTE.
          133.     At the aforesaid time and place, Defendant JEAN BAPTISTE wrongfully subjected
  Gerstenhaber to an unreasonable seizure in violation of the Fourth Amendment and Florida law and
  unreasonably deprived Plaintiff of the value of the Ring.
          134.     In the course of Defendant FECU’s actions and/or omissions in failing to secure
  Gerstenhaber’s Ring, Defendant, FECU violated Florida statutory law and BSO policies and procedures
  which prevent an unreasonable and unconstitutional seizure of Gerstenhaber’s personal property thereby
  depriving said Plaintiff of the Ring.
          135.     Defendant FECU committed the aforedescribed acts in his official capacity as a deputy of
  the Defendant BSO while acting in the course and scope of his employment with the Defendant BSO.
          136.     Defendant BSO is vicariously liable for the wrongful conduct and negligence of its agents,
  servants and/or employees, including FECU.
          137.     At the aforesaid time and place, Defendant FECU wrongfully subjected Gerstenhaber to an
  unreasonable seizure in violation of the Fourth Amendment and Florida law and unreasonably deprived
  Plaintiff of the value of the Ring.
          138.     In the course of Defendant BEALE’s actions and/or omissions in failing to secure
  Gerstenhaber’s Ring, Defendant, BEALE violated Florida statutory law and BSO policies and procedures
  which prevent an unreasonable and unconstitutional seizure of Gerstenhaber’s personal property thereby
  depriving said Plaintiff of the Ring.
          139.     Defendant BEALE committed the aforedescribed acts in his official capacity as a deputy of
  the Defendant BSO while acting in the course and scope of his employment with the Defendant BSO.
          140.     Defendant BSO is vicariously liable for the wrongful conduct and negligence of its agents,
  servants and/or employees, including BEALE.
          141.     At the aforesaid time and place, Defendant BEALE wrongfully subjected Gerstenhaber to
  an unreasonable seizure in violation of the Fourth Amendment and Florida law and unreasonably deprived
  Plaintiff of the value of the Ring.
          142.     At no time did Gerstenhaber commit any offense against the laws of the State of Florida
  including any such crime or violation of Florida Statutes for which the use of force as described herein may
  be lawfully justified.
          143.     At all times material hereto, Gerstenhaber was unarmed and not a threat to the Defendants.
          144.     At no time thereafter, did any of the Defendants charge Gerstenhaber with resisting an


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  officer with or without violence, pursuant to Florida Statutes.
  B. Factual Allegations Regarding Defendant, BSO
           145.       At all times material hereto, Defendant BSO was on notice of the fact that a pattern and
  practice of excessive force exists within the BSO and BSO Department of Detention, and that members of
  the citizenry are the victims of excessive force committed by the BSO deputies in violation of the Fourth
  Amendment.
           146.       Defendant BSO’s deputies are allowed to commit excessive force with impunity knowing
  that officers are unlikely to face disciplinary actions as a result of their use of excessive force based on
  BSO’s failure to remedy a pattern of constitutional violations that continue to occur at the hands of the
  BSO’s deputies.
           147.       Defendants BRINKLEY, GABRIEL, AUSTIN-GAINES, WILLIAMS, and GALINDEZ are
  comfortable in the knowledge that any acts of excessive force that they commit are unlikely to result in
  discipline even when the act of excessive force occurs within the Department of Detention, including at the
  Broward County Jail. Therefore the lack of discipline for excessive force allowed Defendants BRINKLEY,
  GABRIEL, AUSTIN-GAINES, WILLIAMS, and GALINDEZ to commit excessive force against
  Gerstenhaber because they knew that official reprisals for their actions against Gerstenhaber would be
  unlikely.
           148.       BSO is on notice through the clear action of excessive force committed against Gerstenhaber
  in this action.
           149.       At all times material hereto, there was a pervasive failure by BSO, by and through its officers
  agents, and employees, specifically Sheriff Israel, as ultimate policy maker for BSO, to train, discipline, and
  eradicate a widespread abuse of systemic constitutional excessive force violations that although not
  authorized by written law or express municipal policy are so permanent and well settled as to constitute a
  custom or usage with the force of law.
           150.       At all times material hereto, there existed in the BSO a de facto policy or custom of
  permitting excessive force by its deputies which rose to the level of a constitutional violation based on an
  ongoing pattern of constitutional excessive force violations under the Fourth Amendment that the BSO failed
  to remedy.
           151.       Further, the BSO was on actual and constructive notice of a systemic pattern of excessive
  force being committed against the citizenry by its deputies through the following specific acts:
           (a)        Case No. PC#04-174C: On June 20, 2003, Sergeant Luis Galindez, and Deputies Todd Rich,
                      Robert Trawinski, and James Cady, physically assaulted inmate Joshua Spicy in a holding

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                   cell in Central Intake on the second floor of the Main Jail. More specifically, Inmate Spicy,
                   who was arrested for an alleged probation violation, stated that he was “badly brutalized”
                   by the BSO deputies and sustained a half inch laceration above the left eye, swollen left jaw,
                   and contusions to the left rib cage area from the beating. It is further alleged that Defendant
                   Galindez kicked Inmate Spicy in the back. Since Inmate Spicy plead guilty to resisting a law
                   enforcement officer with violence as an alternative of going to trial for battery on a law
                   enforcement officer, no officer received any discipline for battering inmate Spicy.

        (b)        Case No. PC#06-123: On August 29 ,2004, Sergeant Luis Galindez, Deputy Admirald
                   Harrison, and Deputy Lauren Williams, were involved in a use of force incident involving
                   Inmate Richard Singletary, who was in a single person search cell at Central Intake because
                   he had been reported to be violent prior to arriving at the jail. Due to the inmate’s alleged
                   uncooperative nature during the booking process, he was placed in a search cell until he
                   calmed down. Sergeant Galindez elected to enter the cell as a show of force to gain
                   compliance from Inmate Singletary. Sergeant Galindez opened the cell door as Deputy
                   Harrison utilized force and pepper sprayed Inmate Singletary despite no threat or
                   provocation from Inmate Singletary as a means of punishment to encourage cooperation.
                   Thereafter, five deputies including Sergeant Galindez entered the search cell and closed the
                   cell door behind them and Deputy Harrison again sprayed the inmate with pepper spray.
                   They thereafter took the inmate to the ground. Sergeant Galindez prepared an inaccurate and
                   untruthful event report and authorized deputies including Deputy Harrison to submit an
                   inaccurate and untruthful event report. He only received three days of suspension without
                   any supervisor training in regards to the subject incident where Sergeant Galindez
                   knowingly falsified a report and allowed his employee to falsify a report to excuse their
                   improper use of force against an inmate. Deputy Harrison was exonerated in regards to his
                   use of force and only was reprmanded for failing to meet BSO standards but not in regards
                   to any allegation of untruthfulness.

        (c)        Case No. PC#06-146: On October 26, 2005, Sergeant Luis Galindez deployed pepper spray
                   at inmate Anthony Garland and also struck Garland in the face with closed fists. Sergeant
                   Galindez did not receive any discipline nor training for his use of force against Inmate
                   Garland.

        (d)        Case No. PC#06-358A: On July 24, 2006, after being escorted into a hallway by Deputy
                   Todd Rich, Sergeant Galindez and Deputy Bennett allegedly “jumped” inmate Beeman and
                   fractured his nose and right arm.

        (e)        Case No. IAC#07-090: On November 21, 2006, Inmate Osmil Diaz was assaulted by
                   Sergeant Luis Galindez in the facility’s intake area while being prepared to be transported
                   to Court causing injuries to the left side of his face.

        (f)        Case No. IA #05-13-00505: On May 16, 2013, Sergeant Luis Galindez was present during
                   the strip search of a female inmate, Mariano Palenzuela. Sergeant Galindez, while wearing
                   gloves entered the search cell, closed the cell door, and told Inmate Palenzuela to bend over
                   and squat three or four more times, while Palenzuela was completely naked, during which
                   Sergeant Galindez was licking his lips and flirting. Sergeant Galindez entered the cell
                   during a strip search despite the fact that another female supervisor was available under the

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                     pretenses that he was Bravo shipt booking sergeant and that he is not going to pass off his
                     responsibility to another sergeant. Sergeant Galindez was suspended but only for one day
                     as a result of the incident but was not reprimanded or provided with any counseling.

          (g)        United States Southern District of Florida Case No. 14-60173: On May 25, 2012, Inmate
                     Lauren Militello after being transported to the Broward County Jail and brought into the
                     booking area and without any provocation or threat was assaulted and battered by BSO
                     Deputy Daly England while Deputies Fann, Morel, and Polk watched. More specifically,
                     BSO Deputy Daly-England pushed inmate Militello into a wall causing her to fall to the
                     ground and then grabbed her by the hair and dragged her across the floor into a search
                     room. Immediately thereafter, Deputy Daly-England punched Militello repeatedly in the face
                     causing her to lose consciousness until she suffered a seizure and started to bleed from her
                     nose.

          (h)        United States Southern District of Florida Case No. Case No.:18-60534: On April 2, 2014,
                     Inmate Audra West was physically beaten and assaulted by BSO Deputy Kristin Connelly,
                     after she asked for a tampon after she was arrested and brought to Pompano Beach Jail for
                     disorderly intoxication, trespassing, and resisting arrested. More specifically, Inmate West
                     without any provocation or threat, was dragged into a search room by BSO Deputy Connelly
                     and then beaten suffering injuries to her face and body. In addition, BSO deputies not only
                     observed the beating without intervening but participated in the beating. Following the
                     incident, the BSO deputies were exonerated for their conduct.

          (i)        United States Southern District of Florida Case No. Case No.:14-62095 / 16-63017: On or
                     about March 14, 2013, Inmate Eric Watkins while in booking at the Broward County Main
                     Jail was physically assaulted and battered by BSO deputies, including Luis Galindez, after
                     verbally expressing himself about his dislike for law enforcement. More specifically, BSO
                     deputies punched, stomped, and kicked Inmate Watkins over his face and body while in a
                     search cell causing injuries to the right side of his face, his nose, shoulder, and lower back
                     based on his alleged failure to obey an order given by the BSO deputies.

          152.       Further, BSO was on notice of the fact that as a major metropolitan area that the use of force
  by its deputies and officers, including within its facilities such as the Broward County Jail, is an inevitable
  occurrence. As such BSO has a duty to ensure that its officers and deputies are adequately trained in the use
  of force. However, previous incidents by BSO deputies, specifically within the Department of Detention
  placed BSO on notice that more training in the area of force was necessary.
          153.       BSO has failed to have live training exercises to train its officers and deputies on the use of
  excessive force in tense real life circumstances. As a result officers unconstitutionally engage in excessive
  force manhandling detained individuals within their facilities as a means of punishment causing unwarranted
  escalation of events, serious injury and death.
          154.       BSO offices and deputies don't have the necessary training to know when facts have arisen


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  to cause them to reasonably believe that excessive force is necessary to prevent serious injury to themselves
  and others. Without adequate training on the tense ever changing circumstances of real life encounters, BSO
  officers and deputies inflict unnecessary and unreasonable force upon individuals and detainees because they
  have no training to help them to rationally assess a situation as an imminent threat of harm.
            155.    The cases referenced above placed BSO on notice of its need for more or different training
  to deal with the inappropriate and unconstitutional application of force within the Department of Detention.
            156.    Defendant BSO’s actions and inactions described above were taken under color of law and
  in violation of the Constitution of the United States and 42 U.S.C. § 1983.
            157.    As a direct result of the actions of Defendant BSO and Defendants BRINKLEY, AUSTIN-
  GAINES, WILLIAMS, GABRIEL, GALINDEZ, and JEAN BAPTISTE, Plaintiff Gerstenhaber suffered a
  violation of her constitutional rights under the Fourth Amendment to the United States Constitution, severe
  and permanent injuries, pain and suffering, expenses of hospitalization and medical care in the past and
  future, loss of the ability to enjoy life, and aggravation of a preexisting condition.
                                       FIRST CAUSE OF ACTION
                        42 U.S.C. § 1983 – CIVIL RIGHTS VIOLATION CLAIM
         Violation of the Fourth and Fourteenth Amendments to the United States Constitution
                                             (Against BSO)

            158.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            159.    Plaintiff, Gerstenhaber, seeks relief under the Federal Civil Rights Act, 42 U.S.C. § 1983
  for deprivation of certain constitutional and fundamental rights under the Fourth and Fourteenth
  Amendments by Defendant, BSO, by and through its final policy makers, officers, agents, servants, and/or
  employees, in connection with the unconstitutional use of excessive force.
            160.    At all times material hereto, Defendants BRINKLEY, GABRIEL, AUSTIN-GAINES,
  WILLIAMS, and/or GALINDEZ , were acting under color of state law and pursuant to the official custom,
  course, and policy of the BSO.
            161.    All of the acts described herein deprived Plaintiff Gerstenhaber of rights secured to her by
  the United States Constitution; specifically, the right secured to Gerstenhaber by the Fourth Amendment to
  the United States Constitution, by subjecting her to an unreasonable search and seizure.
            162.    At all times material hereto, Defendant BSO encouraged, permitted, tolerated, and ratified
  a pattern and practice of unjustified, unreasonable and illegal use of force against citizens and detainees by
  officers and deputies in that:


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                   (a)    Defendant BSO failed to prosecute or use discipline in circumstances involving the
                   obvious excessive use of force;

                   (b)      Defendant BSO refused to investigate complaints of previous incidents involving
                   wrongful and excessive use of force and instead, officially claimed that such incidents were
                   justified and proper;

                   (c)    Defendant BSO, by means of both inaction and cover up of such incidents,
                   encouraged officers and deputies employed by it to believe that unwarranted use of force
                   was acceptable to the BSO, and its final policy makers, officers, agents, and/or employees.

          163.     Defendant BSO has maintained no (or an inadequate) system of review for use of force
  incidents; this lack of a system or inadequate system has resulted in a failure to identify instances of
  excessive use of force or to discipline, more closely supervise, or retrain officers and deputies who engaged
  in improper and excessive use of force.
          164.     On information and belief, these systemic deficiencies include but are not limited to:
                   (a)     Preparation of investigative reports that are designed to vindicate the use of force,
                   regardless of whether such use is justified;

                   (b)      Failure to maintain an adequate early warning system;

                   (c)      Preparation of investigative reports which uncritically rely solely on the word of
                   officers and deputies involved in incidents and which systematically fail to credit testimony
                   by non-police officer witnesses and victims;

                   (d)    Preparation of investigative reports which omit factual information and physical
                   evidence that contradicts the accounts of the officers involved;

                   (e)     Issuance of public statements exonerating officers and deputies involved in such
                   incidents prior to conducting a full and fair investigation;

                   (f)    Failure to review investigative reports by responsible superior officers for accuracy
                   or completeness and acceptance of conclusions which are unwarranted by the evidence or
                   which contradict such evidence.

          165.     Defendant BSO also maintains a system of grossly inadequate training pertaining to the law
  of permissible use of force.
          166.     The lack of training in booking and detention scenarios and real life encounters, caused
  Defendants BRINKLEY, GABRIEL, AUSTIN-GAINES, WILLIAMS, and GALINDEZ to not have the
  acumen to understand that no factors existed to allow for the implementation of force.
          167.     The lack of training by BSO to Defendants BRINKLEY, GABRIEL, AUSTIN-GAINES,


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  WILLIAMS, and GALINDEZ was inadequate and caused Defendants to physically assault and pepper spray
  Gerstenhaber, while handcuffed, thereby causing her severe and permanent injuries.
            168.    Defendant BSO, violated Plaintiff, Gerstenhaber’s, Fourth Amendment rights by allowing
  a custom of excessive force against the citizenry for years prior to the subject incident involving
  Gerstenhaber. The commission of excessive force by BSO, by and through its officers and deputies, became
  an unwritten policy of the BSO, through its continued pervasiveness by BSO without any meaningful
  sanctions by the BSO for the use of excessive force.
            169.    Defendants BRINKLEY, GABRIEL, AUSTIN-GAINES, WILLIAMS, and GALINDEZ
  were free to commit excessive force knowing that BSO would not sanction any excessive force they
  committed. Thus, when Defendants without any forethought engaged in physically assaulting and pepper
  spraying Gerstenhaber as a means of punishment for failing to remover the Ring, without any provocation
  or engagement by Gerstenhaber that would place them in imminent harm or in an emergent situation –– they
  would be comfortable in knowing that their job was not at risk and that no sanctions or discipline would
  follow.
            170.    The pervasive nature of excessive force within the BSO caused injury to Plaintiff
  Gerstenhaber at the hands of BSO deputies who had no fear of reprisals from their unconstitutional actions
  thereby resulting in their excessive use of force and punishment of Gerstenhaber.
            171.    The acts, omissions, and systemic deficiencies as described herein are policies, practices,
  and customs of the BSO, which had the result of teaching BSO deputies, including Defendants BRINKLEY,
  GABRIEL, AUSTIN-GAINES, WILLIAMS, and GALINDEZ, that they could use whatever force they felt
  necessary against citizens and detainees, regardless of the law, with impunity.
            172.    Defendant BSO, by and through its final policy makers, officers, agents, servants, and/or
  employees, had a duty to train, supervise, control, and otherwise ensure that the constitutional rights of
  persons such as Plaintiff Gerstenhaber were not violated.
            173.    Defendant BSO, by and through its final policy makers, officers, agents, servants, and/or
  employees, abdicated its policy making and oversight responsibilities, thereby allowing and making
  foreseeable the circumstances to which Gerstenhaber was exposed.
            174.    As a direct and proximate result of the acts, omissions, customs, practices, and policies of
  Defendant BSO, by and through its final policy makers, officers, agents, servants, and/or employees, as set
  forth above, which were the moving force behind the constitutional violations complained of, the Plaintiff,
  Gerstenhaber has been caused to suffer deprivations of her constitutional rights, severe, grievous and


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  permanent injuries, disfigurement, physical and mental pain and suffering, grief, mental anguish, emotional
  distress, loss of capacity for the enjoyment of life, and/or permanent aggravation of a preexisting condition
  and further incurred medical bills and other bills as a result of such injuries; such injuries are either
  permanent or are continuing in nature and the Plaintiff will suffer such losses in the future.
            175.    The acts of the Defendant BSO, as described herein, have forced Plaintiff, Gerstenhaber, to
  retain the undersigned attorneys and to pay them a reasonable fee, which Plaintiff is entitled to recover
  pursuant to 42 U.S.C. § 1988.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant BSO for all
  compensatory damages and punitive damages together with attorneys’ fees and costs pursuant to 42 U.S.C.
  § 1983 and 1988, prejudgment interest, and demands trial by jury of all issues triable as a matter of right, and
  all such other and further relief as this Court deems just and proper.
                                     SECOND CAUSE OF ACTION
                        42 U.S.C. § 1983 – CIVIL RIGHTS VIOLATION CLAIM
                                      EXCESSIVE USE OF FORCE
         Violation of the Fourth and Fourteenth Amendments to the United States Constitution
                            (Against BERNADETTE BRINKLEY, Individually)
            176.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            177.    Plaintiff, Gerstenhaber, seeks relief under the Federal Civil Rights Act, 42 U.S.C. § 1983
  for deprivation of certain constitutional and fundamental rights under the Fourth and Fourteenth
  Amendments by Defendant, BRINKLEY, by subjecting Gerstenhaber to the excessive use of force.
            178.    At all times material hereto, Defendant BRINKLEY, was acting under color of state law and
  pursuant to the official custom, course, and policy of the BSO.
            179.    At all times material hereto, Gerstenhaber maintained the right to be free from the excessive
  use of force, a protected right under the Fourth and Fourteenth Amendments of the United States
  Constitution.
            180.    The actions of the Defendant, BRINKLEY, as stated above, involved the use of excessive
  force, which violated Plaintiff’s Fourth and Fourteenth Amendment Rights, pursuant to the United States
  Constitution.
            181.    Defendant BRINKLEY violated 42 U.S.C. § 1983 by intentionally and unnecessarily
  physically attacking Gerstenhaber without provocation, including holding her down, and beating her until
  she urinated on herself, in a manner that was disproportionate to the force necessary to address
  Gerstenhaber’s hesitancy on removing the Ring and/or to obtain compliance.

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          182.     The use of force at the level used herein was objectively unreasonable under the
  circumstances. More specifically, Plaintiff Gerstenhaber, was unarmed inside a holding cell within the
  Broward County Jail, restrained, and had not taken any action against BRINKLEY or any other BSO deputy
  that would cause BRINKLEY or any other BSO deputy to feel threatened or fear any imminent physical harm
  to justify the use of force as described herein, nor did she commit any offense against the laws of the State
  of Florida for which the use of force as described herein may be lawfully justified.
          183.     Defendant BRINKLEY while acting in her capacity as a law enforcement officer for the BSO
  and under color of law used excessive force to punish Gerstenhaber who was unarmed, restrained, detained
  within a holding cell at the Broward County Jail, and posed no real threat of serious injury or bodily harm
  to Defendant BRINKLEY or any BSO officers.
          184.     All of the acts described herein deprived Gerstenhaber of rights secured to her by the United
  States Constitution; specifically the right secured to Gerstenhaber by the Fourth Amendment to the United
  States Constitution to not being subjected to the excessive use of force.
          185.     As a direct and proximate result of the unconstitutional act of Defendant BRINKLEY,
  Plaintiff, Gerstenhaber suffered deprivations of her constitutional rights, severe, grievous and permanent
  injuries, disfigurement, physical and mental pain and suffering, grief, mental anguish, emotional distress, loss
  of capacity for the enjoyment of life, and/or permanent aggravation of a preexisting condition and further
  incurred medical bills and other bills as a result of such injuries; such injuries are either permanent or are
  continuing in nature and the Plaintiff will suffer such losses in the future.
          186.     The acts of the Defendant BRINKLEY, as described herein, have forced Plaintiff,
  Gerstenhaber, to retain the undersigned attorneys and to pay them a reasonable fee, which Plaintiff is entitled
  to recover pursuant to 42 U.S.C. § 1988.
          WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant BRINKLEY for all
  compensatory damages and punitive damages together with attorneys’ fees and costs pursuant to 42 U.S.C.
  § 1983 and 1988, prejudgment interest, and demands trial by jury of all issues triable as a matter of right, and
  all such other and further relief as this Court deems just and proper.

                                      THIRD CAUSE OF ACTION
                        42 U.S.C. § 1983 – CIVIL RIGHTS VIOLATION CLAIM
                                      EXCESSIVE USE OF FORCE
         Violation of the Fourth and Fourteenth Amendments to the United States Constitution
                            (Against DAWNA AUSTIN-GAINES, Individually)
          187.     Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully


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  herein.
            188.    Plaintiff, Gerstenhaber, seeks relief under the Federal Civil Rights Act, 42 U.S.C. § 1983
  for deprivation of certain constitutional and fundamental rights under the Fourth and Fourteenth
  Amendments by Defendant, AUSTIN-GAINES, by subjecting Gerstenhaber to the excessive use of force.
            189.    At all times material hereto, Defendant AUSTIN-GAINES, was acting under color of state
  law and pursuant to the official custom, course, and policy of the BSO.
            190.    At al times material hereto, Gerstenhaber maintained the right to be free from the excessive
  use of force, a protected right under the Fourth and Fourteenth Amendments of the United States Constitution
            191.    The actions of the Defendant, AUSTIN-GAINES, as stated above, involved the use of
  excessive force, which violated Plaintiff’s Fourth and Fourteenth Amendment Rights, pursuant to the United
  States Constitution.
            192.    Defendant AUSTIN-GAINES violated 42 U.S.C. § 1983 by intentionally and unnecessarily
  pepper spraying and physically attacking Gerstenhaber without provocation, including holding her down,
  and beating her until she urinated on herself, in a manner that was disproportionate to the force necessary
  to address Gerstenhaber’s hesitancy on removing the Ring and/or to obtain compliance.
            193.    The use of force at the level used herein was objectively unreasonable under the
  circumstances. More specifically, Plaintiff Gerstenhaber, was unarmed inside a holding cell within the
  Broward County Jail, restrained, and had not taken any action against AUSTIN-GAINES or any other BSO
  deputy that would cause AUSTIN-GAINES or any other BSO deputy to feel threatened or fear any imminent
  physical harm to justify the use of force as described herein, nor did she commit any offense against the laws
  of the State of Florida for which the use of force as described herein may be lawfully justified.
            194.    Defendant AUSTIN GAINES while acting in her capacity as a law enforcement officer for
  the BSO and under color of law used excessive force to punish Gerstenhaber who was unarmed, restrained,
  detained within a holding cell at the Broward County Jail, and posed no real threat of serious injury or bodily
  harm to Defendant AUSTIN GAINES or any BSO officers.
            195.    All of the acts described herein deprived Gerstenhaber of rights secured to her by the United
  States Constitution; specifically the right secured to Gerstenhaber by the Fourth Amendment to the United
  States Constitution to not be subjected to the excessive use of force.
            196.    As a direct and proximate result of the unconstitutional act of Defendant AUSTIN GAINES,
  Plaintiff, Gerstenhaber suffered deprivations of her constitutional rights, severe, grievous and permanent
  injuries, disfigurement, physical and mental pain and suffering, grief, mental anguish, emotional distress, loss


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  of capacity for the enjoyment of life, and/or permanent aggravation of a preexisting condition and further
  incurred medical bills and other bills as a result of such injuries; such injuries are either permanent or are
  continuing in nature and the Plaintiff will suffer such losses in the future.
            197.    The acts of the Defendant AUSTIN GAINES, as described herein, have forced Plaintiff,
  Gerstenhaber, to retain the undersigned attorneys and to pay them a reasonable fee, which Plaintiff is entitled
  to recover pursuant to 42 U.S.C. § 1988.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant AUSTIN GAINES
  for all compensatory damages and punitive damages together with attorneys’ fees and costs pursuant to 42
  U.S.C. § 1983 and 1988, prejudgment interest, and demands trial by jury of all issues triable as a matter of
  right, and all such other and further relief as this Court deems just and proper.
                                     FOURTH CAUSE OF ACTION
                        42 U.S.C. § 1983 – CIVIL RIGHTS VIOLATION CLAIM
                                      EXCESSIVE USE OF FORCE
         Violation of the Fourth and Fourteenth Amendments to the United States Constitution
                               (Against CAMEO WILLIAMS, Individually)

            198.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            199.    Plaintiff, Gerstenhaber, seeks relief under the Federal Civil Rights Act, 42 U.S.C. § 1983
  for deprivation of certain constitutional and fundamental rights under the Fourth and Fourteenth
  Amendments by Defendant, WILLIAMS, by subjecting Gerstenhaber to the excessive use of force.
            200.    At all times material hereto, Defendant WILLIAMS, was acting under color of state law and
  pursuant to the official custom, course, and policy of the BSO.
            201.    At al times material hereto, Gerstenhaber maintained the right to be free from the excessive
  use of force, a protected right under the Fourth and Fourteenth Amendments of the United States Constitution
            202.    The actions of the Defendant, WILLIAMS, as stated above, involved the use of excessive
  force, which violated Plaintiff’s Fourth and Fourteenth Amendment Rights, pursuant to the United States
  Constitution.
            203.    Defendant WILLIAMS violated 42 U.S.C. § 1983 by intentionally and unnecessarily pepper
  spraying and physically attacking Gerstenhaber without provocation, including holding her down, and
  beating her until she urinated on herself, in a manner that was disproportionate to the force necessary to
  address Gerstenhaber’s hesitancy on removing the Ring and/or to obtain compliance.
            204.    The use of force at the level used herein was objectively unreasonable under the


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  circumstances. More specifically, Plaintiff Gerstenhaber, was unarmed inside a holding cell within the
  Broward County Jail, restrained, and had not taken any action against WILLIAMS or any other BSO deputy
  that would cause WILLIAMS or any other BSO deputy to feel threatened or fear any imminent physical harm
  to justify the use of force as described herein, nor did she commit any offense against the laws of the State
  of Florida for which the use of force as described herein may be lawfully justified.
            205.    Defendant WILLIAMS while acting in her capacity as a law enforcement officer for the BSO
  and under color of law used excessive force to punish Gerstenhaber who was unarmed, restrained, detained
  within a holding cell at the Broward County Jail, and posed no real threat of serious injury or bodily harm
  to Defendant WILLIAMS or any BSO officers.
            206.    All of the acts described herein deprived Gerstenhaber of rights secured to her by the United
  States Constitution; specifically the right secured to Gerstenhaber by the Fourth Amendment to the United
  States Constitution to not being subjected to the excessive use of force.
            207.    As a direct and proximate result of the unconstitutional act of Defendant WILLIAMS,
  Plaintiff, Gerstenhaber suffered deprivations of her constitutional rights, severe, grievous and permanent
  injuries, disfigurement, physical and mental pain and suffering, grief, mental anguish, emotional distress, loss
  of capacity for the enjoyment of life, and/or permanent aggravation of a preexisting condition and further
  incurred medical bills and other bills as a result of such injuries; such injuries are either permanent or are
  continuing in nature and the Plaintiff will suffer such losses in the future.
            208.    The acts of the Defendant WILLIAMS, as described herein, have forced Plaintiff,
  Gerstenhaber, to retain the undersigned attorneys and to pay them a reasonable fee, which Plaintiff is entitled
  to recover pursuant to 42 U.S.C. § 1988.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant WILLIAMS for all
  compensatory damages and punitive damages together with attorneys’ fees and costs pursuant to 42 U.S.C.
  § 1983 and 1988, prejudgment interest, and demands trial by jury of all issues triable as a matter of right, and
  all such other and further relief as this Court deems just and proper.
                                      FIFTH CAUSE OF ACTION
                        42 U.S.C. § 1983 – CIVIL RIGHTS VIOLATION CLAIM
                                      EXCESSIVE USE OF FORCE
         Violation of the Fourth and Fourteenth Amendments to the United States Constitution
                                (Against NEDRA GABRIEL, Individually)
            209.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            210.    Plaintiff, Gerstenhaber, seeks relief under the Federal Civil Rights Act, 42 U.S.C. § 1983

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  for deprivation of certain constitutional and fundamental rights under the Fourth and Fourteenth
  Amendments by Defendant, GABRIEL, by subjecting Gerstenhaber to the excessive use of force.
          211.     At all times material hereto, Defendant GABRIEL, was acting under color of state law and
  pursuant to the official custom, course, and policy of the BSO.
          212.     At al times material hereto, Gerstenhaber maintained the right to be free from the excessive
  use of force, a protected right under the Fourth and Fourteenth Amendments of the United States Constitution
          213.     The actions of the Defendant, GABRIEL, as stated above, involved the use of excessive
  force, which violated Plaintiff’s Fourth and Fourteenth Amendment Rights, pursuant to the United States
  Constitution.
          214.     Defendant GABRIEL violated 42 U.S.C. § 1983 by intentionally and unnecessarily
  physically attacking Gerstenhaber without provocation, including holding her down, and beating her until
  she urinated on herself, in a manner that was disproportionate to the force necessary to address
  Gerstenhaber’s hesitancy on removing the Ring and/or to obtain compliance.
          215.     The use of force at the level used herein was objectively unreasonable under the
  circumstances. More specifically, Plaintiff Gerstenhaber, was unarmed inside a holding cell within the
  Broward County Jail, restrained, and had not taken any action against GABRIEL or any other BSO deputy
  that would cause GABRIEL or any other BSO deputy to feel threatened or fear any imminent physical harm
  to justify the use of force as described herein, nor did she commit any offense against the laws of the State
  of Florida for which the use of force as described herein may be lawfully justified.
          216.     Defendant GABRIEL while acting in her capacity as a law enforcement officer for the BSO
  and under color of law used excessive force to punish Gerstenhaber who was unarmed, restrained, detained
  within a holding cell at the Broward County Jail, and posed no real threat of serious injury or bodily harm
  to Defendant GABRIEL or any BSO officers.
          217.     All of the acts described herein deprived Gerstenhaber of rights secured to her by the United
  States Constitution; specifically the right secured to Gerstenhaber by the Fourth Amendment to the United
  States Constitution to not being subjected to the excessive use of force.
          218.     As a direct and proximate result of the unconstitutional act of Defendant GABRIEL,
  Plaintiff, Gerstenhaber suffered deprivations of her constitutional rights, severe, grievous and permanent
  injuries, disfigurement, physical and mental pain and suffering, grief, mental anguish, emotional distress, loss
  of capacity for the enjoyment of life, and/or permanent aggravation of a preexisting condition and further
  incurred medical bills and other bills as a result of such injuries; such injuries are either permanent or are


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  continuing in nature and the Plaintiff will suffer such losses in the future.
            219.    The acts of the Defendant GABRIEL, as described herein, have forced Plaintiff,
  Gerstenhaber, to retain the undersigned attorneys and to pay them a reasonable fee, which Plaintiff is entitled
  to recover pursuant to 42 U.S.C. § 1988.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant GABRIEL for all
  compensatory damages and punitive damages together with attorneys’ fees and costs pursuant to 42 U.S.C.
  § 1983 and 1988, prejudgment interest, and demands trial by jury of all issues triable as a matter of right, and
  all such other and further relief as this Court deems just and proper.
                                      SIXTH CAUSE OF ACTION
                        42 U.S.C. § 1983 – CIVIL RIGHTS VIOLATION CLAIM
                                      EXCESSIVE USE OF FORCE
         Violation of the Fourth and Fourteenth Amendments to the United States Constitution
                                 (Against LUIS GALINDEZ, Individually)
            220.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            221.    Plaintiff, Gerstenhaber, seeks relief under the Federal Civil Rights Act, 42 U.S.C. § 1983
  for deprivation of certain constitutional and fundamental rights under the Fourth and Fourteenth
  Amendments by Defendant, GALINDEZ, by subjecting Gerstenhaber to the excessive use of force.
            222.    At all times material hereto, Defendant GALINDEZ, was acting under color of state law and
  pursuant to the official custom, course, and policy of the BSO.
            223.    At al times material hereto, Gerstenhaber maintained the right to be free from the excessive
  use of force, a protected right under the Fourth and Fourteenth Amendments of the United States Constitution
            224.    The actions of the Defendant, GALINDEZ, as stated above, involved the use of excessive
  force, which violated Plaintiff’s Fourth and Fourteenth Amendment Rights, pursuant to the United States
  Constitution.
            225.    Defendant GALINDEZ violated 42 U.S.C. § 1983 by intentionally and unnecessarily
  physically attacking Gerstenhaber without provocation, including holding her down, and beating her until
  she urinated on herself, in a manner that was disproportionate to the force necessary to address
  Gerstenhaber’s hesitancy on removing the Ring and/or to obtain compliance.
            226.    The use of force at the level used herein was objectively unreasonable under the
  circumstances. More specifically, Plaintiff Gerstenhaber, was unarmed inside a holding cell within the
  Broward County Jail, restrained, and had not taken any action against GALINDEZ or any other BSO deputy
  that would cause GALINDEZ or any other BSO deputy to feel threatened or fear any imminent physical harm

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  to justify the use of force as described herein, nor did she commit any offense against the laws of the State
  of Florida for which the use of force as described herein may be lawfully justified.
            227.    Defendant GALINDEZ while acting in her capacity as a law enforcement officer for the BSO
  and under color of law used excessive force to punish Gerstenhaber who was unarmed, restrained, detained
  within a holding cell at the Broward County Jail, and posed no real threat of serious injury or bodily harm
  to Defendant GALINDEZ or any BSO officers.
            228.    All of the acts described herein deprived Gerstenhaber of rights secured to her by the United
  States Constitution; specifically the right secured to Gerstenhaber by the Fourth Amendment to the United
  States Constitution to not being subjected to the excessive use of force.
            229.    As a direct and proximate result of the unconstitutional act of Defendant GALINDEZ, the
  Plaintiff, Gerstenhaber suffered deprivations of her constitutional rights, severe, grievous and permanent
  injuries, disfigurement, physical and mental pain and suffering, grief, mental anguish, emotional distress, loss
  of capacity for the enjoyment of life, and/or permanent aggravation of a preexisting condition and further
  incurred medical bills and other bills as a result of such injuries; such injuries are either permanent or are
  continuing in nature and the Plaintiff will suffer such losses in the future.
            230.    The acts of the Defendant GALINDEZ, as described herein, have forced Plaintiff,
  Gerstenhaber, to retain the undersigned attorneys and to pay them a reasonable fee, which Plaintiff is entitled
  to recover pursuant to 42 U.S.C. § 1988.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant GALINDEZ for all
  compensatory damages and punitive damages together with attorneys’ fees and costs pursuant to 42 U.S.C.
  § 1983 and 1988, prejudgment interest, and demands trial by jury of all issues triable as a matter of right, and
  all such other and further relief as this Court deems just and proper.
                                     SEVENTH CAUSE OF ACTION
                        42 U.S.C. § 1983 – CIVIL RIGHTS VIOLATION CLAIM
               UNREASONABLE SEARCH AND SEIZURE / INVASION OF PRIVACY
         Violation of the Fourth and Fourteenth Amendments to the United States Constitution
                            (Against BERNADETTE BRINKLEY, Individually)
            231.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            232.    Plaintiff, Gerstenhaber, seeks relief under the Federal Civil Rights Act, 42 U.S.C. § 1983
  for deprivation of certain constitutional and fundamental rights under the Fourth and Fourteenth
  Amendments by Defendant, BRINKLEY, by subjecting Gerstenhaber to an unreasonable search and seizure
  and invasion of her privacy.

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          232.     At all times material hereto, Defendant BRINKLEY, was acting under color of state law and
  pursuant to the official custom, course, and policy of the BSO.
          233.     At all times material hereto, Gerstenhaber maintained the right to be free from an
  unreasonable search and seizure and the invasion of her privacy, a protected right under the Fourth and
  Fourteenth Amendments of the United States Constitution.
          234.     At all times material hereto, Gerstenhaber also possessed an expectation of privacy in her
  body, a protected right under the Fourth and Fourteenth Amendments of the United States Constitution.
          235.     The actions of the Defendant, BRINKLEY, as stated above, involved a deliberate
  unreasonable strip search of Gerstenhaber, as Brinkley performed the strip search together with a male BSO
  deputy, after Gerstenhaber had only been charged with misdemeanor offenses that were not violent in nature,
  which violated Plaintiff’s Fourth and Fourteenth Amendment Rights, pursuant to the United States
  Constitution.
          236.     Defendant BRINKLEY violated 42 U.S.C. § 1983 by intentionally and unnecessarily
  participating and exacting a strip search on Gerstenhaber together with a male BSO deputy, in a manner that
  violates section 901.211 of the Florida Statutes and BSO policies and procedures for no legitimate
  penological purpose and/or for the purpose of harassing, intimidating, and/or punishing Gerstenhaber.
          237.     The unreasonable search and invasion of Gerstenhaber’s bodily privacy interests was
  objectively unreasonable under the circumstances. More specifically, Plaintiff Gerstenhaber, was unarmed
  inside a holding cell within the Broward County Jail, restrained, and had not taken any action against
  BRINKLEY or any other BSO deputy that would cause BRINKLEY or any other BSO deputy to feel
  threatened or fear any imminent physical harm to justify the need for a male deputy’s participation in a strip
  search of a female individual, especially where three other female deputies were involved in the search and
  two other female deputies were available to assist if necessary.
          238.     Defendant BRINKLEY while acting in her capacity as a law enforcement officer for the BSO
  and under color of law engaged in an unreasonable strip search and invaded Gerstenhaber bodily privacy
  interests by performing an unauthorized deliberate and unreasonable strip search on Gerstenhaber together
  with a male BSO deputy where Gerstenhaber’s breasts and genitalia were exposed to correction officers of
  the opposite sex.
          239.     All of the acts described herein deprived Gerstenhaber of rights secured to her by the United
  States Constitution; specifically the right secured to Gerstenhaber by the Fourth Amendment to the United
  States Constitution to not being subjected to an unreasonable strip search and invasion of privacy and having


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  her breasts and genitalia exposed to male correction officers.
            240.    As a direct and proximate result of the unconstitutional act of Defendant BRINKLEY,
  Plaintiff, Gerstenhaber has been caused to suffer deprivations of her constitutional rights, severe, grievous
  and permanent injuries, disfigurement, physical and mental pain and suffering, grief, mental anguish,
  emotional distress, loss of capacity for the enjoyment of life, and/or permanent aggravation of a preexisting
  condition and further incurred medical bills and other bills as a result of such injuries; such injuries are either
  permanent or are continuing in nature and the Plaintiff will suffer such losses in the future.
            241.    The acts of the Defendant BRINKLEY, as described herein, have forced Plaintiff,
  Gerstenhaber, to retain the undersigned attorneys and to pay them a reasonable fee, which Plaintiff is entitled
  to recover pursuant to 42 U.S.C. § 1988.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant BRINKLEY for all
  compensatory damages and punitive damages together with attorneys’ fees and costs pursuant to 42 U.S.C.
  § 1983 and 1988, prejudgment interest, and demands trial by jury of all issues triable as a matter of right, and
  all such other and further relief as this Court deems just and proper.

                                     EIGHTH CAUSE OF ACTION
                        42 U.S.C. § 1983 – CIVIL RIGHTS VIOLATION CLAIM
               UNREASONABLE SEARCH AND SEIZURE / INVASION OF PRIVACY
         Violation of the Fourth and Fourteenth Amendments to the United States Constitution
                            (Against DAWNA AUSTIN GAINES, Individually)
            242.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            243.    Plaintiff, Gerstenhaber, seeks relief under the Federal Civil Rights Act, 42 U.S.C. § 1983
  for deprivation of certain constitutional and fundamental rights under the Fourth and Fourteenth
  Amendments by Defendant, AUSTIN-GAINES, by subjecting Gerstenhaber to an unreasonable search and
  seizure and invasion of her privacy.
            244.    At all times material hereto, Defendant AUSTIN-GAINES, was acting under color of state
  law and pursuant to the official custom, course, and policy of the BSO.
            245.    At all times material hereto, Gerstenhaber maintained the right to be free from an
  unreasonable search and seizure and the invasion of her privacy, a protected right under the Fourth and
  Fourteenth Amendments of the United States Constitution.
            246.    At all times material hereto, Gerstenhaber also possessed an expectation of privacy in her
  body, a protected right under the Fourth and Fourteenth Amendments of the United States Constitution.


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          247.     The actions of the Defendant, AUSTIN-GAINES, as stated above, involved a deliberate
  unreasonable strip search of Gerstenhaber, as AUSTIN-GAINES performed the strip search together with
  a male BSO deputy after Gerstenhaber had only been charged with misdemeanor offenses that were not
  violent in nature, which violated Plaintiff’s Fourth and Fourteenth Amendment Rights, pursuant to the United
  States Constitution.
          248.     Defendant AUSTIN-GAINES violated 42 U.S.C. § 1983 by intentionally and unnecessarily
  participating and exacting a strip search on Gerstenhaber together with a male BSO deputy, in a manner that
  violates section 901.211 of the Florida Statutes and BSO policies and procedures for no legitimate
  penological purpose and/or for the purpose of harassing, intimidating, and/or punishing Gerstenhaber.
          249.     The unreasonable search and invasion of Gerstenhaber’s bodily privacy interests was
  objectively unreasonable under the circumstances. More specifically, Plaintiff Gerstenhaber, was unarmed
  inside a holding cell within the Broward County Jail, restrained, and had not taken any action against
  AUSTIN-GAINES or any other BSO deputy that would cause AUSTIN-GAINES or any other BSO deputy
  to feel threatened or fear any imminent physical harm to justify the need for a male deputy’s participation
  in a strip search of a female individual, especially where three other female deputies were involved in the
  search and two other female deputies were available to assist if necessary.
          250.     Defendant AUSTIN-GAINES while acting in her capacity as a law enforcement officer for
  the BSO and under color of law engaged in an unreasonable strip search and invaded Gerstenhaber bodily
  privacy interests by performing an unauthorized deliberate and unreasonable strip search on Gerstenhaber
  together with a male BSO deputy where Gerstenhaber’s breasts and genitalia were exposed to correction
  officers of the opposite sex.
          251.     All of the acts described herein deprived Gerstenhaber of rights secured to her by the United
  States Constitution; specifically the right secured to Gerstenhaber by the Fourth Amendment to the United
  States Constitution to not being subjected to an unreasonable strip search and invasion of privacy and having
  her breasts and genitalia exposed to a male corrections officer.
          252.     As a direct and proximate result of the unconstitutional act of Defendant AUSTIN-GAINES,
  Plaintiff, Gerstenhaber has been caused to suffer deprivations of her constitutional rights, severe, grievous
  and permanent injuries, disfigurement, physical and mental pain and suffering, grief, mental anguish,
  emotional distress, loss of capacity for the enjoyment of life, and/or permanent aggravation of a preexisting
  condition and further incurred medical bills and other bills as a result of such injuries; such injuries are either
  permanent or are continuing in nature and the Plaintiff will suffer such losses in the future.


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            253.    The acts of the Defendant AUSTIN-GAINES, as described herein, have forced Plaintiff,
  Gerstenhaber, to retain the undersigned attorneys and to pay them a reasonable fee, which Plaintiff is entitled
  to recover pursuant to 42 U.S.C. § 1988.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant AUSTIN-GAINES
  for all compensatory damages and punitive damages together with attorneys’ fees and costs pursuant to 42
  U.S.C. § 1983 and 1988, prejudgment interest, and demands trial by jury of all issues triable as a matter of
  right, and all such other and further relief as this Court deems just and proper.
                                         NINTH CAUSE OF ACTION
                         42 U.S.C. § 1983 – CIVIL RIGHTS VIOLATION CLAIM
                UNREASONABLE SEARCH AND SEIZURE / INVASION OF PRIVACY
          Violation of the Fourth and Fourteenth Amendments to the United States Constitution
                                 (Against CAMEO WILLIAMS, Individually)
            254.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            255.    Plaintiff, Gerstenhaber, seeks relief under the Federal Civil Rights Act, 42 U.S.C. § 1983
  for deprivation of certain constitutional and fundamental rights under the Fourth and Fourteenth
  Amendments by Defendant, WILLIAMS, by subjecting Gerstenhaber to an unreasonable search and seizure
  and invasion of her privacy.
            256.    At all times material hereto, Defendant WILLIAMS, was acting under color of state law and
  pursuant to the official custom, course, and policy of the BSO.
            257.    At all times material hereto, Gerstenhaber maintained the right to be free from an
  unreasonable search and seizure and the invasion of her privacy, a protected right under the Fourth and
  Fourteenth Amendments of the United States Constitution.
            258.    At all times material hereto, Gerstenhaber also possessed an expectation of privacy in her
  body, a protected right under the Fourth and Fourteenth Amendments of the United States Constitution.
            259.    The actions of the Defendant, WILLIAMS, as stated above, involved a deliberate
  unreasonable strip search of Gerstenhaber, as WILLIAMS performed the strip search together with a male
  BSO deputy, after Gerstenhaber had only been charged with misdemeanor offenses that were not violent in
  nature, which violated Plaintiff’s Fourth and Fourteenth Amendment Rights, pursuant to the United States
  Constitution.
            260.    Defendant WILLIAMS violated 42 U.S.C. § 1983 by intentionally and unnecessarily
  participating and exacting a strip search on Gerstenhaber together with a male BSO deputy, in a manner that
  violates section 901.211 of the Florida Statutes and BSO policies and procedures for no legitimate


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  penological purpose and/or for the purpose of harassing, intimidating, and/or punishing Gerstenhaber.
          261.     The unreasonable search and invasion of Gerstenhaber’s bodily privacy interests was
  objectively unreasonable under the circumstances. More specifically, Plaintiff Gerstenhaber, was unarmed
  inside a holding cell within the Broward County Jail, restrained, and had not taken any action against
  WILLIAMS or any other BSO deputy that would cause WILLIAMS or any other BSO deputy to feel
  threatened or fear any imminent physical harm to justify the need for a male deputy’s participation in a strip
  search of a female individual, especially where three other female deputies were involved in the search and
  two other female deputies were available to assist if necessary.
          262.     Defendant WILLIAMS while acting in her capacity as a law enforcement officer for the BSO
  and under color of law engaged in an unreasonable strip search and invaded Gerstenhaber bodily privacy
  interests by performing an unauthorized deliberate and unreasonable strip search on Gerstenhaber together
  with a male BSO deputy, where Gerstenhaber’s breasts and genitalia were exposed to correction officers of
  the opposite sex.
          263.     All of the acts described herein deprived Gerstenhaber of rights secured to her by the United
  States Constitution; specifically the right secured to Gerstenhaber by the Fourth Amendment to the United
  States Constitution to not being subjected to an unreasonable strip search and invasion of privacy by having
  her breasts and genitalia exposed to male correction officers.
          264.     As a direct and proximate result of the unconstitutional act of Defendant WILLIAMS,
  Plaintiff, Gerstenhaber has been caused to suffer deprivations of her constitutional rights, severe, grievous
  and permanent injuries, disfigurement, physical and mental pain and suffering, grief, mental anguish,
  emotional distress, loss of capacity for the enjoyment of life, and/or permanent aggravation of a preexisting
  condition and further incurred medical bills and other bills as a result of such injuries; such injuries are either
  permanent or are continuing in nature and the Plaintiff will suffer such losses in the future.
          265.     The acts of the Defendant WILLIAMS, as described herein, have forced Plaintiff,
  Gerstenhaber, to retain the undersigned attorneys and to pay them a reasonable fee, which Plaintiff is entitled
  to recover pursuant to 42 U.S.C. § 1988.
          WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant WILLIAMS for all
  compensatory damages and punitive damages together with attorneys’ fees and costs pursuant to 42 U.S.C.
  § 1983 and 1988, prejudgment interest, and demands trial by jury of all issues triable as a matter of right, and
  all such other and further relief as this Court deems just and proper.




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                                     TENTH CAUSE OF ACTION
                       42 U.S.C. § 1983 – CIVIL RIGHTS VIOLATION CLAIM
              UNREASONABLE SEARCH AND SEIZURE / INVASION OF PRIVACY
        Violation of the Fourth and Fourteenth Amendments to the United States Constitution
                               (Against NEDRA GABRIEL, Individually)
            266.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            267.    Plaintiff, Gerstenhaber, seeks relief under the Federal Civil Rights Act, 42 U.S.C. § 1983
  for deprivation of certain constitutional and fundamental rights under the Fourth and Fourteenth
  Amendments by Defendant, GABRIEL, by subjecting Gerstenhaber to an unreasonable search and seizure
  and invasion of her privacy.
            268.    At all times material hereto, Defendant GABRIEL, was acting under color of state law and
  pursuant to the official custom, course, and policy of the BSO.
            269.    At all times material hereto, Gerstenhaber maintained the right to be free from an
  unreasonable search and seizure and the invasion of her privacy, a protected right under the Fourth and
  Fourteenth Amendments of the United States Constitution.
            270.    At all times material hereto, Gerstenhaber also possessed an expectation of privacy in her
  body, a protected right under the Fourth and Fourteenth Amendments of the United States Constitution.
            271.    The actions of the Defendant, GABRIEL, as stated above, involved a deliberate unreasonable
  strip search of Gerstenhaber as GABRIEL performed the strip search together with a male BSO deputy, after
  Gerstenhaber had only been charged with misdemeanor offenses that were not violent in nature, which
  violated Plaintiff’s Fourth and Fourteenth Amendment Rights, pursuant to the United States Constitution.
            272.    Defendant GABRIEL violated 42 U.S.C. § 1983 by intentionally and unnecessarily
  participating and exacting a strip search on Gerstenhaber together with a male BSO deputy, in a manner that
  violates section 901.211 of the Florida Statutes and BSO policies and procedures for no legitimate
  penological purpose and/or for the purpose of harassing, intimidating, and/or punishing Gerstenhaber.
            273.    The unreasonable search and invasion of Gerstenhaber’s bodily privacy interests was
  objectively unreasonable under the circumstances. More specifically, Plaintiff Gerstenhaber, was unarmed
  inside a holding cell within the Broward County Jail, restrained, and had not taken any action against
  GABRIEL or any other BSO deputy that would cause GABRIEL or any other BSO deputy to feel threatened
  or fear any imminent physical harm to justify the need for a male deputy’s participation in a strip search of
  a female individual, especially where three other female deputies were involved in the search and two other
  female deputies were available to assist if necessary.

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            274.    Defendant GABRIEL while acting in her capacity as a law enforcement officer for the BSO
  and under color of law engaged in an unreasonable strip search and invaded Gerstenhaber bodily privacy
  interests by performing an unauthorized deliberate and unreasonable strip search on Gerstenhaber together
  with a male BSO deputy where Gerstenhaber’s breasts and genitalia were exposed to correction officers of
  the opposite sex.
            275.    All of the acts described herein deprived Gerstenhaber of rights secured to her by the United
  States Constitution; specifically the right secured to Gerstenhaber by the Fourth Amendment to the United
  States Constitution to not being subjected to an unreasonable strip search and invasion of privacy and having
  her breasts and genitalia exposed to male correction officers.
            276.    As a direct and proximate result of the unconstitutional act of Defendant GABRIEL,
  Plaintiff, Gerstenhaber has been caused to suffer deprivations of her constitutional rights, severe, grievous
  and permanent injuries, disfigurement, physical and mental pain and suffering, grief, mental anguish,
  emotional distress, loss of capacity for the enjoyment of life, and/or permanent aggravation of a preexisting
  condition and further incurred medical bills and other bills as a result of such injuries; such injuries are either
  permanent or are continuing in nature and the Plaintiff will suffer such losses in the future.
            277.    The acts of the Defendant GABRIEL, as described herein, have forced Plaintiff,
  Gerstenhaber, to retain the undersigned attorneys and to pay them a reasonable fee, which Plaintiff is entitled
  to recover pursuant to 42 U.S.C. § 1988.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant GABRIEL for all
  compensatory damages and punitive damages together with attorneys’ fees and costs pursuant to 42 U.S.C.
  § 1983 and 1988, prejudgment interest, and demands trial by jury of all issues triable as a matter of right, and
  all such other and further relief as this Court deems just and proper.
                                    ELEVENTH CAUSE OF ACTION
                        42 U.S.C. § 1983 – CIVIL RIGHTS VIOLATION CLAIM
               UNREASONABLE SEARCH AND SEIZURE / INVASION OF PRIVACY
         Violation of the Fourth and Fourteenth Amendments to the United States Constitution
                                 (Against LUIS GALINDEZ, Individually)
            278.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            279.    Plaintiff, Gerstenhaber, seeks relief under the Federal Civil Rights Act, 42 U.S.C. § 1983
  for deprivation of certain constitutional and fundamental rights under the Fourth and Fourteenth
  Amendments by Defendant, GALINDEZ, by subjecting Gerstenhaber to an unreasonable search and seizure
  and invasion of her privacy.

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          280.     At all times material hereto, Defendant GALINDEZ, was acting under color of state law and
  pursuant to the official custom, course, and policy of the BSO.
          281.     At all times material hereto, Gerstenhaber maintained the right to be free from an
  unreasonable search and seizure and the invasion of her privacy, a protected right under the Fourth and
  Fourteenth Amendments of the United States Constitution.
          282.     At all times material hereto, Gerstenhaber also possessed an expectation of privacy in her
  body, a protected right under the Fourth and Fourteenth Amendments of the United States Constitution.
          283.     The actions of the Defendant, GALINDEZ, as stated above, involved a deliberate
  unreasonable strip search of Gerstenhaber, after Gerstenhaber had only been charged with misdemeanor
  offenses that were not violent in nature, which violated Plaintiff’s Fourth and Fourteenth Amendment Rights,
  pursuant to the United States Constitution.
          284.     Defendant GALINDEZ violated 42 U.S.C. § 1983 by intentionally and unnecessarily
  participating, exacting, and observing a strip search on Gerstenhaber, a female, despite being a male BSO
  deputy, in a manner that violates section 901.211 of the Florida Statutes and BSO policies and procedures
  for no legitimate penological purpose and/or for the purpose of harassing, intimidating, and/or punishing
  Gerstenhaber.
          285.     The unreasonable search and invasion of Gerstenhaber’s bodily privacy interests was
  objectively unreasonable under the circumstances. More specifically, Plaintiff Gerstenhaber, was unarmed
  inside a holding cell within the Broward County Jail, restrained, and had not taken any action against
  GALINDEZ or any other BSO deputy that would cause GALINDEZ or any other BSO deputy to feel
  threatened or fear any imminent physical harm to justify the need for a male deputy’s participation in a strip
  search of a female individual, especially where three other female deputies were involved in the search and
  two other female deputies were available to assist if necessary.
          286.     Defendant GALINDEZ while acting in his capacity as a law enforcement officer for the BSO
  and under color of law engaged in an unreasonable strip search and invaded Gerstenhaber bodily privacy
  interests by performing an unauthorized deliberate and unreasonable strip search on Gerstenhaber, a female,
  despite being a male BSO deputy, where Gerstenhaber was required to expose her breasts and genitalia to
  a male corrections officer.
          287.     All of the acts described herein deprived Gerstenhaber of rights secured to her by the United
  States Constitution; specifically the right secured to Gerstenhaber by the Fourth Amendment to the United
  States Constitution to not being subjected to an unreasonable strip search and invasion of privacy and having


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  her breasts and genitalia exposed to male correction officers.
            288.    As a direct and proximate result of the unconstitutional act of Defendant GALINDEZ,
  Plaintiff, Gerstenhaber has been caused to suffer deprivations of her constitutional rights, severe, grievous
  and permanent injuries, disfigurement, physical and mental pain and suffering, grief, mental anguish,
  emotional distress, loss of capacity for the enjoyment of life, and/or permanent aggravation of a preexisting
  condition and further incurred medical bills and other bills as a result of such injuries; such injuries are either
  permanent or are continuing in nature and the Plaintiff will suffer such losses in the future.
            289.    The acts of the Defendant GALINDEZ, as described herein, have forced Plaintiff,
  Gerstenhaber, to retain the undersigned attorneys and to pay them a reasonable fee, which Plaintiff is entitled
  to recover pursuant to 42 U.S.C. § 1988.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant GALINDEZ for all
  compensatory damages and punitive damages together with attorneys’ fees and costs pursuant to 42 U.S.C.
  § 1983 and 1988, prejudgment interest, and demands trial by jury of all issues triable as a matter of right, and
  all such other and further relief as this Court deems just and proper.
                                    TWELFTH CAUSE OF ACTION
                        42 U.S.C. § 1983 – CIVIL RIGHTS VIOLATION CLAIM
               UNREASONABLE SEARCH AND SEIZURE / INVASION OF PRIVACY
         Violation of the Fourth and Fourteenth Amendments to the United States Constitution
                           (Against DAPHNYS JEAN BAPTISTE, Individually)
            290.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            291.    Plaintiff, Gerstenhaber, seeks relief under the Federal Civil Rights Act, 42 U.S.C. § 1983
  for deprivation of certain constitutional and fundamental rights under the Fourth and Fourteenth
  Amendments by Defendant, JEAN BAPTISTE, by subjecting Gerstenhaber to an unreasonable search and
  seizure and invasion of her privacy.
            292.    At all times material hereto, Defendant JEAN BAPTISTE, was acting under color of state
  law and pursuant to the official custom, course, and policy of the BSO.
            293.    At all times material hereto, Gerstenhaber maintained the right to be free from an
  unreasonable search and seizure and the invasion of her privacy, a protected right under the Fourth and
  Fourteenth Amendments of the United States Constitution.
            294.    At all times material hereto, Gerstenhaber also possessed an expectation of privacy in her
  body, a protected right under the Fourth and Fourteenth Amendments of the United States Constitution.
            295.    The actions of the Defendant, JEAN BAPTISTE, as stated above, involved a deliberate

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  unreasonable strip search of Gerstenhaber and/or the observation of an unreasonable strip search of
  Gerstenhaber, after Gerstenhaber had only been charged with misdemeanor offenses that were not violent
  in nature, which violated Plaintiff’s Fourth and Fourteenth Amendment Rights, pursuant to the United States
  Constitution.
          296.     Defendant JEAN BAPTISTE violated 42 U.S.C. § 1983 by intentionally and unnecessarily
  participating, exacting, and observing a strip search on Gerstenhaber, a female, despite being a male BSO
  deputy, in a manner that violates section 901.211 of the Florida Statutes and BSO policies and procedures
  for no legitimate penological purpose and/or for the purpose of harassing, intimidating, and/or punishing
  Gerstenhaber.
          297.     The unreasonable search and invasion of Gerstenhaber’s bodily privacy interests was
  objectively unreasonable under the circumstances. More specifically, Plaintiff Gerstenhaber, was unarmed
  inside a holding cell within the Broward County Jail, restrained, and had not taken any action against JEAN
  BAPTISTE or any other BSO deputy that would cause JEAN BAPTISTE or any other BSO deputy to feel
  threatened or fear any imminent physical harm to justify the need for a male deputy’s participation in a strip
  search of a female individual, especially where three other female deputies were involved in the search and
  two other female deputies were available to assist if necessary.
          298.     Defendant JEAN BAPTISTE while acting in his capacity as a law enforcement officer for
  the BSO and under color of law engaged in and observed an unreasonable strip search and invaded
  Gerstenhaber’s bodily privacy interests by performing and observing an unauthorized deliberate and
  unreasonable strip search on Gerstenhaber, a female, despite being a male BSO deputy where Gerstenhaber
  was required to expose her breasts and genitalia to a male corrections officer.
          299.     All of the acts described herein deprived Gerstenhaber of rights secured to her by the United
  States Constitution; specifically the right secured to Gerstenhaber by the Fourth Amendment to the United
  States Constitution to not being subjected to an unreasonable strip search and invasion of privacy and having
  her breasts and genitalia exposed to male correction officers.
          300.     As a direct and proximate result of the unconstitutional act of Defendant JEAN BAPTISTE,
  Plaintiff, Gerstenhaber has been caused to suffer deprivations of her constitutional rights, severe, grievous
  and permanent injuries, disfigurement, physical and mental pain and suffering, grief, mental anguish,
  emotional distress, loss of capacity for the enjoyment of life, and/or permanent aggravation of a preexisting
  condition and further incurred medical bills and other bills as a result of such injuries; such injuries are either
  permanent or are continuing in nature and the Plaintiff will suffer such losses in the future.


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          301.     The acts of the Defendant JEAN BAPTISTE, as described herein, have forced Plaintiff,
  Gerstenhaber, to retain the undersigned attorneys and to pay them a reasonable fee, which Plaintiff is entitled
  to recover pursuant to 42 U.S.C. § 1988.
          WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant JEAN BAPTISTE
  for all compensatory damages and punitive damages together with attorneys’ fees and costs pursuant to 42
  U.S.C. § 1983 and 1988, prejudgment interest, and demands trial by jury of all issues triable as a matter of
  right, and all such other and further relief as this Court deems just and proper.
                                  THIRTEENTH CAUSE OF ACTION
                        42 U.S.C. § 1983 – CIVIL RIGHTS VIOLATION CLAIM
                                       FAILURE TO INTERVENE
         Violation of the Fourth and Fourteenth Amendments to the United States Constitution
                            (Against BERNADETTE BRINKLEY, Individually)
          302.     Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 and 176 through
  301 as if set forth fully herein.
          303.     Plaintiff, Gerstenhaber, seeks relief under the Federal Civil Rights Act, 42 U.S.C. § 1983
  for deprivation of certain constitutional and fundamental rights under the Fourth and Fourteenth
  Amendments by Defendant, BRINKLEY, by failing to intervene to prevent Defendants GABRIEL, AUSTIN-
  GAINES, WILLIAMS, GALINDEZ and/or JEAN BAPTISTE from violating the constitutional rights of
  Gerstenhaber.
          304.     Law enforcement officers have an affirmative duty to intervene when the officer is aware
  of constitutional violations in their presence and must take reasonable steps to protect the victim of another
  officer’s use of excessive force, unreasonable search and seizure, and/or invasion of privacy.
          305.     Defendant BRINKLEY failed to prevent excessive force from being committed against
  Gerstenhaber when she had reasonable opportunity to do so; Defendant BRINKLEY’s failure to intervene
  is a violation of the Fourth Amendment and as such is actionable under 42 U.S.C. § 1983.
          306.     Defendant BRINKLEY failed to prevent an unauthorized and unreasonable strip search from
  being committed against Gerstenhaber when she had reasonable opportunity to do so; Defendant
  BRINKLEY’s failure to intervene is a violation of the Fourth Amendment and as such is actionable under
  42 U.S.C. § 1983.
          307.     Defendant BRINKLEY failed to prevent an unreasonable search by a male BSO deputy
  from being committed against Gerstenhaber in violation of §901.211 and BSO policies and procedures when
  she had reasonable opportunity to do so; Defendant BRINKLEY’s failure to intervene is a violation of the
  Fourth Amendment and as such is actionable under 42 U.S.C. § 1983.

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          308.     At all times material hereto, Defendant BRINKLEY, was acting under color of state law and
  pursuant to the official custom, course, and policy of the BSO.
          309.     At all times material hereto, Gerstenhaber maintained the right to be free from the excessive
  use of force, from an unreasonable search and seizure, and the invasion of her privacy, all protected rights
  under the Fourth and Fourteenth Amendments of the United States Constitution.
          310.     As a direct and proximate result of the unconstitutional act of Defendant BRINKLEY,
  Plaintiff, Gerstenhaber has been caused to suffer deprivations of her constitutional rights, severe, grievous
  and permanent injuries, disfigurement, physical and mental pain and suffering, grief, mental anguish,
  emotional distress, loss of capacity for the enjoyment of life, and/or permanent aggravation of a preexisting
  condition and further incurred medical bills and other bills as a result of such injuries; such injuries are either
  permanent or are continuing in nature and the Plaintiff will suffer such losses in the future.
          311.     The failure to intervene by Defendant BRINKLEY has forced Plaintiff, Gerstenhaber, to
  retain the undersigned attorneys and to pay them a reasonable fee, which Plaintiff is entitled to recover
  pursuant to 42 U.S.C. § 1988.
          WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant BRINKLEY for all
  compensatory damages and punitive damages together with attorneys’ fees and costs pursuant to 42 U.S.C.
  § 1983 and 1988, prejudgment interest, and demands trial by jury of all issues triable as a matter of right, and
  all such other and further relief as this Court deems just and proper.
                                  FOURTEENTH CAUSE OF ACTION
                        42 U.S.C. § 1983 – CIVIL RIGHTS VIOLATION CLAIM
                                       FAILURE TO INTERVENE
         Violation of the Fourth and Fourteenth Amendments to the United States Constitution
                            (Against DAWNA AUSTIN-GAINES, Individually)
          312.     Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 and 176 through
  301 as if set forth fully herein.
          313.     Plaintiff, Gerstenhaber, seeks relief under the Federal Civil Rights Act, 42 U.S.C. § 1983
  for deprivation of certain constitutional and fundamental rights under the Fourth and Fourteenth
  Amendments by Defendant, AUSTIN-GAINES, by failing to intervene to prevent Defendants BRINKLEY,
  GABRIEL, WILLIAMS, GALINDEZ and/or JEAN BAPTISTE from violating the constitutional rights of
  Gerstenhaber.
          314.     Law enforcement officers have an affirmative duty to intervene when the officer is aware
  of constitutional violations in their presence and must take reasonable steps to protect the victim of another
  officer’s use of excessive force, unreasonable search and seizure, and/or invasion of privacy.

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          315.     Defendant AUSTIN-GAINES failed to prevent excessive force from being committed against
  Gerstenhaber when she had reasonable opportunity to do so; Defendant AUSTIN-GAINES’ failure to
  intervene is a violation of the Fourth Amendment and as such is actionable under 42 U.S.C. § 1983.
          316.     Defendant AUSTIN-GAINES failed to prevent an unauthorized and unreasonable strip
  search from being committed against Gerstenhaber when she had reasonable opportunity to do so; Defendant
  AUSTIN-GAINES’ failure to intervene is a violation of the Fourth Amendment and as such is actionable
  under 42 U.S.C. § 1983.
          317.     Defendant AUSTIN-GAINES failed to prevent an unreasonable strip search by a male BSO
  deputy from being committed against Gerstenhaber in violation of §901.211 and BSO policies and
  procedures when she had reasonable opportunity to do so; Defendant AUSTIN-GAINES’ failure to intervene
  is a violation of the Fourth Amendment and as such is actionable under 42 U.S.C. § 1983.
          318.     At all times material hereto, Defendant AUSTIN-GAINES, was acting under color of state
  law and pursuant to the official custom, course, and policy of the BSO.
          319.     At all times material hereto, Gerstenhaber maintained the right to be free from the excessive
  use of force, from an unreasonable search and seizure, and the invasion of her privacy, all protected rights
  under the Fourth and Fourteenth Amendments of the United States Constitution.
          320.     As a direct and proximate result of Defendant AUSTIN-GAINES’ failure to intervene,
  Plaintiff, Gerstenhaber has been caused to suffer deprivations of her constitutional rights, severe, grievous
  and permanent injuries, disfigurement, physical and mental pain and suffering, grief, mental anguish,
  emotional distress, loss of capacity for the enjoyment of life, and/or permanent aggravation of a preexisting
  condition and further incurred medical bills and other bills as a result of such injuries; such injuries are either
  permanent or are continuing in nature and the Plaintiff will suffer such losses in the future.
          321.     The failure to intervene by Defendant AUSTIN-GAINES has forced Plaintiff, Gerstenhaber,
  to retain the undersigned attorneys and to pay them a reasonable fee, which Plaintiff is entitled to recover
  pursuant to 42 U.S.C. § 1988.
          WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant AUSTIN-GAINES
  for all compensatory damages and punitive damages together with attorneys’ fees and costs pursuant to 42
  U.S.C. § 1983 and 1988, prejudgment interest, and demands trial by jury of all issues triable as a matter of
  right, and all such other and further relief as this Court deems just and proper.




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                                    FIFTEENTH CAUSE OF ACTION
                        42 U.S.C. § 1983 – CIVIL RIGHTS VIOLATION CLAIM
                                       FAILURE TO INTERVENE
         Violation of the Fourth and Fourteenth Amendments to the United States Constitution
                               (Against CAMEO WILLIAMS, Individually)
          322.     Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 and 176 through
  301 as if set forth fully herein.
          323.     Plaintiff, Gerstenhaber, seeks relief under the Federal Civil Rights Act, 42 U.S.C. § 1983
  for deprivation of certain constitutional and fundamental rights under the Fourth and Fourteenth
  Amendments by Defendant, WILLIAMS, by failing to intervene to prevent Defendants BRINKLEY,
  AUSTIN-GAINES, GABRIEL, GALINDEZ and/or JEAN BAPTISTE from violating the constitutional rights
  of Gerstenhaber.
          324.     Law enforcement officers have an affirmative duty to intervene when the officer is aware
  of constitutional violations in their presence and must take reasonable steps to protect the victim of another
  officer’s use of excessive force, unreasonable search and seizure, and/or invasion of privacy.
          325.     Defendant WILLIAMS failed to prevent excessive force from being committed against
  Gerstenhaber when she had reasonable opportunity to do so; Defendant WILLIAMS’ failure to intervene is
  a violation of the Fourth Amendment and as such is actionable under 42 U.S.C. § 1983.
          326.     Defendant WILLIAMS failed to prevent an unauthorized and unreasonable strip search from
  being committed against Gerstenhaber when she had reasonable opportunity to do so; Defendant
  BRINKLEY’s failure to intervene is a violation of the Fourth Amendment and as such is actionable under
  42 U.S.C. § 1983.
          327.     Defendant WILLIAMS failed to prevent an unreasonable strip search by a male BSO deputy
  from being committed against Gerstenhaber in violation of §901.211 and BSO policies and procedures when
  she had reasonable opportunity to do so; Defendant AUSTIN-GAINES’ failure to intervene is a violation of
  the Fourth Amendment and as such is actionable under 42 U.S.C. § 1983.
          328.     At all times material hereto, Defendant WILLIAMS, was acting under color of state law and
  pursuant to the official custom, course, and policy of the BSO.
          329.     At all times material hereto, Gerstenhaber maintained the right to be free from the excessive
  use of force, from an unreasonable search and seizure, and the invasion of her privacy, all protected rights
  under the Fourth and Fourteenth Amendments of the United States Constitution.
          330.     As a direct and proximate result of Defendant WILLIAMS’ failure to intervene, Plaintiff,
  Gerstenhaber has been caused to suffer deprivations of her constitutional rights, severe, grievous and

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  permanent injuries, disfigurement, physical and mental pain and suffering, grief, mental anguish, emotional
  distress, loss of capacity for the enjoyment of life, and/or permanent aggravation of a preexisting condition
  and further incurred medical bills and other bills as a result of such injuries; such injuries are either
  permanent or are continuing in nature and the Plaintiff will suffer such losses in the future.
          331.     The failure to intervene by Defendant WILLIAMS has forced Plaintiff, Gerstenhaber, to
  retain the undersigned attorneys and to pay them a reasonable fee, which Plaintiff is entitled to recover
  pursuant to 42 U.S.C. § 1988.
          WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant WILLIAMS for all
  compensatory damages and punitive damages together with attorneys’ fees and costs pursuant to 42 U.S.C.
  § 1983 and 1988, prejudgment interest, and demands trial by jury of all issues triable as a matter of right, and
  all such other and further relief as this Court deems just and proper.
                                      SIXTEENTH CAUSE OF ACTION
                         42 U.S.C. § 1983 – CIVIL RIGHTS VIOLATION CLAIM
                                          FAILURE TO INTERVENE
         Violation of the Fourth and Fourteenth Amendments to the United States Constitution
                                   (Against NEDRA GABRIEL, Individually)
          332.     Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 and 176 through
  301 as if set forth fully herein.
          333.     Plaintiff, Gerstenhaber, seeks relief under the Federal Civil Rights Act, 42 U.S.C. § 1983
  for deprivation of certain constitutional and fundamental rights under the Fourth and Fourteenth
  Amendments by Defendant, GABRIEL, by failing to intervene to prevent Defendants BRINKLEY, AUSTIN-
  GAINES, WILLIAMS, GALINDEZ and/or JEAN BAPTISTE from violating the constitutional rights of
  Gerstenhaber.
          334.     Law enforcement officers have an affirmative duty to intervene when the officer is aware
  of constitutional violations in their presence and must take reasonable steps to protect the victim of another
  officer’s use of excessive force, unreasonable search and seizure, and/or invasion of privacy.
          335.     Defendant GABRIEL failed to prevent excessive force from being committed against
  Gerstenhaber when she had reasonable opportunity to do so; Defendant GABRIEL’S failure to intervene is
  a violation of the Fourth Amendment and as such is actionable under 42 U.S.C. § 1983.
          336.     Defendant GABRIEL failed to prevent an unauthorized and unreasonable strip search from
  being committed against Gerstenhaber when she had reasonable opportunity to do so; Defendant GABRIEL’s
  failure to intervene is a violation of the Fourth Amendment and as such is actionable under 42 U.S.C. § 1983.
          337.     Defendant GABRIEL failed to prevent an unreasonable strip search by a male BSO deputy


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  from being committed against Gerstenhaber in violation of §901.211 and BSO policies and procedures when
  she had reasonable opportunity to do so; Defendant GABRIEL’S failure to intervene is a violation of the
  Fourth Amendment and as such is actionable under 42 U.S.C. § 1983.
          338.     At all times material hereto, Defendant GABRIEL, was acting under color of state law and
  pursuant to the official custom, course, and policy of the BSO.
          339.     At all times material hereto, Gerstenhaber maintained the right to be free from the excessive
  use of force, from an unreasonable search and seizure, and the invasion of her privacy, all protected rights
  under the Fourth and Fourteenth Amendments of the United States Constitution.
          340.     As a direct and proximate result of Defendant GABRIEL’S failure to intervene, Plaintiff,
  Gerstenhaber has been caused to suffer deprivations of her constitutional rights, severe, grievous and
  permanent injuries, disfigurement, physical and mental pain and suffering, grief, mental anguish, emotional
  distress, loss of capacity for the enjoyment of life, and/or permanent aggravation of a preexisting condition
  and further incurred medical bills and other bills as a result of such injuries; such injuries are either
  permanent or are continuing in nature and the Plaintiff will suffer such losses in the future.
          341.     The failure to intervene by Defendant GABRIEL has forced Plaintiff, Gerstenhaber, to retain
  the undersigned attorneys and to pay them a reasonable fee, which Plaintiff is entitled to recover pursuant
  to 42 U.S.C. § 1988.
          WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant GABRIEL for all
  compensatory damages and punitive damages together with attorneys’ fees and costs pursuant to 42 U.S.C.
  § 1983 and 1988, prejudgment interest, and demands trial by jury of all issues triable as a matter of right, and
  all such other and further relief as this Court deems just and proper.
                                 SEVENTEENTH CAUSE OF ACTION
                        42 U.S.C. § 1983 – CIVIL RIGHTS VIOLATION CLAIM
                                       FAILURE TO INTERVENE
         Violation of the Fourth and Fourteenth Amendments to the United States Constitution
                                 (Against LUIS GALINDEZ, Individually)
          342.     Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 and 176 through
  301 as if set forth fully herein.
          343.     Plaintiff, Gerstenhaber, seeks relief under the Federal Civil Rights Act, 42 U.S.C. § 1983
  for deprivation of certain constitutional and fundamental rights under the Fourth and Fourteenth
  Amendments by Defendant, GALINDEZ, by failing to intervene to prevent Defendants BRINKLEY,
  AUSTIN-GAINES, WILLIAMS, GABRIEL, and/or JEAN BAPTISTE from violating the constitutional
  rights of Gerstenhaber.

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          344.     Law enforcement officers have an affirmative duty to intervene when the officer is aware
  of constitutional violations in their presence and must take reasonable steps to protect the victim of another
  officer’s use of excessive force, unreasonable search and seizure, and/or invasion of privacy.
          345.     Defendant GALINDEZ failed to prevent excessive force from being committed against
  Gerstenhaber when she had reasonable opportunity to do so; Defendant GALINDEZ’s failure to intervene
  is a violation of the Fourth Amendment and as such is actionable under 42 U.S.C. § 1983.
          346.     Defendant GALINDEZ failed to prevent an unauthorized and unreasonable strip search from
  being committed against Gerstenhaber when she had reasonable opportunity to do so; Defendant
  GALINDEZ’S failure to intervene is a violation of the Fourth Amendment and as such is actionable under
  42 U.S.C. § 1983.
          347.     Defendant GALINDEZ failed to prevent an unreasonable strip search by a male BSO deputy
  from being committed against Gerstenhaber in violation of §901.211 and BSO policies and procedures when
  she had reasonable opportunity to do so; Defendant GALINDEZ’s failure to intervene is a violation of the
  Fourth Amendment and as such is actionable under 42 U.S.C. § 1983.
          348.     At all times material hereto, Defendant GALINDEZ, was acting under color of state law and
  pursuant to the official custom, course, and policy of the BSO.
          349.     At all times material hereto, Gerstenhaber maintained the right to be free from the excessive
  use of force, from an unreasonable search and seizure, and the invasion of her privacy, all protected rights
  under the Fourth and Fourteenth Amendments of the United States Constitution.
          350.     As a direct and proximate result of Defendant GALINDEZ’s failure to intervene, Plaintiff,
  Gerstenhaber has been caused to suffer deprivations of her constitutional rights, severe, grievous and
  permanent injuries, disfigurement, physical and mental pain and suffering, grief, mental anguish, emotional
  distress, loss of capacity for the enjoyment of life, and/or permanent aggravation of a preexisting condition
  and further incurred medical bills and other bills as a result of such injuries; such injuries are either
  permanent or are continuing in nature and the Plaintiff will suffer such losses in the future.
          351.     The failure to intervene by Defendant GALINDEZ has forced Plaintiff, Gerstenhaber, to
  retain the undersigned attorneys and to pay them a reasonable fee, which Plaintiff is entitled to recover
  pursuant to 42 U.S.C. § 1988.
          WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant GALINDEZ for all
  compensatory damages and punitive damages together with attorneys’ fees and costs pursuant to 42 U.S.C.
  § 1983 and 1988, prejudgment interest, and demands trial by jury of all issues triable as a matter of right, and


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  all such other and further relief as this Court deems just and proper.
                                  EIGHTEENTH CAUSE OF ACTION
                        42 U.S.C. § 1983 – CIVIL RIGHTS VIOLATION CLAIM
                                       FAILURE TO INTERVENE
         Violation of the Fourth and Fourteenth Amendments to the United States Constitution
                           (Against DAPHNYS JEAN BAPTISTE, Individually)
          352.     Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 and 176 through
  301 as if set forth fully herein.
          353.     Plaintiff, Gerstenhaber, seeks relief under the Federal Civil Rights Act, 42 U.S.C. § 1983
  for deprivation of certain constitutional and fundamental rights under the Fourth and Fourteenth
  Amendments by Defendant, JEAN BAPTISTE, by failing to intervene to prevent Defendants BRINKLEY,
  AUSTIN-GAINES, WILLIAMS, GABRIEL, and/or GALINDEZ from violating the constitutional rights of
  Gerstenhaber.
          354.     Law enforcement officers have an affirmative duty to intervene when the officer is aware
  of constitutional violations in their presence and must take reasonable steps to protect the victim of another
  officer’s use of excessive force, unreasonable search and seizure, and/or invasion of privacy.
          355.     Defendant JEAN BAPTISTE failed to prevent excessive force from being committed against
  Gerstenhaber when she had reasonable opportunity to do so; Defendant JEAN BAPTISTE’s failure to
  intervene is a violation of the Fourth Amendment and as such is actionable under 42 U.S.C. § 1983.
          356.     Defendant JEAN BAPTISTE failed to prevent an unauthorized and unreasonable strip search
  from being committed against Gerstenhaber when she had reasonable opportunity to do so; Defendant JEAN
  BAPTISTE’s failure to intervene is a violation of the Fourth Amendment and as such is actionable under 42
  U.S.C. § 1983.
          357.     Defendant JEAN BAPTISTE failed to prevent an unreasonable strip search by a male BSO
  deputy from being committed against Gerstenhaber in violation of §901.211 and BSO policies and
  procedures when she had reasonable opportunity to do so; Defendant JEAN BAPTISTE’s failure to intervene
  is a violation of the Fourth Amendment and as such is actionable under 42 U.S.C. § 1983.
          358.     At all times material hereto, Defendant JEAN BAPTISTE, was acting under color of state
  law and pursuant to the official custom, course, and policy of the BSO.
          359.     At all times material hereto, Gerstenhaber maintained the right to be free from the excessive
  use of force, from an unreasonable search and seizure, and the invasion of her privacy, all protected rights
  under the Fourth and Fourteenth Amendments of the United States Constitution.
          360.     As a direct and proximate result of Defendant JEAN BAPTISTE’s failure to intervene,

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  Plaintiff, Gerstenhaber has been caused to suffer deprivations of her constitutional rights, severe, grievous
  and permanent injuries, disfigurement, physical and mental pain and suffering, grief, mental anguish,
  emotional distress, loss of capacity for the enjoyment of life, and/or permanent aggravation of a preexisting
  condition and further incurred medical bills and other bills as a result of such injuries; such injuries are either
  permanent or are continuing in nature and the Plaintiff will suffer such losses in the future.
            361.    The failure to intervene by Defendant JEAN BAPTISTE has forced Plaintiff, Gerstenhaber,
  to retain the undersigned attorneys and to pay them a reasonable fee, which Plaintiff is entitled to recover
  pursuant to 42 U.S.C. § 1988.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant JEAN BAPTISTE
  for all compensatory damages and punitive damages together with attorneys’ fees and costs pursuant to 42
  U.S.C. § 1983 and 1988, prejudgment interest, and demands trial by jury of all issues triable as a matter of
  right, and all such other and further relief as this Court deems just and proper.
                                     NINETEENTH CAUSE OF ACTION
                                               BATTERY
                               (Against BERNADETTE BRINKLEY, Individually)

            362.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            363.    On July 11, 2014, Defendant BRINKLEY intentionally attacked and battered Gerstenhaber
  without provocation.
            364.    Defendant BRINKLEY committed said attack with the intent to cause harmful or offensive
  contact to Gerstenhaber.
            365.    Defendant BRINKLEY did physically contact Gerstenhaber without Gerstenhaber’s consent
  when Defendant BRINKLEY held Gerstenhaber down and beat her, punching and kicking her in the face
  and body until she urinated on herself, all for the purposes of corporal punishment, intimidation,
  embarrassment, harassment, and/or physical or mental abuse.
            366.    Defendant BRINKLEY’s physical contact with Gerstenhaber was harmful and offensive to
  Gerstenhaber.
            367.    Defendant BRINKLEY acted in bad faith, with malicious purpose, and in a manner
  exhibiting wanton and willful disregard of Gerstenhaber’s rights, safety, or property.
            368.    As a direct and proximate result of Defendant BRINKLEY’s intentional attack, Gestenhaber
  has been caused to suffer severe, grievous and permanent injuries, disfigurement, physical and mental pain
  and suffering, grief, mental anguish, emotional distress, loss of capacity for the enjoyment of life, and/or

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  permanent aggravation of a preexisting condition and further incurred medical bills and other bills as a result
  of such injuries; such injuries are either permanent or are continuing in nature and the Plaintiff will suffer
  such losses in the future.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant BRINKLEY for all
  compensatory damages and punitive damages, prejudgment interest, and demands trial by jury of all issues
  triable as a matter of right, and all such other and further relief as this Court deems just and proper.
                                      TWENTIETH CAUSE OF ACTION
                                                BATTERY
                                (Against DAWNA AUSTIN-GAINES, Individually)

            369.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            370.    On July 11, 2014, Defendant AUSTIN-GAINES intentionally attacked and battered
  Gerstenhaber without provocation.
            371.    Defendant AUSTIN-GAINES committed said attack with the intent to cause harmful or
  offensive contact to Gerstenhaber.
            372.    Defendant AUSTIN-GAINES did physically contact Gerstenhaber without Gerstenhaber’s
  consent when Defendant AUSTIN-GAINES pepper sprayed and held Gerstenhaber down and beat her,
  punching and kicking her in the face and body until she urinated on herself, all for the purposes of corporal
  punishment, intimidation, embarrassment, harassment, and/or physical or mental abuse.
            373.    Defendant AUSTIN-GAINES’ physical contact with Gerstenhaber was harmful and
  offensive to Gerstenhaber.
            374.    Defendant AUSTIN-GAINES acted in bad faith, with malicious purpose, and in a manner
  exhibiting wanton and willful disregard of Gerstenhaber’s rights, safety, or property.
            375.    As a direct and proximate result of Defendant AUSTIN-GAINES’ intentional attack,
  Gerstenhaber has been caused to suffer severe, grievous and permanent injuries, disfigurement, physical and
  mental pain and suffering, grief, mental anguish, emotional distress, loss of capacity for the enjoyment of
  life, and/or permanent aggravation of a preexisting condition and further incurred medical bills and other
  bills as a result of such injuries; such injuries are either permanent or are continuing in nature and the
  Plaintiff will suffer such losses in the future.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant AUSTIN-GAINES
  for all compensatory damages and punitive damages, prejudgment interest, and demands trial by jury of all


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  issues triable as a matter of right, and all such other and further relief as this Court deems just and proper.
                                    TWENTY-FIRST CAUSE OF ACTION
                                                   BATTERY
                                  (Against CAMEO WILLIAMS, Individually)
            376.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            377.    On July 11, 2014, Defendant WILLIAMS intentionally attacked and battered Gerstenhaber
  without provocation.
            378.    Defendant WILLIAMS committed said attack with the intent to cause harmful or offensive
  contact to Gerstenhaber.
            379.    Defendant WILLIAMS did physically contact Gerstenhaber without Gerstenhaber’s consent
  when Defendant WILLIAMS pepper sprayed and held Gerstenhaber down and beat her, punching and
  kicking her in the face and body until she urinated on herself, all for the purposes of corporal punishment,
  intimidation, embarrassment, harassment, and/or physical or mental abuse.
            380.    Defendant WILLIAMS’ physical contact with Gerstenhaber was harmful and offensive to
  Gerstenhaber.
            381.    Defendant WILLIAMS acted in bad faith, with malicious purpose, and in a manner
  exhibiting wanton and willful disregard of Gerstenhaber’s rights, safety, or property.
            382.    As a direct and proximate result of Defendant WILLIAMS’ intentional attack, Gerstenhaber
  has been caused to suffer severe, grievous and permanent injuries, disfigurement, physical and mental pain
  and suffering, grief, mental anguish, emotional distress, loss of capacity for the enjoyment of life, and/or
  permanent aggravation of a preexisting condition and further incurred medical bills and other bills as a result
  of such injuries; such injuries are either permanent or are continuing in nature and the Plaintiff will suffer
  such losses in the future.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant WILLIAMS for all
  compensatory damages and punitive damages, prejudgment interest, and demands trial by jury of all issues
  triable as a matter of right, and all such other and further relief as this Court deems just and proper.
                                    TWENTY-SECOND CAUSE OF ACTION
                                                  BATTERY
                                     (Against NEDRA GABRIEL, Individually)

            383.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            384.    On July 11, 2014, Defendant GABRIEL intentionally attacked and battered Gerstenhaber

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  without provocation.
            385.    Defendant GABRIEL committed said attack with the intent to cause harmful or offensive
  contact to Gerstenhaber.
            386.    Defendant GABRIEL did physically contact Gerstenhaber without Gerstenhaber’s consent
  when Defendant GABRIEL held Gerstenhaber down and beat her, punching and kicking her in the face and
  body until she urinated on herself, all for the purposes of corporal punishment, intimidation, embarrassment,
  harassment, and/or physical or mental abuse.
            387.    Defendant GABRIEL’s physical contact with Gerstenhaber was harmful and offensive to
  Gerstenhaber.
            388.    Defendant GABRIEL acted in bad faith, with malicious purpose, and in a manner exhibiting
  wanton and willful disregard of Gerstenhaber’s rights, safety, or property.
            389.    As a direct and proximate result of Defendant GABRIEL’s intentional attack, Gerstenhaber
  has been caused to suffer severe, grievous and permanent injuries, disfigurement, physical and mental pain
  and suffering, grief, mental anguish, emotional distress, loss of capacity for the enjoyment of life, and/or
  permanent aggravation of a preexisting condition and further incurred medical bills and other bills as a result
  of such injuries; such injuries are either permanent or are continuing in nature and the Plaintiff will suffer
  such losses in the future.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant GABRIEL for all
  compensatory damages and punitive damages, prejudgment interest, and demands trial by jury of all issues
  triable as a matter of right, and all such other and further relief as this Court deems just and proper.
                                     TWENTY-THIRD CAUSE OF ACTION
                                                   BATTERY
                                     (Against LUIS GALINDEZ, Individually)

            390.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            391.    On July 11, 2014, Defendant GALINDEZ intentionally attacked and battered Gerstenhaber
  without provocation.
            392.    Defendant GALINDEZ committed said attack with the intent to cause harmful or offensive
  contact to Gerstenhaber.
            393.    Defendant GALINDEZ did physically contact Gerstenhaber without Gerstenhaber’s consent
  when Defendant GALINDEZ held Gerstenhaber down and beat her, punching and kicking her in the face and
  body until she urinated on herself, all for the purposes of corporal punishment, intimidation, embarrassment,

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  harassment, and/or physical or mental abuse.
            394.    Defendant GALINDEZ’s physical contact with Gerstenhaber was harmful and offensive to
  Gerstenhaber.
            395.    Defendant GALINDEZ acted in bad faith, with malicious purpose, and in a manner
  exhibiting wanton and willful disregard of Gerstenhaber’s rights, safety, or property.
            396.    As a direct and proximate result of Defendant GALINDEZ’s intentional attack, Gerstenhaber
  has been caused to suffer severe, grievous and permanent injuries, disfigurement, physical and mental pain
  and suffering, grief, mental anguish, emotional distress, loss of capacity for the enjoyment of life, and/or
  permanent aggravation of a preexisting condition and further incurred medical bills and other bills as a result
  of such injuries; such injuries are either permanent or are continuing in nature and the Plaintiff will suffer
  such losses in the future.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant GALINDEZ for all
  compensatory damages and punitive damages, prejudgment interest, and demands trial by jury of all issues
  triable as a matter of right, and all such other and further relief as this Court deems just and proper.
                                  TWENTY-FOURTH CAUSE OF ACTION
                                               ASSAULT
                               (Against BERNADETTE BRINKLEY, Individually)

            397.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            398.    On July 11, 2014, Defendant BRINKLEY intentionally attacked and assaulted Gerstenhaber
  without provocation.
            399.    Defendant BRINKLEY committed said attack with the intent to create apprehension of
  imminent physical or bodily harm on Gerstenhaber.
            400.    Due to Defendant BRINKLEY’s actions, Gerstenhaber was in reasonable apprehension and
  feared imminent physical or bodily harm.
            401.    Defendant BRINKLEY acted in bad faith, with malicious purpose, and in a manner
  exhibiting wanton and willful disregard of Gerstenhaber’s rights, safety, or property.
            402.    As a direct and proximate result of Defendant BRINKLEY’s intentional assault,
  Gerstenhaber has been caused to suffer severe, grievous and permanent injuries, disfigurement, physical and
  mental pain and suffering, grief, mental anguish, emotional distress, loss of capacity for the enjoyment of
  life, and/or permanent aggravation of a preexisting condition and further incurred medical bills and other
  bills as a result of such injuries; such injuries are either permanent or are continuing in nature and the

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  Plaintiff will suffer such losses in the future.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant BRINKLEY for all
  compensatory damages and punitive damages, prejudgment interest, and demands trial by jury of all issues
  triable as a matter of right, and all such other and further relief as this Court deems just and proper.
                                    TWENTY-FIFTH CAUSE OF ACTION
                                                    ASSAULT
                               (Against DAWNA AUSTIN-GAINES, Individually)

            403.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            404.    On July 11, 2014, Defendant AUSTIN-GAINES intentionally attacked and assaulted
  Gerstenhaber without provocation.
            405.    Defendant AUSTIN-GAINES committed said attack with the intent to create apprehension
  of imminent physical or bodily harm on Gerstenhaber.
            406.    Due to Defendant AUSTIN-GAINES’ actions, Gerstenhaber was in reasonable apprehension
  and feared imminent physical or bodily harm.
            407.    Defendant AUSTIN-GAINES acted in bad faith, with malicious purpose, and in a manner
  exhibiting wanton and willful disregard of Gerstenhaber’s rights, safety, or property.
            408.    As a direct and proximate result of Defendant AUSTIN-GAINES’ intentional assault,
  Gerstenhaber has been caused to suffer severe, grievous and permanent injuries, disfigurement, physical and
  mental pain and suffering, grief, mental anguish, emotional distress, loss of capacity for the enjoyment of
  life, and/or permanent aggravation of a preexisting condition and further incurred medical bills and other
  bills as a result of such injuries; such injuries are either permanent or are continuing in nature and the
  Plaintiff will suffer such losses in the future.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant AUSTIN-GAINES
  for all compensatory damages and punitive damages, prejudgment interest, and demands trial by jury of all
  issues triable as a matter of right, and all such other and further relief as this Court deems just and proper.
                                     TWENTY-SIXTH CAUSE OF ACTION
                                                 ASSAULT
                                    (Against CAMEO WILLIAMS, Individually)

            409.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            410.    On July 11, 2014, Defendant WILLIAMS intentionally attacked and assaulted Gerstenhaber


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  without provocation.
            411.    Defendant WILLIAMS committed said attack with the intent to create apprehension of
  imminent physical or bodily harm on Gerstenhaber.
            412.    Due to Defendant WILLIAMS’ actions, Gerstenhaber was in reasonable apprehension and
  feared imminent physical or bodily harm.
            413.    Defendant WILLIAMS acted in bad faith, with malicious purpose, and in a manner
  exhibiting wanton and willful disregard of Gerstenhaber’s rights, safety, or property.
            414.    As a direct and proximate result of Defendant WILLIAMS’ intentional assault, Gerstenhaber
  has been caused to suffer severe, grievous and permanent injuries, disfigurement, physical and mental pain
  and suffering, grief, mental anguish, emotional distress, loss of capacity for the enjoyment of life, and/or
  permanent aggravation of a preexisting condition and further incurred medical bills and other bills as a result
  of such injuries; such injuries are either permanent or are continuing in nature and the Plaintiff will suffer
  such losses in the future.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant WILLIAMS for all
  compensatory damages and punitive damages, prejudgment interest, and demands trial by jury of all issues
  triable as a matter of right, and all such other and further relief as this Court deems just and proper.
                                   TWENTY-SEVENTH CAUSE OF ACTION
                                                 ASSAULT
                                    (Against NEDRA GABRIEL, Individually)

            415.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            416.    On July 11, 2014, Defendant GABRIEL intentionally attacked and assaulted Gerstenhaber
  without provocation.
            417.    Defendant GABRIEL committed said attack with the intent to create apprehension of
  imminent physical or bodily harm on Gerstenhaber.
            418.    Due to Defendant GABRIEL’s actions, Gerstenhaber was in reasonable apprehension and
  feared imminent physical or bodily harm.
            419.    Defendant GABRIEL acted in bad faith, with malicious purpose, and in a manner exhibiting
  wanton and willful disregard of Gerstenhaber’s rights, safety, or property.
            420.    As a direct and proximate result of Defendant GABRIEL’s intentional assault, Gerstenhaber
  has been caused to suffer severe, grievous and permanent injuries, disfigurement, physical and mental pain
  and suffering, grief, mental anguish, emotional distress, loss of capacity for the enjoyment of life, and/or

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  permanent aggravation of a preexisting condition and further incurred medical bills and other bills as a result
  of such injuries; such injuries are either permanent or are continuing in nature and the Plaintiff will suffer
  such losses in the future.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant GABRIEL for all
  compensatory damages and punitive damages, prejudgment interest, and demands trial by jury of all issues
  triable as a matter of right, and all such other and further relief as this Court deems just and proper.
                                    TWENTY-EIGHTH CAUSE OF ACTION
                                                   ASSAULT
                                     (Against LUIS GALINDEZ, Individually)

            421.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            422.    On July 11, 2014, Defendant GALINDEZ intentionally attacked and assaulted Gerstenhaber
  without provocation.
            423.    Defendant GALINDEZ committed said attack with the intent to create apprehension of
  imminent physical or bodily harm on Gerstenhaber.
            424.    Due to Defendant GALINDEZ ’s actions, Gerstenhaber was in reasonable apprehension and
  feared imminent physical or bodily harm.
            425.    Defendant GALINDEZ acted in bad faith, with malicious purpose, and in a manner
  exhibiting wanton and willful disregard of Gerstenhaber’s rights, safety, or property.
            426.    As a direct and proximate result of Defendant GALINDEZ’s                          intentional assault,
  Gerstenhaber has been caused to suffer severe, grievous and permanent injuries, disfigurement, physical and
  mental pain and suffering, grief, mental anguish, emotional distress, loss of capacity for the enjoyment of
  life, and/or permanent aggravation of a preexisting condition and further incurred medical bills and other
  bills as a result of such injuries; such injuries are either permanent or are continuing in nature and the
  Plaintiff will suffer such losses in the future.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant GALINDEZ for all
  compensatory damages and punitive damages, prejudgment interest, and demands trial by jury of all issues
  triable as a matter of right, and all such other and further relief as this Court deems just and proper.




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                                TWENTY-NINTH CAUSE OF ACTION
                        INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                            (Against BERNADETTE BRINKLEY, Individually)

            427.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            428.    On July 11, 2014, Defendant BRINKLEY intentionally attacked and deliberately inflicted
  emotional distress on Gerstenhaber without provocation.
            429.    Defendant BRINKLEY’s conduct was outrageous and extreme in degree.
            430.    Defendant BRINKLEY acted in bad faith, with malicious purpose, and in a manner
  exhibiting wanton and willful disregard of Gerstenhaber’s rights, safety, or property.
            431.    As a direct and proximate result of Defendant BRINKLEY’s intentional infliction of
  emotional distress, Gerstenhaber has been caused to suffer severe, grievous and permanent injuries,
  disfigurement, physical and mental pain and suffering, grief, mental anguish, emotional distress, loss of
  capacity for the enjoyment of life, and/or permanent aggravation of a preexisting condition and further
  incurred medical bills and other bills as a result of such injuries; such injuries are either permanent or are
  continuing in nature and the Plaintiff will suffer such losses in the future.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant BRINKLEY for all
  compensatory damages and punitive damages, prejudgment interest, and demands trial by jury of all issues
  triable as a matter of right, and all such other and further relief as this Court deems just and proper.
                                  THIRTIETH CAUSE OF ACTION
                        INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                            (Against DAWNA AUSTIN-GAINES, Individually)

            432.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            433.    On July 11, 2014, Defendant AUSTIN-GAINES intentionally attacked and deliberately
  inflicted emotional distress on Gerstenhaber without provocation.
            434.    Defendant AUSTIN-GAINES’ conduct was outrageous and extreme in degree.
            435.    Defendant AUSTIN-GAINES acted in bad faith, with malicious purpose, and in a manner
  exhibiting wanton and willful disregard of Gerstenhaber’s rights, safety, or property.
            436.    As a direct and proximate result of Defendant AUSTIN-GAINES’ intentional infliction of
  emotional distress, Gerstenhaber has been caused to suffer severe, grievous and permanent injuries,


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  disfigurement, physical and mental pain and suffering, grief, mental anguish, emotional distress, loss of
  capacity for the enjoyment of life, and/or permanent aggravation of a preexisting condition and further
  incurred medical bills and other bills as a result of such injuries; such injuries are either permanent or are
  continuing in nature and the Plaintiff will suffer such losses in the future.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant AUSTIN-GAINES
  for all compensatory damages and punitive damages, prejudgment interest, and demands trial by jury of all
  issues triable as a matter of right, and all such other and further relief as this Court deems just and proper.
                                 THIRTY-FIRST CAUSE OF ACTION
                        INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                               (Against CAMEO WILLIAMS, Individually)

            437.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            438.    On July 11, 2014, Defendant WILLIAMS intentionally attacked and deliberately inflicted
  emotional distress on Gerstenhaber without provocation.
            439.    Defendant WILLIAMS’ conduct was outrageous and extreme in degree.
            440.    Defendant WILLIAMS acted in bad faith, with malicious purpose, and in a manner
  exhibiting wanton and willful disregard of Gerstenhaber’s rights, safety, or property.
            441.    As a direct and proximate result of Defendant WILLIAMS’ intentional infliction of
  emotional distress, Gerstenhaber has been caused to suffer severe, grievous and permanent injuries,
  disfigurement, physical and mental pain and suffering, grief, mental anguish, emotional distress, loss of
  capacity for the enjoyment of life, and/or permanent aggravation of a preexisting condition and further
  incurred medical bills and other bills as a result of such injuries; such injuries are either permanent or are
  continuing in nature and the Plaintiff will suffer such losses in the future.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant WILLIAMS for all
  compensatory damages and punitive damages, prejudgment interest, and demands trial by jury of all issues
  triable as a matter of right, and all such other and further relief as this Court deems just and proper.
                               THIRTY-SECOND CAUSE OF ACTION
                        INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                               (Against NEDRA GABRIEL, Individually)

            442.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.


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            443.    On July 11, 2014, Defendant GABRIEL intentionally attacked and deliberately inflicted
  emotional distress on Gerstenhaber without provocation.
            444.    Defendant GABRIEL’s conduct was outrageous and extreme in degree.
            445.    Defendant GABRIEL acted in bad faith, with malicious purpose, and in a manner exhibiting
  wanton and willful disregard of Gerstenhaber’s rights, safety, or property.
            446.    As a direct and proximate result of Defendant GABRIEL’s intentional infliction of emotional
  distress, Gerstenhaber has been caused to suffer severe, grievous and permanent injuries, disfigurement,
  physical and mental pain and suffering, grief, mental anguish, emotional distress, loss of capacity for the
  enjoyment of life, and/or permanent aggravation of a preexisting condition and further incurred medical bills
  and other bills as a result of such injuries; such injuries are either permanent or are continuing in nature and
  the Plaintiff will suffer such losses in the future.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant GABRIEL for all
  compensatory damages and punitive damages, prejudgment interest, and demands trial by jury of all issues
  triable as a matter of right, and all such other and further relief as this Court deems just and proper.
                                THIRTY-THIRD CAUSE OF ACTION
                        INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                                (Against LUIS GALINDEZ, Individually)

            447.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            448.    On July 11, 2014, Defendant GALINDEZ intentionally attacked and deliberately inflicted
  emotional distress on Gerstenhaber without provocation.
            449.    Defendant GALINDEZ’s conduct was outrageous and extreme in degree.
            450.    Defendant GALINDEZ acted in bad faith, with malicious purpose, and in a manner
  exhibiting wanton and willful disregard of Gerstenhaber’s rights, safety, or property.
            451.    As a direct and proximate result of Defendant GALINDEZ’s intentional infliction of
  emotional distress, Gerstenhaber has been caused to suffer severe, grievous and permanent injuries,
  disfigurement, physical and mental pain and suffering, grief, mental anguish, emotional distress, loss of
  capacity for the enjoyment of life, and/or permanent aggravation of a preexisting condition and further
  incurred medical bills and other bills as a result of such injuries; such injuries are either permanent or are
  continuing in nature and the Plaintiff will suffer such losses in the future.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant GALINDEZ for all
  compensatory damages and punitive damages, prejudgment interest, and demands trial by jury of all issues

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  triable as a matter of right, and all such other and further relief as this Court deems just and proper.
                              THIRTY-FOURTH CAUSE OF ACTION
                   BATTERY (PLEADING IN THE ALTERNATIVE TO COUNTS 19-23)
                                        (Against BSO)

            452.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            453.    At all times material hereto, Deputies Brinkley, Austin-Gaines, Williams, Gabriel, and
  Galindez were agents, servants, and/or employees of the BSO.
            454.    At all times material hereto, BSO maintained a supervisory role of all actions undertaken
  by Deputies Brinkley, Austin-Gaines, Williams, Gabriel, and Galindez during the course and scope of their
  employment.
            455.    At all times material hereto, Deputies Brinkley, Austin-Gaines, Williams, Gabriel, and
  Galindez were acting within the course and scope of their employment with BSO.
            456.    Deputies Brinkley, Austin-Gaines, Williams, Gabriel, and Galindez , while acting within the
  course and scope of their employment, committed a battery by attacking Gerstenhaber causing harmful or
  offensive physical contact.
            457.    While committing this battery, Deputies Brinkley, Austin-Gaines, Williams, Gabriel, and
  Galindez did not act in bad faith, with malicious purpose, and in a manner exhibiting wanton and willful
  disregard of Gerstenhaber’s rights, safety, or property.
            458.    As a direct and proximate result of Deputies Brinkley, Austin-Gaines, Williams, Gabriel,
  and Galindez’s battery, Gerstenhaber has been caused to suffer severe, grievous and permanent injuries,
  disfigurement, physical and mental pain and suffering, grief, mental anguish, emotional distress, loss of
  capacity for the enjoyment of life, and/or permanent aggravation of a preexisting condition and further
  incurred medical bills and other bills as a result of such injuries; such injuries are either permanent or are
  continuing in nature and the Plaintiff will suffer such losses in the future.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant BSO for all
  compensatory damages and punitive damages, prejudgment interest, and demands trial by jury of all issues
  triable as a matter of right, and all such other and further relief as this Court deems just and proper.




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                               THIRTY-FIFTH CAUSE OF ACTION
                   ASSAULT (PLEADING IN THE ALTERNATIVE TO COUNTS 24-28)
                                        (Against BSO)

            459.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            460.    At all times material hereto, Deputies Brinkley, Austin-Gaines, Williams, Gabriel, and
  Galindez were agents, servants, and/or employees of the BSO.
            461.    At all times material hereto, BSO maintained a supervisory role of all actions undertaken
  by Deputies Brinkley, Austin-Gaines, Williams, Gabriel, and/or Galindez during the course and scope of their
  employment.
            462.    At all times material hereto, Deputies Brinkley, Austin-Gaines, Williams, Gabriel, and
  Galindez were acting within the course and scope of their employment with BSO.
            463.    Deputies Brinkley, Austin-Gaines, Williams, Gabriel, and Galindez , while acting within the
  course and scope of their employment, committed an assault by attacking Gerstenhaber and causing
  Gerstenhaber to be in fear of harmful or offensive physical contact.
            464.    While committing this assault, Deputies Brinkley, Austin-Gaines, Williams, Gabriel, and
  Galindez did not act in bad faith, with malicious purpose, and in a manner exhibiting wanton and willful
  disregard of Gerstenhaber’s rights, safety, or property.
            465.    As a direct and proximate result of Deputies Brinkley, Austin-Gaines, Williams, Gabriel,
  and Galindez’s assault, Gerstenhaber has been caused to suffer severe, grievous and permanent injuries,
  disfigurement, physical and mental pain and suffering, grief, mental anguish, emotional distress, loss of
  capacity for the enjoyment of life, and/or permanent aggravation of a preexisting condition and further
  incurred medical bills and other bills as a result of such injuries; such injuries are either permanent or are
  continuing in nature and the Plaintiff will suffer such losses in the future.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant BSO for all
  compensatory damages and punitive damages, prejudgment interest, and demands trial by jury of all issues
  triable as a matter of right, and all such other and further relief as this Court deems just and proper.




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                                THIRTY-SIXTH CAUSE OF ACTION
                         NEGLIGENT HIRING, RETENTION AND SUPERVISION
                                         (Against BSO )

            466.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            467.    Upon the hiring of Defendant GALINDEZ, GALINDEZ took the Oath of Office for the
  Broward Sheriff’s Office.
            468.    During GALINDEZ’s time with the Broward Sheriff’s Office, GALINDEZ has continued
  to violate citizens and others constitutional rights under the Fourth Amendment to the United States
  Constitution.
            469.    During the course of his tenure with the Broward Sheriff’s Office as early as 2006 there have
  been multiple instances of the use of excessive force by Defendant GALINDEZ which Defendant BSO knew
  or should have known as specified herein above.
            470.    Defendant BSO knew of GALINDEZ’s propensity for violence and the unreasonable
  utilization of excessive force against individuals and detainees in violation of their Constitutional rights prior
  to the subject incident involving Gerstenhaber.
            471.    Defendant BSO knew or should have known of the likelihood that Defendant GALINDEZ
  would injure a third person by his conduct or allow and authorize deputies under his supervision to injury
  a third person by their conduct.
            472.    Defendant BSO retained GALINDEZ in its employ knowing that there was a strong
  possibility that GALINDEZ would continue his pattern of utilizing unreasonable excessive force while
  attempting to arrest and/or detain individuals in violation of their Constitutional rights and/or continue his
  pattern of authorizing the use on unreasonable excessive force against individuals and/or detainees in
  violation of their Constitutional rights.
            473.    Despite the fact that the above allegations were upon information and belief investigated by
  Defendant BSO, Defendant GALINDEZ was not disciplined, re-trained, suspended, and/or relieved of duty.
  Rather BSO allowed GALINDEZ to continue to work for BSO unabated.
            474.    Defendant BSO failed to supervise Defendant GALINDEZ, discipline him, re-train him,
  suspend him and/or relieve him of duty when learning of the above described incidences of excessive force.
            475.    Defendant BSO has a duty to provide competent, intelligent, responsible, and trustworthy
  employees who are given the authority to use force and/or deadly force and to terminate the freedom of
  citizens who they suspect may have committed crimes. The highest standard of care needs to be taken in

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  order to ensure that the best and most competent personnel are allowed to carry firearms and to enforce the
  laws of this nation.
            476.    Defendant BSO owes a duty to the public to hire and retain deputies who meet the standards
  indicated in the preceding paragraph. By failing to do so, Defendant BSO has breached the duty of care to
  Gerstenhaber, and to the public which has caused Gerstenhaber to suffer deprivations of her constitutional
  rights, severe, grievous and permanent injuries, disfigurement, physical and mental pain and suffering, grief,
  mental anguish, emotional distress, loss of capacity for the enjoyment of life, and/or permanent aggravation
  of a preexisting condition and further incurred medical bills and other bills as a result of such injuries; such
  injuries are either permanent or are continuing in nature and the Plaintiff will suffer such losses in the future.
            477.    Defendant BSO is also charged with the responsibility of adequately supervising its
  employees to prevent them from either intentionally or negligently causing injury to the public due to their
  negligent hiring, retention, and supervision of incompetent and dangerous employees who have the likelihood
  and/or foreseeability of injuring third persons.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant BSO for all
  compensatory damages, prejudgment interest, and demands trial by jury of all issues triable as a matter of
  right, and all such other and further relief as this Court deems just and proper.
                                THIRTY-SEVENTH CAUSE OF ACTION
                         NEGLIGENT SEIZURE AND RETENTION OF PROPERTY
                          (PLEADING IN THE ALTERNATIVE TO COUNTS 47-54)
                                           (Against BSO)

            478.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            479.    Defendant BSO, by and through its final policy makers, officers, agents, servants, and/or
  employees, is responsible for carrying on county government, conducting investigations of county affairs and
  performing acts which are in the common interest of the people.
            480.    Defendant, BSO, by and through its officers, agents, and employees, is responsible for
  staffing, supervising, managing, controlling, disciplining, and/or setting forth polices and procedures, for its
  agency, the Broward Sheriff’s Office, to ensure that its officers, agents, and employees are performing their
  duties and responsibilities with the highest level of proficiency, professionalism, and accountability, and
  within the confines of the United States Constitution and the laws of the State of Florida.
            481.    At all times material hereto, in committing each of the acts, omissions, and/or commissions
  complained of herein, the Defendant, BSO, was acting by and through its officers, agents, servants, and/or

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  employees, including but not limited to, Defendants Brinkley, Austin-Gaines, Williams, Gabriel, Galindez,
  Jean Baptiste, Fecu, and Beale who were working in the course and scope of said agency and/or employment,
  on behalf of Defendant, BSO.
          482.     Defendant BSO, by and through its final policymakers, officers, agents, servants, and/or
  employees, had a duty of maintaining, staffing, and supervising all BSO deputies, possessed ultimate
  authority over Broward Sheriff Office’s deputies’ activities and was responsible for the conduct of the
  Broward Sheriff Office’s deputies in the employ of the BSO and its agency.
          483.     Defendant BSO, by and through its final policymakers, officers, agents, servants, and/or
  employees, had a duty to ensure that reasonable measures were taken to ensure that the deputies of the
  Broward Sheriff’s Office performed their duties and responsibilities with the highest level of proficiency,
  professionalism, and accountability, and within the confines of the United States Constitution and the laws
  of the State of Florida.
          484.     Defendant BSO, by and through its final policy makers, officers, agents, servants, and/or
  employees, had a duty to provide law enforcement that complied with the United States Constitution and the
  laws of the State of Florida and that its deputies did not deprive any citizen or individual of his/her
  constitutional rights and/or property.
          485.     On or about July 11, 2014, the Defendant, BSO, by and through its agents, servants and/or
  employees, including but not limited to, Defendants Brinkley, Austin-Gaines, Williams, Gabriel, Galindez,
  Jean Baptiste, Fecu, and Beale agreed and undertook to serve and perform as deputies within the Department
  of Detention in accordance with prevailing law enforcement standards applicable to Broward County,
  Florida, or any similar community, so as to avoid the loss of detainee’s property.
          486.     At all times material hereto, Defendants, Brinkley, Austin-Gaines, Williams, Gabriel,
  Galindez, Jean Baptiste, Fecu, and Beale were acting under color of state law with in the course and scope
  of their employment with the BSO, and pursuant to the official custom, course, and policy of the BSO.
          487.     Deputies Brinkley, Austin-Gaines, Williams, Gabriel, Galindez, Jean Baptiste, Fecu, and
  Beale while acting within the course and scope of their employment, deprived Gerstenhaber of the Ring
  despite her release from the Broward County Jail.
          488.     While committing this permanent seizure of the Ring, Deputies Brinkley, Austin-Gaines,
  Williams, Gabriel, Galindez, Jean Baptiste, Fecu, and Beale did not act in bad faith, with malicious purpose,
  and in a manner exhibiting wanton and willful disregard of Gerstenhaber’s rights, safety, or property.
          489.     Defendant BSO, by and through its final policy makers, officers, agents, servants, and/or


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  employees, including Defendants Brinkley, Austin-Gaines, Williams, Gabriel, Galindez, Jean Baptiste, Fecu
  and/or Beale, negligently and recklessly breached its duties, nondelegable and/or otherwise, owed to the
  Plaintiff, Gerstenhaber, by committing one or more of the following acts of commission and/or omission
  which directly and proximately caused the Plaintiff’s injuries and/or damages:
                   (a)      Negligently and carelessly seized Gerstenhaber’s personal property including the
  Ring and failed to return same to her upon release, thereby depriving her of her personal property including
  the Ring;
                   (b)      Negligently and carelessly failed to properly train the deputies of the Broward
  Sheriff Office regarding seizure of personal property and return thereof upon release;
                   (c)      Negligently and carelessly failed to provide adequate training and supervision to
  deputies of the Broward Sheriff office in regards to the seizure of personal property and the return of same
  upon release;
                   (d)      Negligently and carelessly failed to hire and retain competent and knowledgeable
  law enforcement personnel that would protect and serve within the confines of the United States Constitution
  and/or the laws of the State of Florida;
                   (e)      Negligently and carelessly failed to supervise its deputies so as to prevent the loss
  of personal property and ensure that its officers protect and serve within the confines of the United States
  Constitution and/or the laws of the State of Florida;
                   (f)      Negligently and carelessly failed to adopt reasonable procedures pertaining to the
  seizure, protection, and return of personal property, specifically the Ring;
                   (g)      Negligently and carelessly failed to follow BSO polices and procedures with respect
  to the seizure, protection, and return of personal property, specifically the Ring
                   (h)      Negligently and carelessly utilized procedures, which failed to adequately train and
  instruct police officers as to the seizure, protection, and return of personal property in connection with
  booking individuals suspected of committing a crime at its facilities;
                   (i)      Negligently and carelessly failed to follow reasonable rules, regulations, protocols,
  standards and other guidelines pertinent to the seizure, protection, and return of personal property in
  connection with the booking of persons suspected of committing a crime at its facilities;
          490.     As a direct and proximate result of the negligence exercised by the Defendant, BSO and
  failure to return seized personal property to Gerstenhaber including the Ring, by and through its agents,
  servants, and/or employees, including Defendants Brinkley, Austin-Gaines, Williams, Gabriel, Galindez,


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  Jean Baptiste, Fecu, and Beale, Gerstenhaber, has been caused to suffer damages which include both the fair
  market value of the Ring as well as the sentimental value of the Ring.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant BSO for all
  compensatory damages including fair market value and sentimental value, prejudgment interest, and demands
  trial by jury of all issues triable as a matter of right, and all such other and further relief as this Court deems
  just and proper.
                              THIRTY-EIGHTH CAUSE OF ACTION
                     NEGLIGENT SEARCH AND SEIZURE / INVASION OF PRIVACY
                               (PLEADING IN THE ALTERNATIVE)
                                        (Against BSO)

            491.     Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            492.     Defendant BSO, by and through its final policy makers, officers, agents, servants, and/or
  employees, is responsible for carrying on county government, conducting investigations of county affairs and
  performing acts which are in the common interest of the people.
            493.     Defendant, BSO, by and through its officers, agents, and employees, is responsible for
  staffing, supervising, managing, controlling, disciplining, and/or setting forth polices and procedures, for its
  agency, the Broward Sheriff’s Office, to ensure that its officers, agents, and employees are performing their
  duties and responsibilities with the highest level of proficiency, professionalism, and accountability, and
  within the confines of the United States Constitution and the laws of the State of Florida.
            494.     At all times material hereto, in committing each of the acts, omissions, and/or commissions
  complained of herein, the Defendant, BSO, was acting by and through its officers, agents, servants, and/or
  employees, including but not limited to, Defendants Brinkley, Austin-Gaines, Williams, Gabriel, Galindez,
  and Jean Baptiste, who were working in the course and scope of said agency and/or employment, on behalf
  of Defendant, BSO.
            495.     Defendant BSO, by and through its final policymakers, officers, agents, servants, and/or
  employees, had a duty of maintaining, staffing, and supervising all BSO deputies, possessed ultimate
  authority over Broward Sheriff Office’s deputies’ activities and was responsible for the conduct of the
  Broward Sheriff Office’s deputies in the employ of the BSO and its agency.
            496.     Defendant BSO, by and through its final policymakers, officers, agents, servants, and/or
  employees, had a duty to ensure that reasonable measures were taken to ensure that the deputies of the
  Broward Sheriff’s Office performed their duties and responsibilities with the highest level of proficiency,

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  professionalism, and accountability, and within the confines of the United States Constitution and the laws
  of the State of Florida.
          497.     Defendant BSO, by and through its final policy makers, officers, agents, servants, and/or
  employees, had a duty to provide law enforcement that complied with the United States Constitution and the
  laws of the State of Florida and that its deputies did not deprive any citizen or individual of his/her
  constitutional and/or legal rights and/or property, including subjecting said citizens and/or individuals to
  unreasonable, illegal, and/or unconstitutional search and seizures
          498.     On or about July 11, 2014, the Defendant, BSO, by and through its agents, servants and/or
  employees, including but not limited to, Defendants Brinkley, Austin-Gaines, Williams, Gabriel, Galindez,
  and Jean Baptiste, agreed and undertook to serve and perform as deputies within the Department of Detention
  in accordance with prevailing law enforcement standards applicable to Broward County, Florida, or any
  similar community, so as to avoid unconstitutional, illegal, and unreasonable search and seizures.
          499.     At all times material hereto, Defendants, Brinkley, Austin-Gaines, Williams, Gabriel,
  Galindez, and/or Jean Baptiste, among others, were acting under color of state law with in the course and
  scope of their employment with the BSO, and pursuant to the official custom, course, and policy of the BSO.
          500.     The actions of the Defendants, Brinkley, Austin-Gaines, Williams, Gabriel, Galindez, and/or
  Jean Baptiste as stated above, involved participating and exacting an unauthorized unreasonable and illegal
  strip search on Gerstenhaber in the presence of a male BSO deputy in violation of Florida statutory law and
  BSO policies and procedures.
          501.     Defendants Brinkley, Austin-Gaines, Williams, Gabriel, Galindez and/or Jean Baptiste
  violated Gerstenhaber’s constitutional and/or legal rights by engaging in an unauthorized strip search of
  Gerstenhaber in the presence of a male BSO deputy thereby subjecting her to a violation of her bodily
  privacy, as well as emotional and physical abuse, intimidation, embarrassment, humiliation, and harassment.
          502.     The strip search exacted by BSO, by and through its agents, servants, and/or employees,
  including Brinkley, Austin-Gaines, Williams, Gabriel, and/or Galindez was objectively unreasonable under
  the circumstances. More specifically, Plaintiff Gerstenhaber, was an unarmed female inside a holding cell
  within the Broward County Jail, restrained, and had not taken any action against any BSO deputies that
  would cause the BSO deputies to feel threatened or fear any imminent physical harm to justify the need for
  a male deputy’s participation in a strip search of a female individual, especially where three other female
  deputies were involved in the search and two other female deputies were available to assist if necessary.
          503.     All of the acts described herein deprived Gerstenhaber of constitutional rights secured to her


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  by the United States Constitution and/or Florida statutory law, specifically Florida Statute section 901.211.
          504.     Defendant BSO, by and through its final policy makers, officers, agents, servants, and/or
  employees, including Defendants Brinkley, Austin-Gaines, Williams, Gabriel, Galindez, and/or Jean
  Baptiste, among others,, negligently and recklessly breached its duties, nondelegable and/or otherwise, owed
  to the Plaintiff, Gerstenhaber, by committing one or more of the following acts of commission and/or
  omission which directly and proximately caused the Plaintiff’s injuries:
                   (a)      Negligently and carelessly failed to protect, uphold, and respect Gerstenhaber’s
  constitutional and/or legal rights, including her right to be free of unreasonable search and seizure under the
  Fourth Amendment to the United States Constitution;
                   (b)      Negligently and carelessly deprived Gerstenhaber of her constitutional right to be
  free from unreasonable and unconstitutional search and seizure under the Fourth Amendment to the United
  States Constitution;
                   (c)      Negligently and carelessly subjected Gerstenhaber to an unauthorized and/or
  unreasonable strip search in violation of Gerstenhaber’s constitutional rights under the Fourth Amendment
  to the United States Constitution and/or legal rights under Florida Statute section 902.111;
                   (d)      Negligently and carelessly, by and through its agents, servants, and/or employees
  engaged in an unlawful and/or unauthorized strip search on Gerstenhaber that was unreasonable under the
  circumstances, thereby injuring her as described above;
                   (e)      Negligently and carelessly, its agents, servants, and/or employees deprived the
  Plaintiff, Gerstenhaber, of the rights secured by the Fourth and Fourteenth Amendments to the United States
  Constitution, not to be subjected to unreasonable search and seizure, where same is not reasonably justified;
                   (f)      Negligently and carelessly, its agents, servants, and/or employees, engaged in an
  unlawful and/or unauthorized strip search of Gerstenhaber, a female, in the presence of a male BSO deputy
  thereby invading her right to bodily privacy in violation of Florida Statute section 902.111(3).
                   (g)      Negligently and carelessly failed to properly train the deputies of the Broward
  Sheriff’s Office in how to perform a constitutional and legal search and seizure, specifically a strip search
  as provided for in Florida Statute section 902.111;
                   (h)      Negligently and carelessly failed to exercise reasonable care in recognizing the
  circumstances and appropriately treating and protecting Gerstenhaber’s right to bodily privacy during said
  strip search;
                   (i)      Negligently and carelessly failed to hire and retain competent and knowledgeable


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  law enforcement personnel that would protect and serve within the confines of the United States Constitution
  and the laws of the State of Florida;
                    (j)      Negligently and carelessly failed to supervise its deputies so as to prevent
  unreasonable searches and seizures and ensure that its deputies protect and serve within the confines of the
  United States Constitution and the laws of the State of Florida, specifically Florida Statute section 902.111;
                    (k)      Negligently and carelessly failed to exercise reasonable care in effecting the strip
  search and seizure of Plaintiff, Gerstenhaber;
                    (l)      Negligently and carelessly failed to follow reasonable rules, regulations, protocols,
  standards and other guidelines pertinent to the search and seizure of persons suspected of committing a
  crime;
            505.    As a direct and proximate result of the negligence exercised by the Defendant, BSO, by and
  through its final policy makers, officers, agents, servants, and/or employees, including Defendants Brinkley,
  Austin-Gaines, Williams, Gabriel, Galindez and/or Jean Baptiste, Plaintiff Gerstenhaber, has been caused
  to suffer deprivations of her constitutional rights, severe, grievous and permanent injuries, disfigurement,
  physical and mental pain and suffering, grief, anguish, inability to lead a normal life, and/or permanent
  aggravation of a preexisting condition and further incurred medical bills and other bills as a result of such
  injuries; such injuries are either permanent or are continuing in nature and the Plaintiff will suffer such losses
  in the future.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant BSO for all
  compensatory damages, prejudgment interest, and demands trial by jury of all issues triable as a matter of
  right, and all such other and further relief as this Court deems just and proper.

                                   THIRTY-NINTH CAUSE OF ACTION
                          42 U.S.C. § 1983 – CIVIL RIGHTS VIOLATION CLAIM
                           UNREASONABLE SEIZURE / LOSS OF PROPERTY
           Violation of the Fourth and Fourteenth Amendments to the United States Constitution
                              (Against BERNADETTE BRINKLEY, Individually)
            506.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            507.    Plaintiff, Gerstenhaber, seeks relief under the Federal Civil Rights Act, 42 U.S.C. § 1983
  for deprivation of certain constitutional and fundamental rights under the Fourth and Fourteenth
  Amendments by Defendant, BRINKLEY, by subjecting Gerstenhaber to an unreasonable seizure and
  deprivation of her personal property, the Ring.


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          508.     At all times material hereto, Defendant BRINKLEY, was acting under color of state law and
  pursuant to the official custom, course, and policy of the BSO.
          509.     At all times material hereto, Gerstenhaber maintained the right to be free from an
  unreasonable seizure and deprivation of her personal property, a protected right under the Fourth and
  Fourteenth Amendments of the United States Constitution.
          510.     At all times material hereto, Gerstenhaber maintained the right to be secure in their persons,
  houses, papers, and effects against unreasonable searches and seizures, a protected right under the Fourth
  and Fourteenth Amendments of the United States Constitution.
          511.     At all times material hereto, Gerstenhaber also possessed an expectation of the return of her
  personal property, the Ring, following release, a protected right under the Fourth and Fourteenth
  Amendments of the United States Constitution.
          512.     The actions of the Defendant, BRINKLEY, as stated above, involved a deliberate seizure
  of Gerstenhaber’s Ring, a family heirloom with sentimental value, by BRINKLEY despite Gerstenhaber
  being released and all charges nolle processed or dropped, which violated Plaintiff’s Fourth and Fourteenth
  Amendment Rights, pursuant to the United States Constitution.
          513.     Defendant BRINKLEY violated 42 U.S.C. § 1983 by intentionally, unreasonably, and
  unnecessarily seizing Gerstenhaber’s Ring, a family heirloom possessing sentimental value well in excess
  of its market value, and failing to return same upon Gerstenhaber’s release for no legitimate penological
  purpose and/or for the purpose of harassing, intimidating, and/or punishing Gerstenhaber.
          514.     The unreasonable seizure of the Ring and the failure to return the Ring despite Gerstenhaber
  being released and all charges being dropped or nolle processed was objectively unreasonable under the
  circumstances.
          515.     Defendant BRINKLEY while acting in her capacity as a law enforcement officer for the BSO
  and under color of law unreasonably seized the Ring and failed to secure the Ring and return the Ring to
  Gerstenhaber upon release.
          516.     All of the acts described herein deprived Gerstenhaber of rights secured to her by the United
  States Constitution; specifically the right secured to Gerstenhaber by the Fourth Amendment to the United
  States Constitution (by subjecting her to the unreasonable seizure) .
          517.     As a direct and proximate result of the unconstitutional act of Defendant BRINKLEY,
  Plaintiff, Gerstenhaber has been caused to suffer deprivations of her constitutional rights, as well as severe,
  grievous and permanent injuries, disfigurement, physical and mental pain and suffering, grief, mental


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  anguish, emotional distress, loss of capacity for the enjoyment of life, and the loss of the Ring, which
  possessed market value as well as sentimental value to Gerstenhaber.
            518.     The acts of the Defendant BRINKLEY, as described herein, have forced Plaintiff,
  Gerstenhaber, to retain the undersigned attorneys and to pay them a reasonable fee, which Plaintiff is entitled
  to recover pursuant to 42 U.S.C. § 1988.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant BRINKLEY for all
  compensatory damages including fair market value and sentimental value, and punitive damages together
  with attorneys’ fees and costs pursuant to 42 U.S.C. § 1983 and 1988, prejudgment interest, and demands
  trial by jury of all issues triable as a matter of right, and all such other and further relief as this Court deems
  just and proper.
                                    FORTIETH CAUSE OF ACTION
                        42 U.S.C. § 1983 – CIVIL RIGHTS VIOLATION CLAIM
                         UNREASONABLE SEIZURE / LOSS OF PROPERTY
         Violation of the Fourth and Fourteenth Amendments to the United States Constitution
                            (Against DAWNA AUSTIN-GAINES, Individually)

            519.     Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            520.     Plaintiff, Gerstenhaber, seeks relief under the Federal Civil Rights Act, 42 U.S.C. § 1983
  for deprivation of certain constitutional and fundamental rights under the Fourth and Fourteenth
  Amendments by Defendant, AUSTIN-GAINES, by subjecting Gerstenhaber to an unreasonable seizure and
  deprivation of her personal property, the Ring.
            521.     At all times material hereto, Defendant AUSTIN-GAINES, was acting under color of state
  law and pursuant to the official custom, course, and policy of the BSO.
            522.     At all times material hereto, Gerstenhaber maintained the right to be free from an
  unreasonable seizure and deprivation of her personal property, a protected right under the Fourth and
  Fourteenth Amendments of the United States Constitution.
            523.     At all times material hereto, Gerstenhaber maintained the right to be secure in their persons,
  houses, papers, and effects against unreasonable searches and seizures, a protected right under the Fourth
  and Fourteenth Amendments of the United States Constitution.
            524.     At all times material hereto, Gerstenhaber also possessed an expectation of the return of her
  personal property, the Ring, following release, a protected right under the Fourth and Fourteenth
  Amendments of the United States Constitution.


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          525.     The actions of the Defendant, AUSTIN-GAINES, as stated above, involved a deliberate
  seizure of Gerstenhaber’s Ring, a family heirloom with sentimental value, by AUSTIN-GAINES despite
  Gerstenhaber being released and all charges nolle processed or dropped, which violated Plaintiff’s Fourth
  and Fourteenth Amendment Rights, pursuant to the United States Constitution.
          526.     Defendant AUSTIN-GAINES violated 42 U.S.C. § 1983 by intentionally, unreasonably, and
  unnecessarily seizing Gerstenhaber’s Ring, a family heirloom possessing sentimental value well in excess
  of its market value, and failing to return same upon Gerstenhaber’s release for no legitimate penological
  purpose and/or for the purpose of harassing, intimidating, and/or punishing Gerstenhaber.
          527.     The unreasonable seizure of the Ring and the failure to return the Ring despite Gerstenhaber
  being released and all charges being dropped or nolle processed was objectively unreasonable under the
  circumstances.
          528.     Defendant AUSTIN-GAINES while acting in her capacity as a law enforcement officer for
  the BSO and under color of law unreasonably seized the Ring and failed to secure the Ring and return the
  Ring to Gerstenhaber upon release.
          529.     All of the acts described herein deprived Gerstenhaber of rights secured to her by the United
  States Constitution; specifically the right secured to Gerstenhaber by the Fourth Amendment to the United
  States Constitution (by subjecting her to the unreasonable seizure) .
          530.     As a direct and proximate result of the unconstitutional act of Defendant AUSTIN-GAINES,
  Plaintiff, Gerstenhaber has been caused to suffer deprivations of her constitutional rights, as well as severe,
  grievous and permanent injuries, disfigurement, physical and mental pain and suffering, grief, mental
  anguish, emotional distress, loss of capacity for the enjoyment of life, and the loss of the Ring, which
  possessed market value as well as sentimental value to Gerstenhaber.
          531.     The acts of the Defendant AUSTIN-GAINES, as described herein, have forced Plaintiff,
  Gerstenhaber, to retain the undersigned attorneys and to pay them a reasonable fee, which Plaintiff is entitled
  to recover pursuant to 42 U.S.C. § 1988.
          WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant AUSTIN-GAINES
  for all compensatory damages including fair market value and sentimental value, and punitive damages
  together with attorneys’ fees and costs pursuant to 42 U.S.C. § 1983 and 1988, prejudgment interest, and
  demands trial by jury of all issues triable as a matter of right, and all such other and further relief as this
  Court deems just and proper.




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                                                                             CASE NO.:



                                 FORTY-FIRST CAUSE OF ACTION
                       42 U.S.C. § 1983 – CIVIL RIGHTS VIOLATION CLAIM
                        UNREASONABLE SEIZURE / LOSS OF PROPERTY
        Violation of the Fourth and Fourteenth Amendments to the United States Constitution
                              (Against CAMEO WILLIAMS, Individually)

            532.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            533.    Plaintiff, Gerstenhaber, seeks relief under the Federal Civil Rights Act, 42 U.S.C. § 1983
  for deprivation of certain constitutional and fundamental rights under the Fourth and Fourteenth
  Amendments by Defendant, WILLIAMS, by subjecting Gerstenhaber to an unreasonable seizure and
  deprivation of her personal property, the Ring.
            534.    At all times material hereto, Defendant WILLIAMS, was acting under color of state law and
  pursuant to the official custom, course, and policy of the BSO.
            535.    At all times material hereto, Gerstenhaber maintained the right to be free from an
  unreasonable seizure and deprivation of her personal property, a protected right under the Fourth and
  Fourteenth Amendments of the United States Constitution.
            536.    At all times material hereto, Gerstenhaber maintained the right to be secure in their persons,
  houses, papers, and effects against unreasonable searches and seizures, a protected right under the Fourth
  and Fourteenth Amendments of the United States Constitution.
            537.    At all times material hereto, Gerstenhaber also possessed an expectation of the return of her
  personal property, the Ring, following release, a protected right under the Fourth and Fourteenth
  Amendments of the United States Constitution.
            538.    The actions of the Defendant, WILLIAMS, as stated above, involved a deliberate seizure
  of Gerstenhaber’s Ring, a family heirloom with sentimental value, by WILLIAMS despite Gerstenhaber
  being released and all charges nolle processed or dropped, which violated Plaintiff’s Fourth and Fourteenth
  Amendment Rights, pursuant to the United States Constitution.
            539.    Defendant WILLIAMS violated 42 U.S.C. § 1983 by intentionally, unreasonably, and
  unnecessarily seizing Gerstenhaber’s Ring, a family heirloom possessing sentimental value well in excess
  of its market value, and failing to return same upon Gerstenhaber’s release for no legitimate penological
  purpose and/or for the purpose of harassing, intimidating, and/or punishing Gerstenhaber.
            540.    The unreasonable seizure of the Ring and the failure to return the Ring despite Gerstenhaber


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  being released and all charges being dropped or nolle processed was objectively unreasonable under the
  circumstances.
            541.    Defendant WILLIAMS while acting in her capacity as a law enforcement officer for the BSO
  and under color of law unreasonably seized the Ring and failed to secure the Ring and return the Ring to
  Gerstenhaber upon release.
            542.    All of the acts described herein deprived Gerstenhaber of rights secured to her by the United
  States Constitution; specifically the right secured to Gerstenhaber by the Fourth Amendment to the United
  States Constitution (by subjecting her to the unreasonable seizure) .
            543.    As a direct and proximate result of the unconstitutional act of Defendant WILLIAMS,
  Plaintiff, Gerstenhaber has been caused to suffer deprivations of her constitutional rights, as well as severe,
  grievous and permanent injuries, disfigurement, physical and mental pain and suffering, grief, mental
  anguish, emotional distress, loss of capacity for the enjoyment of life, and the loss of the Ring, which
  possessed market value as well as sentimental value to Gerstenhaber.
            544.    The acts of the Defendant WILLIAMS, as described herein, have forced Plaintiff,
  Gerstenhaber, to retain the undersigned attorneys and to pay them a reasonable fee, which Plaintiff is entitled
  to recover pursuant to 42 U.S.C. § 1988.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant AUSTIN-GAINES
  for all compensatory damages including fair market value and sentimental value, and punitive damages
  together with attorneys’ fees and costs pursuant to 42 U.S.C. § 1983 and 1988, prejudgment interest, and
  demands trial by jury of all issues triable as a matter of right, and all such other and further relief as this
  Court deems just and proper.
                                FORTY-SECOND CAUSE OF ACTION
                        42 U.S.C. § 1983 – CIVIL RIGHTS VIOLATION CLAIM
                         UNREASONABLE SEIZURE / LOSS OF PROPERTY
         Violation of the Fourth and Fourteenth Amendments to the United States Constitution
                                (Against NEDRA GABRIEL, Individually)

            545.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            546.    Plaintiff, Gerstenhaber, seeks relief under the Federal Civil Rights Act, 42 U.S.C. § 1983
  for deprivation of certain constitutional and fundamental rights under the Fourth and Fourteenth
  Amendments by Defendant, GABRIEL, by subjecting Gerstenhaber to an unreasonable seizure and
  deprivation of her personal property, the Ring.


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          547.     At all times material hereto, Defendant GABRIEL, was acting under color of state law and
  pursuant to the official custom, course, and policy of the BSO.
          548.     At all times material hereto, Gerstenhaber maintained the right to be free from an
  unreasonable seizure and deprivation of her personal property, a protected right under the Fourth and
  Fourteenth Amendments of the United States Constitution.
          549.     At all times material hereto, Gerstenhaber maintained the right to be secure in their persons,
  houses, papers, and effects against unreasonable searches and seizures, a protected right under the Fourth
  and Fourteenth Amendments of the United States Constitution.
          550.     At all times material hereto, Gerstenhaber also possessed an expectation of the return of her
  personal property, the Ring, following release, a protected right under the Fourth and Fourteenth
  Amendments of the United States Constitution.
          551.     The actions of the Defendant, GABRIEL, as stated above, involved a deliberate seizure of
  Gerstenhaber’s Ring, a family heirloom with sentimental value, by GABRIEL despite Gerstenhaber being
  released and all charges nolle processed or dropped, which violated Plaintiff’s Fourth and Fourteenth
  Amendment Rights, pursuant to the United States Constitution.
          552.     Defendant GABRIEL violated 42 U.S.C. § 1983 by intentionally, unreasonably, and
  unnecessarily seizing Gerstenhaber’s Ring, a family heirloom possessing sentimental value well in excess
  of its market value, and failing to return same upon Gerstenhaber’s release for no legitimate penological
  purpose and/or for the purpose of harassing, intimidating, and/or punishing Gerstenhaber.
          553.     The unreasonable seizure of the Ring and the failure to return the Ring despite Gerstenhaber
  being released and all charges being dropped or nolle processed was objectively unreasonable under the
  circumstances.
          554.     Defendant GABRIEL while acting in her capacity as a law enforcement officer for the BSO
  and under color of law unreasonably seized the Ring and failed to secure the Ring and return the Ring to
  Gerstenhaber upon release.
          555.     All of the acts described herein deprived Gerstenhaber of rights secured to her by the United
  States Constitution; specifically the right secured to Gerstenhaber by the Fourth Amendment to the United
  States Constitution (by subjecting her to the unreasonable seizure) .
          556.     As a direct and proximate result of the unconstitutional act of Defendant GABRIEL,
  Plaintiff, Gerstenhaber has been caused to suffer deprivations of her constitutional rights, as well as severe,
  grievous and permanent injuries, disfigurement, physical and mental pain and suffering, grief, mental


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  anguish, emotional distress, loss of capacity for the enjoyment of life, and the loss of the Ring, which
  possessed market value as well as sentimental value to Gerstenhaber.
            557.     The acts of the Defendant GABRIEL, as described herein, have forced Plaintiff,
  Gerstenhaber, to retain the undersigned attorneys and to pay them a reasonable fee, which Plaintiff is entitled
  to recover pursuant to 42 U.S.C. § 1988.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant GABRIEL for all
  compensatory damages including fair market value and sentimental value, and punitive damages together
  with attorneys’ fees and costs pursuant to 42 U.S.C. § 1983 and 1988, prejudgment interest, and demands
  trial by jury of all issues triable as a matter of right, and all such other and further relief as this Court deems
  just and proper.
                                  FORTY-THIRD CAUSE OF ACTION
                        42 U.S.C. § 1983 – CIVIL RIGHTS VIOLATION CLAIM
                         UNREASONABLE SEIZURE / LOSS OF PROPERTY
         Violation of the Fourth and Fourteenth Amendments to the United States Constitution
                                 (Against LUIS GALINDEZ, Individually)

            558.     Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            559.     Plaintiff, Gerstenhaber, seeks relief under the Federal Civil Rights Act, 42 U.S.C. § 1983
  for deprivation of certain constitutional and fundamental rights under the Fourth and Fourteenth
  Amendments by Defendant, GALINDEZ, by subjecting Gerstenhaber to an unreasonable seizure and
  deprivation of her personal property, the Ring.
            560.     At all times material hereto, Defendant GALINDEZ, was acting under color of state law and
  pursuant to the official custom, course, and policy of the BSO.
            561.     At all times material hereto, Gerstenhaber maintained the right to be free from an
  unreasonable seizure and deprivation of her personal property, a protected right under the Fourth and
  Fourteenth Amendments of the United States Constitution.
            562.     At all times material hereto, Gerstenhaber maintained the right to be secure in their persons,
  houses, papers, and effects against unreasonable searches and seizures, a protected right under the Fourth
  and Fourteenth Amendments of the United States Constitution.
            563.     At all times material hereto, Gerstenhaber also possessed an expectation of the return of her
  personal property, the Ring, following release, a protected right under the Fourth and Fourteenth
  Amendments of the United States Constitution.


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          564.       The actions of the Defendant, GALINDEZ, as stated above, involved a deliberate seizure
  of Gerstenhaber’s Ring, a family heirloom with sentimental value, by GALINDEZ despite Gerstenhaber
  being released and all charges nolle processed or dropped, which violated Plaintiff’s Fourth and Fourteenth
  Amendment Rights, pursuant to the United States Constitution.
          565.       Defendant GALINDEZ violated 42 U.S.C. § 1983 by intentionally, unreasonably, and
  unnecessarily seizing Gerstenhaber’s Ring, a family heirloom possessing sentimental value well in excess
  of its market value, and failing to return same upon Gerstenhaber’s release for no legitimate penological
  purpose and/or for the purpose of harassing, intimidating, and/or punishing Gerstenhaber.
          566.       The unreasonable seizure of the Ring and the failure to return the Ring despite Gerstenhaber
  being released and all charges being dropped or nolle processed was objectively unreasonable under the
  circumstances.
          567.       Defendant GALINDEZ while acting in her capacity as a law enforcement officer for the BSO
  and under color of law unreasonably seized the Ring and failed to secure the Ring and return the Ring to
  Gerstenhaber upon release.
          568.       All of the acts described herein deprived Gerstenhaber of rights secured to her by the United
  States Constitution; specifically the right secured to Gerstenhaber by the Fourth Amendment to the United
  States Constitution (by subjecting her to the unreasonable seizure) .
          569.       As a direct and proximate result of the unconstitutional act of Defendant GALINDEZ,
  Plaintiff, Gerstenhaber has been caused to suffer deprivations of her constitutional rights, as well as severe,
  grievous and permanent injuries, disfigurement, physical and mental pain and suffering, grief, mental
  anguish, emotional distress, loss of capacity for the enjoyment of life, and the loss of the Ring, which
  possessed market value as well as sentimental value to Gerstenhaber.
          570.       The acts of the Defendant GALINDEZ, as described herein, have forced Plaintiff,
  Gerstenhaber, to retain the undersigned attorneys and to pay them a reasonable fee, which Plaintiff is entitled
  to recover pursuant to 42 U.S.C. § 1988.
          WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant GALINDEZ for all
  compensatory damages including fair market value and sentimental value, and punitive damages together
  with attorneys’ fees and costs pursuant to 42 U.S.C. § 1983 and 1988, prejudgment interest, and demands
  trial by jury of all issues triable as a matter of right, and all such other and further relief as this Court deems
  just and proper.




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                               FORTY-FOURTH CAUSE OF ACTION
                       42 U.S.C. § 1983 – CIVIL RIGHTS VIOLATION CLAIM
                        UNREASONABLE SEIZURE / LOSS OF PROPERTY
        Violation of the Fourth and Fourteenth Amendments to the United States Constitution
                          (Against DAPHNYS JEAN BAPTISTE, Individually)

            571.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            572.    Plaintiff, Gerstenhaber, seeks relief under the Federal Civil Rights Act, 42 U.S.C. § 1983
  for deprivation of certain constitutional and fundamental rights under the Fourth and Fourteenth
  Amendments by Defendant, JEAN BAPTISTE, by subjecting Gerstenhaber to an unreasonable seizure and
  deprivation of her personal property, the Ring.
            573.    At all times material hereto, Defendant JEAN BAPTISTE, was acting under color of state
  law and pursuant to the official custom, course, and policy of the BSO.
            574.    At all times material hereto, Gerstenhaber maintained the right to be free from an
  unreasonable seizure and deprivation of her personal property, a protected right under the Fourth and
  Fourteenth Amendments of the United States Constitution.
            575.    At all times material hereto, Gerstenhaber maintained the right to be secure in their persons,
  houses, papers, and effects against unreasonable searches and seizures, a protected right under the Fourth
  and Fourteenth Amendments of the United States Constitution.
            576.    At all times material hereto, Gerstenhaber also possessed an expectation of the return of her
  personal property, the Ring, following release, a protected right under the Fourth and Fourteenth
  Amendments of the United States Constitution.
            577.    The actions of the Defendant, JEAN BAPTISTE, as stated above, involved a deliberate
  seizure of Gerstenhaber’s Ring, a family heirloom with sentimental value, by JEAN BAPTISTE despite
  Gerstenhaber being released and all charges nolle processed or dropped, which violated Plaintiff’s Fourth
  and Fourteenth Amendment Rights, pursuant to the United States Constitution.
            578.    Defendant JEAN BAPTISTE violated 42 U.S.C. § 1983 by intentionally, unreasonably, and
  unnecessarily seizing Gerstenhaber’s Ring, a family heirloom possessing sentimental value well in excess
  of its market value, and failing to return same upon Gerstenhaber’s release for no legitimate penological
  purpose and/or for the purpose of harassing, intimidating, and/or punishing Gerstenhaber.
            579.    The unreasonable seizure of the Ring and the failure to return the Ring despite Gerstenhaber


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  being released and all charges being dropped or nolle processed was objectively unreasonable under the
  circumstances.
            580.    Defendant JEAN BAPTISTE while acting in her capacity as a law enforcement officer for
  the BSO and under color of law unreasonably seized the Ring and failed to secure the Ring and return the
  Ring to Gerstenhaber upon release.
            581.    All of the acts described herein deprived Gerstenhaber of rights secured to her by the United
  States Constitution; specifically the right secured to Gerstenhaber by the Fourth Amendment to the United
  States Constitution (by subjecting her to the unreasonable seizure) .
            582.    As a direct and proximate result of the unconstitutional act of Defendant JEAN BAPTISTE,
  Plaintiff, Gerstenhaber has been caused to suffer deprivations of her constitutional rights, as well as severe,
  grievous and permanent injuries, disfigurement, physical and mental pain and suffering, grief, mental
  anguish, emotional distress, loss of capacity for the enjoyment of life, and the loss of the Ring, which
  possessed market value as well as sentimental value to Gerstenhaber.
            583.    The acts of the Defendant JEAN BAPTISTE, as described herein, have forced Plaintiff,
  Gerstenhaber, to retain the undersigned attorneys and to pay them a reasonable fee, which Plaintiff is entitled
  to recover pursuant to 42 U.S.C. § 1988.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant JEAN BAPTISTE
  for all compensatory damages including fair market value and sentimental value, and punitive damages
  together with attorneys’ fees and costs pursuant to 42 U.S.C. § 1983 and 1988, prejudgment interest, and
  demands trial by jury of all issues triable as a matter of right, and all such other and further relief as this
  Court deems just and proper.
                                  FORTY-FIFTH CAUSE OF ACTION
                        42 U.S.C. § 1983 – CIVIL RIGHTS VIOLATION CLAIM
                         UNREASONABLE SEIZURE / LOSS OF PROPERTY
         Violation of the Fourth and Fourteenth Amendments to the United States Constitution
                                 (Against PATRICK FECU, Individually)

            584.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            585.    Plaintiff, Gerstenhaber, seeks relief under the Federal Civil Rights Act, 42 U.S.C. § 1983
  for deprivation of certain constitutional and fundamental rights under the Fourth and Fourteenth
  Amendments by Defendant, FECU, by subjecting Gerstenhaber to an unreasonable seizure and deprivation
  of her personal property, the Ring.


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          586.     At all times material hereto, Defendant FECIU, was acting under color of state law and
  pursuant to the official custom, course, and policy of the BSO.
          587.     At all times material hereto, Gerstenhaber maintained the right to be free from an
  unreasonable seizure and deprivation of her personal property, a protected right under the Fourth and
  Fourteenth Amendments of the United States Constitution.
          588.     At all times material hereto, Gerstenhaber maintained the right to be secure in their persons,
  houses, papers, and effects against unreasonable searches and seizures, a protected right under the Fourth
  and Fourteenth Amendments of the United States Constitution.
          589.     At all times material hereto, Gerstenhaber also possessed an expectation of the return of her
  personal property, the Ring, following release, a protected right under the Fourth and Fourteenth
  Amendments of the United States Constitution.
          590.     The actions of the Defendant, FECU, as stated above, involved a deliberate seizure of
  Gerstenhaber’s Ring, a family heirloom with sentimental value, by FECU despite Gerstenhaber being
  released and all charges nolle processed or dropped, which violated Plaintiff’s Fourth and Fourteenth
  Amendment Rights, pursuant to the United States Constitution.
          591.     Defendant FECU violated 42 U.S.C. § 1983 by intentionally, unreasonably, and
  unnecessarily seizing Gerstenhaber’s Ring, a family heirloom possessing sentimental value well in excess
  of its market value, and/or failing to return same upon Gerstenhaber’s release for no legitimate penological
  purpose and/or for the purpose of harassing, intimidating, and/or punishing Gerstenhaber.
          592.     The unreasonable seizure of the Ring and the failure to return the Ring despite Gerstenhaber
  being released and all charges being dropped or nolle processed was objectively unreasonable under the
  circumstances.
          593.     Defendant FECU while acting in his capacity as a law enforcement officer for the BSO and
  under color of law unreasonably seized the Ring and failed to secure the Ring and return the Ring to
  Gerstenhaber upon release.
          594.     All of the acts described herein deprived Gerstenhaber of rights secured to her by the United
  States Constitution; specifically the right secured to Gerstenhaber by the Fourth Amendment to the United
  States Constitution (by subjecting her to the unreasonable seizure) .
          595.     As a direct and proximate result of the unconstitutional act of Defendant FECU, Plaintiff,
  Gerstenhaber has been caused to suffer deprivations of her constitutional rights, as well as severe, grievous
  and permanent injuries, disfigurement, physical and mental pain and suffering, grief, mental anguish,


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  emotional distress, loss of capacity for the enjoyment of life, and the loss of the Ring, which possessed
  market value as well as sentimental value to Gerstenhaber.
            596.     The acts of the Defendant FECU, as described herein, have forced Plaintiff, Gerstenhaber,
  to retain the undersigned attorneys and to pay them a reasonable fee, which Plaintiff is entitled to recover
  pursuant to 42 U.S.C. § 1988.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant FECU for all
  compensatory damages including fair market value and sentimental value, and punitive damages together
  with attorneys’ fees and costs pursuant to 42 U.S.C. § 1983 and 1988, prejudgment interest, and demands
  trial by jury of all issues triable as a matter of right, and all such other and further relief as this Court deems
  just and proper.
                                  FORTY-SIXTH CAUSE OF ACTION
                        42 U.S.C. § 1983 – CIVIL RIGHTS VIOLATION CLAIM
                         UNREASONABLE SEIZURE / LOSS OF PROPERTY
         Violation of the Fourth and Fourteenth Amendments to the United States Constitution
                                (Against TIFFANY BEALE, Individually)

            597.     Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            598.     Plaintiff, Gerstenhaber, seeks relief under the Federal Civil Rights Act, 42 U.S.C. § 1983
  for deprivation of certain constitutional and fundamental rights under the Fourth and Fourteenth
  Amendments by Defendant, BEALE, by subjecting Gerstenhaber to an unreasonable seizure and deprivation
  of her personal property, the Ring.
            599.     At all times material hereto, Defendant BEALE, was acting under color of state law and
  pursuant to the official custom, course, and policy of the BSO.
            600.     At all times material hereto, Gerstenhaber maintained the right to be free from an
  unreasonable seizure and deprivation of her personal property, a protected right under the Fourth and
  Fourteenth Amendments of the United States Constitution.
            601.     At all times material hereto, Gerstenhaber maintained the right to be secure in their persons,
  houses, papers, and effects against unreasonable searches and seizures, a protected right under the Fourth
  and Fourteenth Amendments of the United States Constitution.
            602.     At all times material hereto, Gerstenhaber also possessed an expectation of the return of her
  personal property, the Ring, following release, a protected right under the Fourth and Fourteenth
  Amendments of the United States Constitution.


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          603.       The actions of the Defendant, BEALE, as stated above, involved a deliberate seizure of
  Gerstenhaber’s Ring, a family heirloom with sentimental value, by BEALE despite Gerstenhaber being
  released and all charges nolle processed or dropped, which violated Plaintiff’s Fourth and Fourteenth
  Amendment Rights, pursuant to the United States Constitution.
          604.       Defendant BEALE violated 42 U.S.C. § 1983 by intentionally, unreasonably, and
  unnecessarily seizing Gerstenhaber’s Ring, a family heirloom possessing sentimental value well in excess
  of its market value, and/or failing to return same upon Gerstenhaber’s release for no legitimate penological
  purpose and/or for the purpose of harassing, intimidating, and/or punishing Gerstenhaber.
          605.       The unreasonable seizure of the Ring and the failure to return the Ring despite Gerstenhaber
  being released and all charges being dropped or nolle processed was objectively unreasonable under the
  circumstances.
          606.       Defendant BEALE while acting in his capacity as a law enforcement officer for the BSO and
  under color of law unreasonably seized the Ring and failed to secure the Ring and return the Ring to
  Gerstenhaber upon release.
          607.       All of the acts described herein deprived Gerstenhaber of rights secured to her by the United
  States Constitution; specifically the right secured to Gerstenhaber by the Fourth Amendment to the United
  States Constitution (by subjecting her to the unreasonable seizure) .
          608.       As a direct and proximate result of the unconstitutional act of Defendant BEALE, Plaintiff,
  Gerstenhaber has been caused to suffer deprivations of her constitutional rights, as well as severe, grievous
  and permanent injuries, disfigurement, physical and mental pain and suffering, grief, mental anguish,
  emotional distress, loss of capacity for the enjoyment of life, and the loss of the Ring, which possessed
  market value as well as sentimental value to Gerstenhaber.
          609.       The acts of the Defendant BEALE, as described herein, have forced Plaintiff, Gerstenhaber,
  to retain the undersigned attorneys and to pay them a reasonable fee, which Plaintiff is entitled to recover
  pursuant to 42 U.S.C. § 1988.
          WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant BEALE for all
  compensatory damages including fair market value and sentimental value, and punitive damages together
  with attorneys’ fees and costs pursuant to 42 U.S.C. § 1983 and 1988, prejudgment interest, and demands
  trial by jury of all issues triable as a matter of right, and all such other and further relief as this Court deems
  just and proper.




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                                    FORTY-SEVENTH CAUSE OF ACTION
                                               CONVERSION
                                 (Against BERNADETTE BRINKLEY, Individually)

            610.      Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            611.      At all times material hereto, Gerstenhaber maintained the right to be free from an
  unreasonable seizure and deprivation of her personal property, a protected right under the Fourth and
  Fourteenth Amendments of the United States Constitution and Florida law.
            612.      At all times material hereto, Gerstenhaber maintained the right to be secure in their persons,
  houses, papers, and effects against unreasonable seizures, a protected right under the Fourth and Fourteenth
  Amendments of the United States Constitution and Florida law.
            613.      On July 11, 2014, Defendant BRINKLEY seized the Ring from Gerstenhaber.
            614.      At all times material hereto, Gerstenhaber possessed an expectation of the return of her
  personal property, the Ring, following release from the Broward County Jail.
            615.      Defendant BRINKLEY intentionally and deliberately after seizing Gerstenhaber’s Ring, a
  family heirloom possessing sentimental value well in excess of its market value, failed to return the Ring to
  Gerstenhaber upon Gerstenhaber’s release despite having no justification and/or legitimate penological
  purpose for keeping the Ring.
            616.      Defendant BRINKLEY intentionally and deliberately kept the Ring for the purpose of
  harassing, intimidating, and/or punishing Gerstenhaber.
            617.      As of the current date, despite her release from the Broward County Jail on July 11, 2014,
  the Ring has not been returned to Gerstenhaber.
            618.      Defendant BRINKLEY has deprived Gerstenhaber of the Ring for an indefinite period of
  time.
            619.      The deprivation of the Ring is inconsistent with Defendant BRINKLEY’s ownership interest
  in the Ring.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant BRINKLEY for all
  actual and compensatory damages including fair market value and sentimental value of the Ring, punitive
  damages, prejudgment interest, and demands trial by jury of all issues triable as a matter of right, and all
  such other and further relief as this Court deems just and proper.




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                                     FORTY-EIGHTH CAUSE OF ACTION
                                               CONVERSION
                                 (Against DAWNA AUSTIN-GAINES, Individually)

             620.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
             621.    At all times material hereto, Gerstenhaber maintained the right to be free from an
  unreasonable seizure and deprivation of her personal property, a protected right under the Fourth and
  Fourteenth Amendments of the United States Constitution and Florida law.
             622.    At all times material hereto, Gerstenhaber maintained the right to be secure in their persons,
  houses, papers, and effects against unreasonable seizures, a protected right under the Fourth and Fourteenth
  Amendments of the United States Constitution and Florida law.
             623.    On July 11, 2014, Defendant AUSTIN-GAINES seized the Ring from Gerstenhaber.
             624.    At all times material hereto, Gerstenhaber possessed an expectation of the return of her
  personal property, the Ring, following release from the Broward County Jail.
             625.    Defendant AUSTIN-GAINES intentionally and deliberately after seizing Gerstenhaber’s
  Ring, a family heirloom possessing sentimental value well in excess of its market value, failed to return the
  Ring to Gerstenhaber upon Gerstenhaber’s release despite having no justification and/or legitimate
  penological purpose for keeping the Ring.
             626.    Defendant AUSTIN-GAINES intentionally and deliberately kept the Ring for the purpose
  of harassing, intimidating, and/or punishing Gerstenhaber.
             627.    As of the current date, despite her release from the Broward County Jail on July 11, 2014,
  the Ring has not been returned to Gerstenhaber.
             628.    Defendant AUSTIN-GAINES has deprived Gerstenhaber of the Ring for an indefinite period
  of time.
             629.    The deprivation of the Ring is inconsistent with Defendant AUSTIN GAINES’ ownership
  interest in the Ring.
             WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant AUSTIN-GAINES
  for all actual and compensatory damages including fair market value and sentimental value of the Ring,
  punitive damages, prejudgment interest, and demands trial by jury of all issues triable as a matter of right,
  and all such other and further relief as this Court deems just and proper.




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                                                                               CASE NO.:



                                        FORTY-NINTH CAUSE OF ACTION
                                                  CONVERSION
                                      (Against CAMEO WILLIAMS, Individually)

            630.      Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            631.      At all times material hereto, Gerstenhaber maintained the right to be free from an
  unreasonable seizure and deprivation of her personal property, a protected right under the Fourth and
  Fourteenth Amendments of the United States Constitution and Florida law.
            632.      At all times material hereto, Gerstenhaber maintained the right to be secure in their persons,
  houses, papers, and effects against unreasonable seizures, a protected right under the Fourth and Fourteenth
  Amendments of the United States Constitution and Florida law.
            633.      On July 11, 2014, Defendant WILLIAMS seized the Ring from Gerstenhaber.
            634.      At all times material hereto, Gerstenhaber possessed an expectation of the return of her
  personal property, the Ring, following release from the Broward County Jail.
            635.      Defendant WILLIAMS intentionally and deliberately after seizing Gerstenhaber’s Ring, a
  family heirloom possessing sentimental value well in excess of its market value, failed to return the Ring to
  Gerstenhaber upon Gerstenhaber’s release despite having no justification and/or legitimate penological
  purpose for keeping the Ring.
            636.      Defendant WILLIAMS intentionally and deliberately kept the Ring for the purpose of
  harassing, intimidating, and/or punishing Gerstenhaber.
            637.      As of the current date, despite her release from the Broward County Jail on July 11, 2014,
  the Ring has not been returned to Gerstenhaber.
            638.      Defendant WILLIAMS has deprived Gerstenhaber of the Ring for an indefinite period of
  time.
            639.      The deprivation of the Ring is inconsistent with Defendant WILLIAMS’ ownership interest
  in the Ring.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant WILLIAMS for all
  actual and compensatory damages including fair market value and sentimental value of the Ring, punitive
  damages, prejudgment interest, and demands trial by jury of all issues triable as a matter of right, and all
  such other and further relief as this Court deems just and proper.


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                                                                               CASE NO.:


                                          FIFTIETH CAUSE OF ACTION
                                                  CONVERSION
                                       (Against NEDRA GABRIEL, Individually)

            640.      Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            641.      At all times material hereto, Gerstenhaber maintained the right to be free from an
  unreasonable seizure and deprivation of her personal property, a protected right under the Fourth and
  Fourteenth Amendments of the United States Constitution and Florida law.
            642.      At all times material hereto, Gerstenhaber maintained the right to be secure in their persons,
  houses, papers, and effects against unreasonable seizures, a protected right under the Fourth and Fourteenth
  Amendments of the United States Constitution and Florida law.
            643.      On July 11, 2014, Defendant GABRIEL seized the Ring from Gerstenhaber.
            644.      At all times material hereto, Gerstenhaber possessed an expectation of the return of her
  personal property, the Ring, following release from the Broward County Jail.
            645.      Defendant GABRIEL intentionally and deliberately after seizing Gerstenhaber’s Ring, a
  family heirloom possessing sentimental value well in excess of its market value, failed to return the Ring to
  Gerstenhaber upon Gerstenhaber’s release despite having no justification and/or legitimate penological
  purpose for keeping the Ring.
            646.      Defendant GABRIEL intentionally and deliberately kept the Ring for the purpose of
  harassing, intimidating, and/or punishing Gerstenhaber.
            647.      As of the current date, despite her release from the Broward County Jail on July 11, 2014,
  the Ring has not been returned to Gerstenhaber.
            648.      Defendant GABRIEL has deprived Gerstenhaber of the Ring for an indefinite period of time.
            649.      The deprivation of the Ring is inconsistent with Defendant GABRIEL’s ownership interest
  in the Ring.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant GABRIEL for all
  actual and compensatory damages including fair market value and sentimental value of the Ring, punitive
  damages, prejudgment interest, and demands trial by jury of all issues triable as a matter of right, and all
  such other and further relief as this Court deems just and proper.




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                                                                               CASE NO.:



                                          FIFTY-FIRST CAUSE OF ACTION
                                                   CONVERSION
                                        (Against LUIS GALINDEZ, Individually)

            650.      Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            651.      At all times material hereto, Gerstenhaber maintained the right to be free from an
  unreasonable seizure and deprivation of her personal property, a protected right under the Fourth and
  Fourteenth Amendments of the United States Constitution and Florida law.
            652.      At all times material hereto, Gerstenhaber maintained the right to be secure in their persons,
  houses, papers, and effects against unreasonable seizures, a protected right under the Fourth and Fourteenth
  Amendments of the United States Constitution and Florida law.
            653.      On July 11, 2014, Defendant GALINDEZ seized the Ring from Gerstenhaber.
            654.      At all times material hereto, Gerstenhaber possessed an expectation of the return of her
  personal property, the Ring, following release from the Broward County Jail.
            655.      Defendant GALINDEZ intentionally and deliberately after seizing Gerstenhaber’s Ring, a
  family heirloom possessing sentimental value well in excess of its market value, failed to return the Ring to
  Gerstenhaber upon Gerstenhaber’s release despite having no justification and/or legitimate penological
  purpose for keeping the Ring.
            656.      Defendant GALINDEZ intentionally and deliberately kept the Ring for the purpose of
  harassing, intimidating, and/or punishing Gerstenhaber.
            657.      As of the current date, despite her release from the Broward County Jail on July 11, 2014,
  the Ring has not been returned to Gerstenhaber.
            658.      Defendant GALINDEZ has deprived Gerstenhaber of the Ring for an indefinite period of
  time.
            659.      The deprivation of the Ring is inconsistent with Defendant GALINDEZ ‘s ownership interest
  in the Ring.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant GALINDEZ for all
  actual and compensatory damages including fair market value and sentimental value of the Ring, punitive
  damages, prejudgment interest, and demands trial by jury of all issues triable as a matter of right, and all
  such other and further relief as this Court deems just and proper.



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                                                                              CASE NO.:


                                    FIFTY-SECOND CAUSE OF ACTION
                                              CONVERSION
                               (Against DAPHNYS JEAN BAPTISTE, Individually)

             660.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
             661.    At all times material hereto, Gerstenhaber maintained the right to be free from an
  unreasonable seizure and deprivation of her personal property, a protected right under the Fourth and
  Fourteenth Amendments of the United States Constitution and Florida law.
             662.    At all times material hereto, Gerstenhaber maintained the right to be secure in their persons,
  houses, papers, and effects against unreasonable seizures, a protected right under the Fourth and Fourteenth
  Amendments of the United States Constitution and Florida law.
             663.    On July 11, 2014, Defendant JEAN BAPTISTE seized the Ring from Gerstenhaber.
             664.    At all times material hereto, Gerstenhaber possessed an expectation of the return of her
  personal property, the Ring, following release from the Broward County Jail.
             665.    Defendant JEAN BAPTISTE intentionally and deliberately after seizing Gerstenhaber’s
  Ring, a family heirloom possessing sentimental value well in excess of its market value, failed to return the
  Ring to Gerstenhaber upon Gerstenhaber’s release despite having no justification and/or legitimate
  penological purpose for keeping the Ring.
             666.    Defendant JEAN BAPTISTE intentionally and deliberately kept the Ring for the purpose
  of harassing, intimidating, and/or punishing Gerstenhaber.
             667.    As of the current date, despite her release from the Broward County Jail on July 11, 2014,
  the Ring has not been returned to Gerstenhaber.
             668.    Defendant JEAN BAPTISTE has deprived Gerstenhaber of the Ring for an indefinite period
  of time.
             669.    The deprivation of the Ring is inconsistent with Defendant JEAN BAPTISTE ‘s ownership
  interest in the Ring.
             WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant JEAN BAPTISTE
  for all actual and compensatory damages including fair market value and sentimental value of the Ring,
  punitive damages, prejudgment interest, and demands trial by jury of all issues triable as a matter of right,
  and all such other and further relief as this Court deems just and proper.




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                                                                             CASE NO.:



                                       FIFTY-THIRD CAUSE OF ACTION
                                                 CONVERSION
                                      (Against PATRICK FECU, Individually)

            670.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            671.    At all times material hereto, Gerstenhaber maintained the right to be free from an
  unreasonable seizure and deprivation of her personal property, a protected right under the Fourth and
  Fourteenth Amendments of the United States Constitution and Florida law.
            672.    At all times material hereto, Gerstenhaber maintained the right to be secure in their persons,
  houses, papers, and effects against unreasonable seizures, a protected right under the Fourth and Fourteenth
  Amendments of the United States Constitution and Florida law.
            673.    On July 11, 2014, Defendant FECU seized the Ring from Gerstenhaber.
            674.    At all times material hereto, Gerstenhaber possessed an expectation of the return of her
  personal property, the Ring, following release from the Broward County Jail.
            675.    Defendant FECU intentionally and deliberately after seizing Gerstenhaber’s Ring, a family
  heirloom possessing sentimental value well in excess of its market value, failed to return the Ring to
  Gerstenhaber upon Gerstenhaber’s release despite having no justification and/or legitimate penological
  purpose for keeping the Ring.
            676.    Defendant FECU intentionally and deliberately kept the Ring for the purpose of harassing,
  intimidating, and/or punishing Gerstenhaber.
            677.    As of the current date, despite her release from the Broward County Jail on July 11, 2014,
  the Ring has not been returned to Gerstenhaber.
            678.    Defendant FECU has deprived Gerstenhaber of the Ring for an indefinite period of time.
            679.    The deprivation of the Ring is inconsistent with Defendant FECU‘s ownership interest in
  the Ring.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant FECU for all actual
  and compensatory damages including fair market value and sentimental value of the Ring, punitive damages,
  prejudgment interest, and demands trial by jury of all issues triable as a matter of right, and all such other
  and further relief as this Court deems just and proper.




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                                                                             CASE NO.:



                                     FIFTY-FOURTH CAUSE OF ACTION
                                                 CONVERSION
                                     (Against TIFFANY BEALE, Individually)

            680.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            681.    At all times material hereto, Gerstenhaber maintained the right to be free from an
  unreasonable seizure and deprivation of her personal property, a protected right under the Fourth and
  Fourteenth Amendments of the United States Constitution and Florida law.
            682.    At all times material hereto, Gerstenhaber maintained the right to be secure in their persons,
  houses, papers, and effects against unreasonable seizures, a protected right under the Fourth and Fourteenth
  Amendments of the United States Constitution and Florida law.
            683.    On July 11, 2014, Defendant BEALE seized the Ring from Gerstenhaber.
            684.    At all times material hereto, Gerstenhaber possessed an expectation of the return of her
  personal property, the Ring, following release from the Broward County Jail.
            685.    Defendant BEALE intentionally and deliberately after seizing Gerstenhaber’s Ring, a family
  heirloom possessing sentimental value well in excess of its market value, failed to return the Ring to
  Gerstenhaber upon Gerstenhaber’s release despite having no justification and/or legitimate penological
  purpose for keeping the Ring.
            686.    Defendant BEALE intentionally and deliberately kept the Ring for the purpose of harassing,
  intimidating, and/or punishing Gerstenhaber.
            687.    As of the current date, despite her release from the Broward County Jail on July 11, 2014,
  the Ring has not been returned to Gerstenhaber.
            688.    Defendant BEALE has deprived Gerstenhaber of the Ring for an indefinite period of time.
            689.    The deprivation of the Ring is inconsistent with Defendant BEALE‘s ownership interest in
  the Ring.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant BEALE for all actual
  and compensatory damages including fair market value and sentimental value of the Ring, punitive damages,
  prejudgment interest, and demands trial by jury of all issues triable as a matter of right, and all such other
  and further relief as this Court deems just and proper.




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                                                                            CASE NO.:


                             FIFTY-FIFTH CAUSE OF ACTION
               CONVERSION (PLEADING IN THE ALTERNATIVE TO COUNTS 47-54)
                                      (Against BSO )

            690.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            691.    At all times material hereto, Gerstenhaber maintained the right to be free from an
  unreasonable seizure and deprivation of her personal property, a protected right under the Fourth and
  Fourteenth Amendments of the United States Constitution and Florida law.
            692.    At all times material hereto, Gerstenhaber maintained the right to be secure in their persons,
  houses, papers, and effects against unreasonable seizures, a protected right under the Fourth and Fourteenth
  Amendments of the United States Constitution.
            693.    At all times material hereto, Deputies Brinkley, Austin-Gaines, Williams, Gabriel, Galindez,
  Jean Baptiste, Fecu, and Beale were agents, servants, and/or employees of the BSO.
            694.    At all times material hereto, BSO maintained a supervisory role of all actions undertaken
  by Deputies Brinkley, Austin-Gaines, Williams, Gabriel, Galindez, Jean Baptiste, Fecu, and/or Beale during
  the course and scope of their employment.
            695.    At all times material hereto, Deputies Brinkley, Austin-Gaines, Williams, Gabriel, Galindez,
  Jean Baptiste, Fecu, and Beale were acting within the course and scope of their employment with BSO.
            696.    On July 11, 2014, Defendants Brinkley, Austin-Gaines, Williams, Gabriel, Galindez, Jean
  Baptiste, Fecu, and Beale while acting within the course and scope of their employment seized the Ring from
  Gerstenhaber.
            697.    At all times material hereto, Gerstenhaber possessed an expectation of the return of her
  personal property, the Ring, following release from the Broward County Jail.
            698.    Defendants Brinkley, Austin-Gaines, Williams, Gabriel, Galindez, Jean Baptiste, Fecu, and
  Beale after seizing Gerstenhaber’s Ring, a family heirloom possessing sentimental value well in excess of
  its market value, failed to return the Ring to Gerstenhaber upon Gerstenhaber’s release despite having no
  justification and/or legitimate penological purpose for keeping the Ring.
            699.    Defendants Brinkley, Austin-Gaines, Williams, Gabriel, Galindez, Jean Baptiste, Fecu, and
  Beale despite failing to return the Ring, did not act in bad faith, with malicious purpose, and in a manner
  exhibiting wanton and willful disregard of Gerstenhaber’s rights, safety, or property.
            700.    As of the current date, despite her release from the Broward County Jail on July 11, 2014,
  the Ring has not been returned to Gerstenhaber.

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            701.    Defendants Brinkley, Austin-Gaines, Williams, Gabriel, Galindez, Jean Baptiste, Fecu, and
  Beale have deprived Gerstenhaber of the Ring for an indefinite period of time.
            702.    The deprivation of the Ring is inconsistent with Defendants Brinkley, Austin-Gaines,
  Williams, Gabriel, Galindez, Jean Baptiste, Fecu, and Beale‘s ownership interest in the Ring.
            WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant BSO for all actual and
  compensatory damages including fair market value and sentimental value of the Ring, punitive damages,
  prejudgment interest, and demands trial by jury of all issues triable as a matter of right, and all such other
  and further relief as this Court deems just and proper.

                            FIFTY-SIXTH CAUSE OF ACTION
             UNLAWFUL STRIP SEARCH PURSUANT TO FLORIDA STATUTE § 901.211
                                     (Against BSO)

            703.    Plaintiff Gerstenhaber adopts and incorporates paragraphs 1 through 157 as if set forth fully
  herein.
            704.    Defendant BSO, by and through its final policy makers, officers, agents, servants, and/or
  employees, is responsible for carrying on county government, conducting investigations of county affairs and
  performing acts which are in the common interest of the people.
            705.    Defendant, BSO, by and through its officers, agents, and employees, is responsible for
  staffing, supervising, managing, controlling, disciplining, and/or setting forth polices and procedures, for its
  agency, the Broward Sheriff’s Office, to ensure that its officers, agents, and employees are performing their
  duties and responsibilities with the highest level of proficiency, professionalism, and accountability, and
  within the confines of the United States Constitution and the laws of the State of Florida.
            706.    At all times material hereto, in committing each of the acts, omissions, and/or commissions
  complained of herein, the Defendant, BSO, was acting by and through its officers, agents, servants, and/or
  employees, including but not limited to, Defendants Brinkley, Austin-Gaines, Williams, Gabriel, Galindez,
  and Jean Baptiste, who were working in the course and scope of said agency and/or employment, on behalf
  of Defendant, BSO.
            707.    Defendant BSO, by and through its final policymakers, officers, agents, servants, and/or
  employees, had a duty of maintaining, staffing, and supervising all BSO deputies, possessed ultimate
  authority over Broward Sheriff Office’s deputies’ activities and was responsible for the conduct of the
  Broward Sheriff Office’s deputies in the employ of the BSO and its agency.
            708.    Defendant BSO, by and through its final policymakers, officers, agents, servants, and/or

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                                                                           CASE NO.:


  employees, had a duty to ensure that reasonable measures were taken to ensure that the deputies of the
  Broward Sheriff’s Office performed their duties and responsibilities with the highest level of proficiency,
  professionalism, and accountability, and within the confines of the United States Constitution and the laws
  of the State of Florida.
          709.     Defendant BSO, by and through its final policy makers, officers, agents, servants, and/or
  employees, had a duty to provide law enforcement that complied with the United States Constitution and the
  laws of the State of Florida and that its deputies did not deprive any citizen or individual of his/her
  constitutional rights and/or property, including subjecting said citizens and/or individuals to illegal strip
  searches in violation of Florida Statute section 901.211.
          710.     Florida Statute section 901.211(3) provides that:
                   Each strip search shall be performed by a person of the same gender as the arrested person
                   and on premises where the search cannot be observed by persons not physically conducting
                   or observing the search pursuant to this section. Any observer shall be of the same gender
                   as the arrested person.

          711.     Florida Statute section 901.211(5) provides that:
                   No law enforcement officer shall order a strip search within the agency or facility without
                   obtaining the written authorization of the supervising officer on duty.

          712.     On or about July 11, 2014, the Defendant, BSO, by and through its agents, servants and/or
  employees, including but not limited to, Defendants Brinkley, Austin-Gaines, Williams, Gabriel, Galindez,
  and Jean Baptiste, agreed and undertook to serve and perform as deputies within the Department of Detention
  in accordance with prevailing law enforcement standards applicable to Broward County, Florida, or any
  similar community, so as to avoid performing any strip search in violation of Florida Statute section 901.211.
          713.     At all times material hereto, Defendants, Brinkley, Austin-Gaines, Williams, Gabriel,
  Galindez, and/or Jean Baptiste, among others, were acting under color of state law with in the course and
  scope of their employment with the BSO, and pursuant to the official custom, course, and policy of the BSO.
          714.     The actions of the Defendants, Brinkley, Austin-Gaines, Williams, Gabriel, Galindez, and/or
  Jean Baptiste as stated above, involved participating and exacting an illegal strip search of Gerstenhaber in
  the presence of a male BSO deputy in violation of Florida statute section 901.211(3).
          715.     The actions of the Defendants, Brinkley, Austin-Gaines, Williams, Gabriel, Galindez, and
  Jean Baptiste as stated above, involved participating and exacting an illegal strip search of Gerstenhaber
  without obtaining the written authorization of the supervising officer on duty in the presence of a male BSO
  deputy in violation of Florida statute section 901.211(5).

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          716.     Defendants Brinkley, Austin-Gaines, Williams, Gabriel, Galindez and Jean Baptiste violated
  Florida Statute sections 901.211(3) and (5) by engaging in an unauthorized strip search of Gerstenhaber in
  the presence of a male BSO deputy thereby subjecting her to a violation of her bodily privacy, as well as
  emotional and physical abuse, intimidation, embarrassment, humiliation, and harassment.
          717.     The strip search exacted by BSO, by and through its agents, servants, and/or employees,
  including Brinkley, Austin-Gaines, Williams, Gabriel, and Galindez, which was also in the presence of male
  BSO deputy Jean Baptiste was illegal and objectively unreasonable under the circumstances. More
  specifically, Plaintiff Gerstenhaber, was an unarmed female inside a holding cell within the Broward County
  Jail, restrained, and had not taken any action against any BSO deputies that would cause the BSO deputies
  to feel threatened or fear any imminent physical harm to justify the need for a male deputy’s participation
  in a strip search of a female individual, especially where three other female deputies were involved in the
  search and two other female deputies were available to assist if necessary.
          718.     All of the acts described herein deprived Gerstenhaber of rights secured to her by Florida
  statutory law, specifically Florida Statute section 901.211.
          719.     As a direct and proximate result of the illegal strip search executed by BSO, by and through
  its agents, servants, and/or employees, including Brinkley, Austin-Gaines, Williams, Gabriel, Galindez, and
  Jean Baptiste, Plaintiff Gerstenhaber, has been caused to suffer severe, grievous and permanent injuries,
  disfigurement, physical and mental pain and suffering, grief, anguish, inability to lead a normal life, and/or
  permanent aggravation of a preexisting condition and further incurred medical bills and other bills as a result
  of such injuries; such injuries are either permanent or are continuing in nature and the Plaintiff will suffer
  such losses in the future.
          WHEREFORE, Plaintiff, Gerstenhaber, demands judgment against Defendant BSO for all
  compensatory damages, prejudgment interest, and demands trial by jury of all issues triable as a matter of
  right, and all such other and further relief as this Court deems just and proper.




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                                                                         CASE NO.:



                                        DEMAND FOR JURY TRIAL
        Demand is hereby made for trial by jury on all issues so triable.


                                                      By:        s/ Matthew E. Kaplan
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